Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24            Page 1 of 134 PageID #:
                                         47269
                                ** FILED UNDER SEAL **


                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,

         Plaintiffs,

  V.                                                Civil Action No. 4:20-cv-00957-SDJ

  GOOGLELLC,

         Defendant.


         PLAINTIFF STATES' RESPONSE TO GOOGLE LLC'S [CORRECTED)
                STATEMENT OF UNDISPUTED MATERIAL FACTS

        Pursuant to Local Rule CV-56(b), the Plaintiff States hereby respond to Google's Corrected

 Statement of Undisputed Material Facts, filed on November 22, 2024, Dkt.687-10.




                                                1
    Case 4:20-cv-00957-SDJ               Document 738-1 Filed 12/30/24                    Page 2 of 134 PageID #:
                                                    47270
                                           ** FILED UNDER SEAL **




,      Google's Statement                                          Plaintiff States' Response 1

1      Display advertisements are visual ads that                  Disputed as to the definition and purpose of
       contain video, image, or text elements to                   display advertisements. See Davis Ex. 52,
       market products or services to Internet users.              Gans Opening Rep. at 28, 74 n.34 ("The
       Ex. 7,, 138; Ex. 146 at 37:14-38:2 ("Q ...                  Interactive Advertising Bureau (JAB)
       When you're talking about display advertising,              recognizes the existence and role of different
       what different formats does DCP use? A.                     types of advertising. It defines display ads as a
       Display advertising could be a video. It could              category of online advertising. In particular, it
       be a static ad, meaning it has no movement. It              distinguishes display ads from video ads
       could be what they call native advertising,                 appearing in video players .... "); Heinz Ex.
       which doesn't quite look like an ad, but it                 10, Chandler Rebuttal Rep. at 19, 44(1) ("The
       would show up alongside or in the thread of,                JAB' s annual Internet Advertising Revenue
       say you're reading an article online. All of                Report lists its results by format, dividing
       those things would fall into display.").                    channels into the following groups:
                                                                   search, display, video, audio, and other."); Ex.
                                                                   116, J. Farmer (State of Kentucky) Dep. Tr. at
                                                                   67:15-68:11 (discussing campaigns aimed at
                                                                   human trafficking awareness and elderly scam
                                                                   awareness that utilized display ads and
                                                                   testifying as follows: "Q. Okay. And what --
                                                                   these campaigns don't try to get anyone to buy
                                                                   anything, correct? A. Yes. The purpose of our
                                                                   campaign was, you know, public awareness,
                                                                   not to purchase products, or... ").
2      Display ads appear across a variety of formats              Disputed as to the inclusion of "apps," social
       and channels, including websites accessed on                media, and "connected TVs or related
       your desktop, the mobile web, apps (including               devices." See Davis Ex. 52, Gans Opening
       apps offered by social media platforms), as                 Rep. at 28, 74 n.34 ("The Interactive
       well as on connected TVs or related devices.                Advertising Bureau (JAB) recognizes the
       Ex. 7,, 138; Ex. 154 at 49:20-50:6 (                        existence and role of different types of
                                                                   advertising. It defines display ads as a
                                                                   category of online advertising. In particular, it
                                                                   distinguishes display ads from video ads

     1 In this response, "Davis Ex." refers to the corresponding exhibit attached by Google to the M. Davis Declaration

     (ECF No. 668-1), filed with Google's Omnibus Motion to Exclude Expert Testimony. "Google Ex" refers to the
     corresponding exhibit cited in Google's Corrected Statement of Undisputed Material Facts.
    "Ex." refers to exhibits attached by Plaintiffs to the Declaration ofK. Bhat, filed contemporaneously herewith in
    support of Plaintiffs' Oppositions to Google's Motions for Summary Judgment.
    "Heinz Ex." refers to the corresponding exhibit attached by Plaintiffs to the Declaration ofN. Heinz, filed
    contemporaneously herewith in support of Plaintiffs' Opposition to Google's Motion to Exclude.
    Further, in this Response, Plaintiffs respond to Google's asserted statements and do not concede (and reserve the
    right to challenge) the contents of all of Google's cited exhibits.



                                                              2
Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24        Page 3 of 134 PageID #:
                                    47271
                           ** FILED UNDER SEAL **


  Google's Statement                      Plaintiff States' Response 1

                                          appearing in video players .... "); Heinz Ex.
                                          10, Chandler Rebuttal Rep. at 19, 44(1) ("The
                                          JAB' s annual Internet Advertising Revenue
                                          Report lists its results by format, dividing
                           .").           channels into the following groups:
                                          search, display, video, audio, and other."); Ex.
                                          117, Deposition of                       , 9/28/23
                                          Tr. at 61:16-22 (


                                                     ); Ex. 118,            Dep. Tr.
                                          193:25-3, 194:9-24 ("Q. In that work, you
                                          became familiar with some of the differences
                                          between video ads and display ads; is that
                                          right? A. That's correct. ... Q. Display ads,
                                          generally, is a static image; is that right? A.
                                          So display ads can be -- can also have videos
                                          embedded in them. In fact, many display ads
                                          are so-called rich media ads that also have
                                          videos in them that also have very similar
                                          characteristics to video ads. The difference
                                          here is less about the ad itself, which could --
                                          in both cases have motion or not have motion,
                                          or have sound or not have sound, but actually
                                          where the ad is placed. So generally speaking,
                                          if the ad is placed in a video stream, that is
                                          referred to an instream ad. If it's placed on a
                                          page with text and other content, that's
                                          generally referred to as a display ad."); Ex.
                                          119,           Dep. Tr. 47:14-18 ("THE
                                          WITNESS: So 'in-stream' refers to ads that
                                          are shown within the actual -- are stitched into
                                          the actual video content itself. 'Out-stream'
                                          refers to what would normally be a display ad
                                          that just shows a video ad on the page."); Ex.
                                          120,            Dep. Tr. 35:20-36:23 (




                                      3
    Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 4 of 134 PageID #:
                                              47272
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1




                                                                ).
3     Publishers of online digital content designate      Undisputed.
      space for digital ads, called inventory. Ex. 2, ,
      143 ("On the supply side, there are publishers,
      like websites with space where ads can be
      displayed."); Ex. 3,, 21; Ex. 6,, 63; Ex. 7,,
      129; Ex. 9,, 21.
4     Publishers sell advertising inventory to        Disputed to the extent that publishers may
      monetize and fund their content. Ex. 3,, 43;    have other reasons to sell advertising
      Ex. 7,, 133(a); Ex. 8,, 36; Ex. 9,, 21.         inventory. See Dkt. No. 664, Google's Answer
                                                      to Plaintiffs 4th Amended Complaint, at 123,
                                                      511 ("Google admits that some publishers use
                                                      revenue generated from selling ad space to,
                                                      among other things, support content
                                                      development." (emphasis added.)).
5     Advertisers purchase publisher inventory in     Disputed to the extent that advertisers may
      order to reach their target audience. Ex. 2, ,  have other reasons or a "variety of factors" to
      143 ("On the demand side, there are             consider, in addition to reaching their target
      advertisers who seek to display their ads to a  audience, in purchasing publisher inventory.
      specific audience."); Ex. 5, , 82; Ex. 6, , 72; See Dkt. No. 664, Google's Answer to 4th
      Ex. 7, ,, 129, 133(b); Ex. 8,, 36.              Amended Complaint, at 5 ,10. ("Google
                                                      admits that some publishers' inventory can be
                                                      viewed as distinct and that the value of
                                                      different ad units can differ and will depend on
                                                      a variety offactors including the audience."
                                                      (emphasis added)).
6     Ad tech is software that facilitates the        Disputed to the extent that ad tech is not a
      purchasing of digital advertising space by      singular type of software or technology but,
      matching publishers with inventory to sell      instead, has many components that serve
      with advertisers with ads to show. Ex. 2, ,,    different functions. See Davis. Ex. 29,
      140, 143; Ex. 3,, 61; Ex. 5, ,, 16, 18, 37; Ex. Chandler Opening Rep. at 35, 115 ("While ad
      7, ,, 128, 150-51; Ex. 15 at 58:21-59:1         exchanges are the marketplace where
      (agreeing that a "key function in an ad         advertisers and publishers come together, and
      exchange" is "to match buyers and sellers of    with the help of their ad buying tools and
      display advertising" by "using information and supply side platforms, buy and sell ads, the
      bids").                                         auction is the central activity through which
                                                      ads are bought and sold on exchanges."); id.
                                                      , 140 ("This system includes several key
                                                      components: a publisher inventory
                                                      management system, a publisher ad server, an



                                                      4
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24               Page 5 of 134 PageID #:
                                             47273
                                    ** FILED UNDER SEAL **


1     Google's Statement                                  Plaintiff States' Response 1

                                                          advertising exchange, an advertiser ad server,
                                                          and an advertiser buying tool.").




7     Advertisers and publishers seek to maximize         Disputed to the extent "best match" may be
      revenue by finding the best match possible for      different for publishers and advertisers and to
      each impression. Ex. 5, 116; Ex. 8,139              the extent implied that advertisers and
      ("Improved matching that places higher value        publishers only "seek to maximize revenue by
      ads for each impression can increase both the       finding the best match" where other
      price paid to publishers and the profits earned     considerations may exist, including the quality
      by advertisers.").                                  and number of the ads on a site. See Davis Ex.
                                                          29, Expert Report of John Chandler, at 551
                                                          195 ("The interests of publishers and
                                                          advertisers are not generally aligned in a
                                                          transaction for display advertising space."); id.
                                                          at 921355 ("Publishers were harmed because
                                                          the auction process often led to publishers
                                                          showing lower quality ads than ads placed
                                                          through other auctions."); Davis Ex. 2 at 63, n.
                                                          135 ("I use the parenthetical (value-adjusted)
                                                          to note that publishers may care about more
                                                          than just the revenue earned (for example due
                                                          to ad quality, a discount offered, etc.").
8     When this transaction occurs, a user is shown       Disputed as imprecise, to the extent stating
      a display ad, which is referred to as an            that the display ad being shown is an
      "impression." Ex. 2, 131(1); Ex. 9,123; Ex.         "impression." See Davis Ex. 29, Expert Report
      187 at 139:14-16.                                   of John Chandler, at 12131(1) ("An
                                                          impression is the unit of measurement of
                                                          digital advertising and represents a single
                                                          instance of a particular ad being shown. One
                                                          can think of an impression as the viewing of
                                                          an advertisement."); see also Davis Ex. 2,
                                                          Expert Report of Matthew Weinberg, at 34 1
                                                          63 ("Publishers are ... sellers of inventory,
                                                          which is effectively the 'eyeballs' of their
                                                          users. Publishers (and third parties) have a
                                                          range of information about the particular users
                                                          visiting their page, and each unique visitor can
                                                          be thought of as its own item for sale. The
                                                          item for sale is referred to as an impression.").


                                                      5
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 6 of 134 PageID #:
                                              47274
                                     ** FILED UNDER SEAL **

,      Google's Statement                                Plaintiff States' Response 1

9      Publishers selling digital ad space have several Disputed. See Ex. 121,
       options for selling their ad inventory. Ex. 5, ,,
       79-81; Ex. 7,, 134.

                                                                                              ; Ex. 122,



                                                                            ; Davis Ex. 53, Gans Rebuttal
                                                          Rep. at 119-121, 21,327 (competitors had
                                                          difficulty getting publishers to switch servers
                                                          "due to the high switching costs of going from
                                                          DFP to another ad server and publisher fear of
                                                          losing revenue due to the loss of Google
                                                          demand.").
10     Publishers can engage in direct deals using        Undisputed, except that publishers can engage
       bilateral negotiations with an advertiser to set   in direct deals through potentially other types
       the terms of the deal. Ex. 2, ,, 108, 110; Ex. 5, of negotiations.
       , 79; Ex. 6,, 69; Ex. 7,, 134 & n.17; Ex. 15
       at 74:19-23 ("Q. Can Advertisers reach
       consumers through Direct Deals with
       publishers? ... A. If they strike a direct deal
       with the right sort of publisher, yes."); Ex. 26
       at -481-82; Ex. 112 at -720 (As of 2010, a
       "typical large publisher generates upward of
       80% of its online advertising revenue from
       guaranteed ad sales.").
11     Publishers can also use ad tech tools to           Undisputed as a general matter, except
       facilitate direct deals with advertisers (also     objection to the lack of relevant time period
       known as "programmatic guaranteed" or              and that such direct deals can also be known
       "programmatic direct" deals). Ex. 2, ,,            by other names, such as "automated
       31(15), 110; Ex. 7,, 134 n.17; Ex. 94 at-918       guaranteed." See Davis Ex. 29, Chandler
       (design document for Google's programmatic Opening Rep. at 35 , 110.
       direct offering, which was designed to help
       both sides of the transaction "save time and
       money," "reduce waste and increase yield,"
       and "save time/reduce bad debt").
12     Publishers additionally use ad tech tools to       Disputed. See Ex. 123, GOOG-AT-MDL-
       facilitate the sale of publisher inventory that is 019109468 ("Under second price auction, the
       not sold directly, referred to as "remnant         impact of this 'last look' over DFP remnant is
       inventory." Ex. 2, ,, 108, 111 ; Ex. 3,, 104.      quite obvious in that auction will let bids
                                                          above remnant LI eCPM win over the remnant
                                                          LI, paying 1 cent above the remnant LI
                                                          eCPM.")


                                                     6
     Case 4:20-cv-00957-SDJ       Document 738-1 Filed 12/30/24             Page 7 of 134 PageID #:
                                             47275
                                    ** FILED UNDER SEAL **

,      Google's Statement                               Plaintiff States' Response 1

13     Publishers of digital content employ a variety   Disputed as to the term "variety" and
       of what are known as "sell-side" ad tech tools   imprecise as to the different sell-side products
       to manage and sell their inventory. Ex. 2, ,,    including publisher ad servers and supply-side
       152-53; Ex. 6,, 76; Ex. 7,, 135; Ex. 175 at      platforms ("SSPs"), which are distinct See Ex.
       12:12-15.                                        124, {CONFIDENTIAL INFORMATION REDACTED}




                                                                                               ; Ex. 125,
                                                        C. LaSala Dep. Tr., Aug. 17, 2023, at 482:25-
                                                        483:8 ("Q. So publishers using Google Ad
                                                        Manager will mostly only use Google Ad
                                                        Manager, right? ... A. I think it is most
                                                        common for a publisher to implement a single
                                                        ad server, whether it's Google's or someone
                                                        else. There are small instances where they
                                                        would do both."); Ex. 126,




                                                                       ; Ex. 127,




                                                                          .
14     A publisher ad server is an ad tech tool that    Undisputed as a general, but not sole or
       helps publishers manage, track, and sell their   comprehensive, definition or description of a
       online digital inventory in an automated         "publisher ad server."
       manner. Ex. 2, ,, 140, 152, 156-57; Ex. 3,,
       62; Ex. 6,, 67; Ex. 8,, 45; Ex. 174 at 203:17-
       21 (




                                                    7
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 8 of 134 PageID #:
                                              47276
                                     ** FILED UNDER SEAL **

,      Google's Statement                                 Plaintiff States' Response 1

            ). Publishers can use ad servers for
       functions such as deciding which ad to serve
       and where the ad should be displayed. Ex. 8, ,
       45; Ex. 2,, 157.




15     Publishers can also use ad exchanges or          Disputed to the extent stating that ad
       supply-side platforms ("SSPs"), another tool     exchanges are always interchangeable with
       which provides real-time auction matching        SSPs, although they are often used
       between publishers and advertisers in            interchangeably. See Davis Ex. 29, Expert
       exchange for a commission, also called a         Report of John Chandler, at 41, 143 ("In
       revenue share. Ex. 2, ,, 117, 183; Ex. 3, ,, 45, order to scale up and facilitate the transactions
       109, 183; Ex. 6,, 77.                            between the two sides, a broader set of entities
                                                        have emerged, which includes supply side
                                                        platforms (SSPs) which help aggregate
                                                        advertising inventory, demand side platforms
                                                        (DSPs) which help aggregate and place
                                                        advertising inventory, and exchanges which
                                                        facilitate the exchange between the two
                                                        sides."); Davis Ex. 52, Gans Opening Rep. at
                                                        125 n.425 ("'Ad exchange' and 'SSPs' are
                                                        often used interchangeably.").
16     Publishers can also sell their inventory through Disputed as to the buy-side and programmatic
       ad networks. Ex. 2,, 114; Ex. 8,, 45; Ex. 154 nature of ad networks and that publishers can
       at 28 :6-23 (                                    employ ad networks to sell, not "purchase,"
                                                        their remnant inventory. See Davis Ex. 29,
                                                        Expert Report of John Chandler, at 35, 111
                                                        ("Indirect sales focus on selling ad inventory
                                                        through intermediaries, such as ad networks or
                                                        exchanges, typically for remnant inventory ....
                           ). And publishers can        Traditional indirect sales involve ad networks
       employ ad networks to purchase their remnant that aggregate inventory from multiple
       inventory in bulk and resell that inventory to   publishers, using less automation and often
       advertisers. Ex. 2,, 111; Ex. 3,, 105; Ex. 32    requiring human negotiation."); see also id. at
       at -924 ("aggregated inventory is sold to        34 , 107 (categorizing selling via ad networks
       advertisers - helped publishers by selling       as non-programmatic).
       remnant inventory").




                                                     8
     Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 9 of 134 PageID #:
                                               47277
                                      ** FILED UNDER SEAL **

,      Google's Statement                                  Plaintiff States' Response 1

17     Publishers "multi-home," meaning they use           Disputed as to the extent of the stated multi-
       more than one ad exchange on the sell-side.         homing. See Davis Ex. 53, Gans Rebuttal
       Ex. 7,, 65 ("About 45 percent of publishers         Rep. at 101,265 ("Out of those that multi-
       who use AdX or DFP multi-home by selling            home, 45% use AdX, and only 2% of
       inventory across AdX and at least one other         publishers multi-home, using multiple non-
       exchange"); Ex. 186 at 72 :22-73 :9 ("It's          AdX exchanges.443 Publishers' multi-homing
       common for publishers to use multiple               is highly fragmented across other exchanges.
       exchanges at the same time.").                      For example, less than 10% of publishers
                                                           multi-home on both AdX and another
                                                           exchange such as Microsoft, Magnite,
                                                           PubMatic, OpenX, or Index Exchange.").
18     Advertisers also employ a variety of what are       Disputed, as Google's cited sources do not
       known as "buy-side" ad tech tools to host,          support the asserted statement and to the
       manage, target, and buy ad space for their ads      extent the statement conflicts with Plaintiffs'
       with the goal of getting the best return on their   evidence. See Davis Ex. 53, Gans Rebuttal
       advertising investment ("ROI"). Ex. 2,, 171;        Rep. at 62, 162, 227-230 ,, 530-538
       Ex. 3, ,, 33, 62; Ex. 5,, 83; Ex. 6,, 74.           (showing that advertiser multi-homing on
                                                           buyer tools is rare); Davis Ex. 29, Chandler
                                                           Opening Rep. at 86 , 318 ("In an exchange,
                                                           the buy side is seeking to purchase high-
                                                           quality inventory at the lowest prices
                                                           possible."); id. at 31 , 92 ("Third party
                                                           testimony further supports differentiation
                                                           between the various marketing channels.
                                                           Advertisers seeking to maximize ROI or
                                                           ROAS will allocate spend across marketing
                                                           channels, indicating that marketing channels
                                                           are not 'perfectly interchangeable.'").
19     Ad buying tools used by advertisers are             Disputed to the extent that other ad buying
       referred to as demand side platforms ("DSPs")       tools exist outside of DSPs and ad networks
       or ad networks. Ex. 2,, 174; Ex. 3,, 110; Ex.       and that DSPs do not directly interact with
       7,, 128 n.4. These ad buying tools are              publishers. See Davis Ex. 29, Expert Report
       platforms that advertisers and media buying         of John Chandler, at 41, 143 ("In order to
       agencies can use to facilitate purchases of ad      scale up and facilitate the transactions between
       inventory from publishers in order to reach         the two sides, a broader set of entities have
       target audiences. Ex. 2,, 174; Ex. 32 at -924       emerged, which includes supply side platforms
       (ad buying tools provide "bidding technology        (SSPs) which help aggregate advertising
       to target audiences and optimize across             inventory, demand side platforms (DSPs)
       multiple ad exchanges"); Ex. 3, , 110.              which help aggregate and place advertising
                                                           inventory, and exchanges which facilitate the
                                                           exchange between the two sides."); id.. at 50-
                                                           51 ,, 175, 176 ("The tools they use, such as
                                                           DSPs .... ").



                                                       9
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24            Page 10 of 134 PageID #:
                                            47278
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

20   Many advertisers work with media buying           Undisputed, except that advertising agencies
     agencies (or "advertising agencies") to           may still interface with ad buying tools on
     purchase impressions on their behalf. Ex. 5,,     behalf of advertisers.
     82; Ex. 192 at 74:25-75:2, 75 :9-14, 76:2-9;
     Ex. 138 at 54:16-19; Ex. 168 at 15:17-16:5. In
     addition to purchasing impressions on the
     advertiser's behalf, advertising agencies can
     assist advertisers with setting campaign goals,
     developing campaign budgets, selecting ad
     buying tools, managing advertising purchases,
     and bidding on the advertiser's behalf. Ex. 3,,
     44; Ex. 8, ,, 30, 47; Ex. 138 at 57:11-58:15;
     Ex. 168 at 15 :17-16:5 (

                                          ); Ex. 177
     at 11 :13-25; Ex. 192 at 76:19-77:14 ("Q. What
     role does an ad agency play for Louisiana's ad
     campaigns? A. I guess the entirety of the role.
     They are relied upon and hired for their
     expertise and knowledge of getting the
     advertisement out in a manner that is
     effective[.]"), id. at 78:20-23.
21   Advertisers and advertising agencies multi-     Disputed. See Ex. 128,
     home, meaning they use more than one ad
     buying tool, such as a DSP, on the buy-side.
     Ex. 8,, 78; Ex. 108 at -666, -670 (2021 survey
     showing that respondent advertisers and ad
     agencies used an average of 3 .4 DSPs and                       ; Ex. 129,
     planned to use 5.9 DSPs the following year);
     Ex. 163 at 40:18-23 (




                                                                ; Davis Ex. 52, Gans Opening Rep. at
                                                       ,, 398-402; Davis Ex. 53, Gans Rebuttal Rep.
                                                       at 62, 162, 227-230 ,, 530-538 (showing that
                                                       advertiser multi-homing on buyer tools is
                                                       rare) .




                                                  10
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 11 of 134 PageID #:
                                            47279
                                   ** FILED UNDER SEAL **

,    Google's Statement                                 Plaintiff States' Response 1

22   Ad tech tools facilitate "matches" between the     Undisputed that ad exchanges can be
     buy-side and sell-side, and ad exchanges are       multisided transaction platforms that facilitate
     two-sided transaction platforms. Ex. 15 at         matches, but disputed as to other ad tech tools
     60:3-5 (agreeing that ad exchanges are two-        that do not provide that function. See Davis
     sided transaction platforms), id. at 61 :20-62:4   Ex. 53, Gans Rebuttal Rep. at 10, 16 ("Under
     (stating that an "ad exchange itself is            this accepted definition, only ad exchanges
     performing the function of matching given the      arguably meet the definition of a multisided
     information from advertisers and publishers"),     transaction platform, and I have evaluated the
     id. at 63:17-22 (agreeing that ad exchanges are    relevant ad exchange market as such.").
     "two-sided platforms that match publishers
     and advertisers based on information
     submitted to the platform").
23   Transactions using ad tech tools happen in real    Disputed in that not all ad tech tool
     time. The process starts when a user visits a      transactions are considered "real time." See
     publisher's property (like a website or mobile     Davis Ex. 29, Chandler Opening Rep. at 1,
     app ), which thereby triggers requests to the      23(5) ("There are a number of types of display
     publishers' ad tech software for an ad to show     auctions, including those with one or more of
     to the user. That request, in turn, kicks off a    the following characteristics or structures: ...
     process of identifying potential ad candidates     (b) real-time versus one participant having
     and oftentimes involves requesting bids from       lastlook ... ");id.at 16, 31(15)
     buying tools, conducting auctions, and             ("Programmatic Guaranteed is a form of
     ultimately showing an ad to the user. Ex. 2, ,     programmatic advertising where ad inventory
     147;Ex. 7, ,, 129-30; Ex. 19,, 7.                  is reserved in advance at a fixed price. Unlike
                                                        real-time bidding, this approach guarantees ad
                                                        placements on specific sites or platforms,
                                                        combining the automation and efficiency of
                                                        programmatic buying with the assurance of
                                                        direct deals." (emphasis added)).
24   Some publishers and industry participants,         Undisputed as to Meta and Amazon as Walled
     such as Meta and Amazon, operate "walled           Garden Publishers that do not serve display
     gardens," and their publisher inventory is         advertising.
     typically only available to advertisers through
     the use of ad tech tools offered by those
     walled gardens or by direct deals. Ex. 2, ,
     31(8); Ex. 3,, 161 . Walled gardens directly
     select which advertisers may purchase
     impressions on their platforms. Ex. 3,, 222.




                                                   11
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 12 of 134 PageID #:
                                            47280
                                   ** FILED UNDER SEAL **

,    Google's Statement                                 Plaintiff States' Response 1

25   The ad tech industry is dynamic,                   Disputed to the extent that this statement
     technologically driven, and rapidly evolving       suggests Google's conduct at issue in this case
     with new technological advancements. Ex. 2,        as being "advancements." See Davis Ex. 38,
     ,, 26, 99, 102, 105,227 (describing the "rapid     Pathak Dep. Tr. 49: 19-50:2 ("The idea of a
     adoption of programmatic display buying," the      real-time pricing was not a Google innovation.
     "rapidly evolving mobile advertising               I wouldn't call it an innovation to place
     landscape," and how "[real-time bidding] has       Google's AdX exchange at the top of a queue
     grown rapidly"); Ex. 7, ,, 132, 179; Ex. 125 at    without giving publishers choices about
     -002 (                                             whether AdX should be prioritized in the
                                                        waterfall or not. I don't know ifl would agree
                                                        with your description of it as an innovation."),
                                                        53:1-8 ("I wouldn't call [dynamic allocation]
                                                        an innovation because in some respects it's
                                                        taking away publisher's choice because an
                                                        essential part of Google's version of dynamic
                                                        allocation is putting AdX near the top of a
                                                        waterfall, and a true innovation would allow
                                                        publishers the ability to access real-time bids
                                                        wherever in the waterfall they wanted to.").
                  ); Ex. 171 at 254:15-255:10
     (

                                 ).
26   Several industry participants, including for       Disputed. See Heinz Ex. 10, Chandler
     example Microsoft and Nexxen, offer an             Rebuttal Rep. at 44-45 , 100 ("aQuantive was
     "integrated" ad tech stack of both sell-side and   a direct competitor ofDoubleClick through
     buy-side tools. Ex. 7, ,, 132, 170                 our respective acquisitions, and we grew our
     ("[C]ompanies like Google and Microsoft            advertiser buying tools business from 5-10%
     (Xandr) offer fully integrated ad tech stacks to   market share to 45% between 2001 and 2008.
     serve all sides of the market."); Ex. 179 at       By 2013, Microsoft had decided to exit this
     121:12-122:6 (                                     aspect of the ads business, selling the Atlas
                                                        intellectual property to Facebook."); Davis Ex.
                                                        53, Gans Rebuttal Rep. at 121,326
                                                        (




                                                                 ) (citing and quoting Deposition of


                                                   12
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                Page 13 of 134 PageID #:
                                            47281
                                   ** FILED UNDER SEAL **

,    Google's Statement                                   Plaintiff States' Response 1



                                                                .




27   Google's ad tech stack is an end-to-end              Disputed that Google's "ad tech stack" is a
     platform with integrated tools. Ex. 3,, 63; Ex.      single "end-to-end platform with integrated
     7, ,, 170, 276.                                      tools" and as to the cited evidence, which does
                                                          not support Google's asserted statement. See
                                                          Davis Ex. 53, Gans Rebuttal Rep. at 10, 16
                                                          ("Other distinct products or tools, such as ad
                                                          servers and ad buying tools for small and large
                                                          advertisers, are not multisided transaction
                                                          platforms. They do not perform direct
                                                          transactions between two distinct user groups;
                                                          rather they serve independent customer groups
                                                          (i.e., publisher ad servers serve publishers; ad
                                                          buying tools serve advertisers). They provide
                                                          multiple services other than facilitate
                                                          transactions."); Ex. 130, GOOG-NE-13468302
                                                          at -305 ("Please note that while we talk
                                                          externally about how these products work
                                                          together and our plans to integrate them even
                                                          further, we have not made any formal
                                                          statements about merging the products and
                                                          you should still talk about them as separate
                                                          products when talking directly with clients."
                                                          (emphasis added)); Ex. 131, GOOG-NE-
                                                          04597999 (Google diagram showing DFP and
                                                          AdX as two separate products within Display
                                                          Ads landscape).



28   Google's ad tech tools benefit publishers and        Disputed as to the broad statement that
     advertisers (as well as their ad agencies),          "Google's ad tech tools benefit publishers and
     including by providing access to brand-safe          advertisers" as Plaintiffs' evidence shows that


                                                     13
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24                   Page 14 of 134 PageID #:
                                              47282
                                     ** FILED UNDER SEAL **


~      Google's Statement                                      Plaintiff States' Response 1

       inventory, enhancing advertising campaign               due to Google's conduct, publishers and
       and delivery performance with user-friendly             advertisers were harmed, and also as to the
       features, and offering sophisticated protections        asserted benefits and protections, many of
       against ad fraud. Ex. 179 at 61: 15-62: 13 (            which are not unique to Google products and
                                                               were not in place for the entire relevant time
                                                               period of the case. See Davis Ex. 52, Gans
                                                               Opening Rep. at 139-301 (explaining Google
                                                               conduct and resulting harm to publishers
                                                               and/or advertisers).


                                                          )
       (testifying about deposition Exhibit 3 (Ex.
       180)), id. at 110:20-111:8 (




                       ) (testifying about deposition
       Exhibit 3 (Ex. 180)); Ex. 180 at slides 10-11
       (




                ); Ex. 128 at -025-30 (



                        ); Ex. 133 at 54:15-20 (



                                          ), Ex. 188 at
       115:9-16 (



                                                          );
       Ex. 155 at 37:9-15 (




                                                          14
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 15 of 134 PageID #:
                                            47283
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1



                              ); Ex. 156 at 173:19-
     174:12 (



                                   ).
29   Google Ad Manager ("GAM") includes                Undisputed that, as a result of Google's
     Google's publisher ad server and ad exchange.     conduct, Google Ad Manager ("GAM")
     Ex. 7,, 18; Ex. 103 at -479-81.                   includes two distinct products, its publisher ad
                                                       server DFP and ad exchange AdX.




30   Google's publisher ad server, formerly called     Undisputed, except that when Google acquired
     "DoubleClick for Publishers" ("DFP"), and         DoubleClick, DoubleClick's ad exchange tool
     Google's ad exchange, AdX, were acquired by       was known as DoubleClick Ad Exchange.
     Google in 2008. 2 Ex. 3, ,, 66, 140, 552.         Google later further developed and renamed to
     2 Although rebranded in 2018 as GAM, see          AdX. See Davis Ex. 52, Gans Opening Rep.
     infra ,, 169-70, for convenience and when         64 , 180 ("In 2008, Google acquired
     referring specifically to Google's ad server or   DoubleClick and its ad exchange tool,
     its ad exchange, Google will use DFP and          formerly known as DoubleClick Ad Exchange
     AdX, respectively.                                and renamed to AdX.").
31   DV360 and Google Ads are Google buy-side          Undisputed, except that DV360 and Google
     tools. Ex. 3,, 63; Ex. 5,, 86; Ex. 7,, 18; Ex.    Ads are also Google products.
     8, ,, 83, 87.
32   Google offers two types of accounts for           Undisputed.
     publishers using GAM's ad server, DFP: small
     business and premium (also called GAM360).
     Ex. 3,, 156, Table 1; Ex. 7,, 292 n.414; Ex.
     11,, 120 ("[Google] offers two distinct
     products: DFP Premium and DFP small
     business.").




                                                  15
    Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 16 of 134 PageID #:
                                               47284
                                      ** FILED UNDER SEAL **


~      Google's Statement                                  Plaintiff States' Response 1

33     GAM360 publishers can utilize additional            Disputed to the extent the statement implies
       services, one of which is access to data            that additional services have always been
       transfer files that contain event-level data of     available, as cited sources, for example, show
       all ads served to their property. Ex. 22, ~ 14      that access to data transfer files only became
       ("In January 2024, Google made available to         available in January 2024.
       publishers using [GAM360] a modified Bids
       Data Transfer report file - the Joinable Bids
       Data Transfer report file (' Joinable BDT File')
       - that could be joined with other Data Transfer
       report files containing bid information for
       requests originating outside of Europe."); Ex.
       131 at 132:13-20 ("Q. What's a data transfer
       report file? A. Ad Manager offers to Ad
       Manager 360 publishers an option for an
       additional service that - in which we would
       provide what we call data transfer files that
       contain event-level data of all the ads served to
       their property.").
34     The number of GAM360 publishers is much             Disputed to the extent that the statement and
       smaller than the number of GAM small                cited deposition testimony(" I don't have the
       business publishers. Ex. 131 at 132:21-133:12.      numbers off the top of my head.") are
                                                           imprecise and vague ("much smaller") as to
                                                           the relevant time period and the number of
                                                           publishers.




                                                      16
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                 Page 17 of 134 PageID #:
                                            47285
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

35   Publishers using Google's ad server, DFP,         Disputed. See Davis Ex. 52, Expert Report of
     may set a "floor price," also known as a          Joshua Gans, 178 , 513-14 (Regarding
     "reserve price," for each available               Google's UPR conduct, "Google is stripping
     impression-meaning a minimum price at             them of control over how their inventory is
     which the publisher would be willing to sell an   valued, and their ability to control their floor
     impression. Ex. 5,, 71; Ex. 7,, 142 n.74.         prices ... Google received pushback from
                                                       publishers regarding the loss of control over
                                                       their price floor."); Ex. 112, Declaration of
                                                       Nitish Korula (Engineering Director, Google),
                                                       Paragraph 10, August 4, 2023 ("Using
                                                       Dynamic Allocation, DFP established a 'floor
                                                       price' for AdX bids to beat, based on the
                                                       highest price of any of the publisher's eligible
                                                       booked, static remnant line items (which a
                                                       publisher could configure based on the
                                                       estimated price of each remnant line item or a
                                                       fixed price the publisher had negotiated with a
                                                       particular remnant demand partner). AdX
                                                       buyers would then submit real-time bids to try
                                                       to beat this floor."); Davis Ex. 52, Expert
                                                       Report of Joshua Gans, 253,760
                                                       ("Specifically, they note that Bemanke
                                                       overrode {CONFIDENTIAL INFORMATION REDACTED} floor prices
                                                       for 68% of the problematic impressions that
                                                       led to this issue.").
36   AdX runs auctions to match publishers and         Undisputed as to a general description of AdX,
     advertisers and facilitate the sales of ad        except incomplete as the statement omits the
     impressions. Ex. 2,, 183; Ex. 7,, 18.             roles of other distinct tools and products in the
                                                       auction. See Davis Ex. 29, Chandler Opening
                                                       Rep. at 53 , 183 ("On advertising exchanges,
                                                       advertisers place bids via DSPs and publishers
                                                       make their inventory available for auction via
                                                       SSPs.").
37   Publishers can make inventory available to        Disputed to the extent the statement is
     buyers by triggering an ad request to GAM.        imprecise and vague as to the relevant time
     Ex. 8, 97.                                        period (GAM only came into existence after
                                                       Google's alleged tie) and method of triggering
                                                       an ad request to the ad exchange product
                                                       within GAM.




                                                  17
 Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24               Page 18 of 134 PageID #:
                                              47286
                                     ** FILED UNDER SEAL **

,    Google's Statement                                   Plaintiff States' Response 1

38   AdX does not return real-time bids to                Disputed, including as to the relevant time
     Google's ad server, DFP, or any third-party ad       period of the statement and the scope of the
     server. Ex. 19,, 16.                                 AdX and DFP products. See Heinz Ex. 19,
                                                          Hochstetler Opening Rep. at, 81; Ex. 132,
                                                          GOOG-AT-MDL-019653406 at-418 (" ... we
                                                          can always join DFP + AdX logs").
39   AdX charges publishers a revenue share for           Disputed as to the term "standard" as
     each transaction. Ex. 3,, 183; Ex. 8,, 105;          imprecise/vague where the revenue share or
     Ex. 19,, 10. AdX's standard revenue share is         take rate can vary and as to the lack of a
     20% of the publishers' total revenue from the        relevant time period. See Davis Ex. 2,
     sales of the publishers' web and video               Weinberg Opening Rep. at 111, 199 ("Under
     impressions to buyers using AdX, though              DRSv2, AdX is allowed to either increase the
     publishers can negotiate that amount. Ex. 3, ,       take rate on a per impression basis or decrease
     811 ("Google documents show that AdX has             it, as it can be seen from its description. This is
     charged around 20% take rate on average              one important difference in comparison to
     across open auction transactions"); Ex. 8, ,         DRSvl where AdX was only allowed to
     105; Ex. 51 at -227 ("AdX applies a 20% sell-        decrease the take rate. AdX decides to increase
     side revshare to all bids in their auction."); Ex.   or decrease the take rate based on the average
     103 at -514; Ex. 196 at 224:6-11 ("I believe         take rate it applied to that publisher in the
     that platform that they're referring to is           billing period. If it is close enough to the
     Google's ad exchange, where it historically          contractual requirement of 20%, then AdX
     has extracted a 20 percent revenue share.").         sometimes decreases the take rate to win
                                                          impressions that it would not have won
                                                          otherwise. If it is much lower than 20% and
                                                          the top bid is high enough compared to the
                                                          floor, AdX increases the take rate to recoup
                                                          the losses it incurred in auctions where it
                                                          decreased its take rate.").




                                                     18
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24             Page 19 of 134 PageID #:
                                             47287
                                    ** FILED UNDER SEAL **

,    Google's Statement                                  Plaintiff States' Response 1

40   In Ad.X auctions, the highest bid net of AdX' s  Disputed. See Ex. 133, GOOG-DOJ-14952731
     revenue share ("net bid") wins the auction, as   at -731 ("[Launch 106307] gTrade: Project
     long as it is above the applicable reserve price.Bemanke" September 24, 2013 ("With this
     Ex. 7,, 619; Ex. 19, ,, 10-12 & n.1; Ex. 164     project, we are doing a little quantitative
     at 182:11-13 ("Q. So the net bid is the bid      easing on the Ad.X, a la Bemanke: GDN will
     price after Google's revenue share? A. Rev-      take a *negative* revshare to allow advertisers
     yes that's correct.").                           to win even more AdX auctions. The cost
                                                      from this negative revshare will be balanced
                                                      by increasing the revshare on other auctions
                                                      by lowering GDN's second bid (which is used
                                                      to second-price GDN sometimes"); see also
                                                      Ex. 134, GOOG-TEX-01266874 at -874
                                                      ("Bemanke experiment analysis (THIS IS
                                                      THE INTERNAL TO GTRADE DOC NOT
                                                      TO BE SHARED!)" February 12, 2018 ("As
                                                      part of project Bemanke, we reduce the second
                                                      bid (and in some cases drop the second bid
                                                      completely) and create a pool of money, which
                                                      we then reinvest by increasing the frrst bid on
                                                      queries in order to win potentially unmatched
                                                      queries.").
41   Prior to 2019, AdX conducted a second-price      Disputed. See Ex. 135, GOOG-NE-13340752
     auction. Ex. 7,, 501; Ex. 19,, 11; Ex. 160 at    (RPO undermines the whole idea of second
     176:14-19 ("[P]rior to September 2019, AdX       price auctions); Ex. 136, GOOG-NE-
     would run a second-price auction."). In a        05308018 at -025, 026 (DBM Japan, noticing
     second-price auction, the highest bidder is the the effects of RPO, states that Ad.X auctions
     winner of the auction, and it pays the higher of appear to be first price); Ex. 137, GOOG-AT-
     (i) the second-highest bid and (ii) the reserve  MDL-B-002088137 at -139 (Bemanke's
     price. Ex. 8,, 60; Ex. 9,, 38 n.55; Ex. 7,,      purpose was to randomly charge first price and
     501; Ex. 17 at 203:21-204:4 ("Is it your         make more money for Google).
     understanding that in a second-price auction
     the highest bidder pays the greater of the
     reserve price and the second highest bid? A.
     Yes."); Ex. 19,, 11. If no net bid exceeded the
     publisher's reserve price, the impression is not
     matched by AdX, meaning no ad is served by
     AdX. Ex. 5,, 71; Ex. 19,, 12.
42   In a given second-price auction, bidders are     Disputed, as the term "in retrospect" is vague.
     incentivized to bid according to their actual
     values, a property called "truthfulness" in
     auction parlance. Ex. 6, , 51; Ex. 8, , 61-62. A
     pricing rule in which the winning bidder pays
     the lowest amount it could have bid to win the
     auction, in retrospect, is called "threshold


                                                    19
    Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24               Page 20 of 134 PageID #:
                                                47288
                                       ** FILED UNDER SEAL **


1      Google's Statement                                    Plaintiff States' Response 1

       pricing," and auctions using threshold pricing
       are truthful. Ex. 8,161; Ex. 18 at 259:8-23,
       263:25-264:18.




43     In 2019, AdX transitioned to a first-price            Disputed to the extent that Google's "infra"
       auction. See infra 180; Ex. 7, 1501 ; Ex. 13 at       cites are unclear as to the cited source and
       174:20-22 ("Q. Do you know when AdX went              Plaintiffs reserve the right to object to the
       to a first-price auction? A. I believe it was in      citations.
       2019."); Ex. 8, 1491 ; Ex. 150 at 398:19-22
       (Q. Do you know when AdX shifted to the
       unified frrst-price auction? A. To my
       recollection, it was close to September
       2019."); Ex. 19, 1113, 53 . As discussed infra
       1 81 , in a first-price auction, the highest bidder
       wins and pays a price equal to its bid. Ex. 2, 1
       128; Ex. 8, 167; Ex. 19, 111.
44     In a first-price auction, a bidder's optimal          Disputed as to the second statement because,
       strategy may include "shading" their bid to a         in a second-price auction, the reserve price
       value below their actual willingness to pay.          does not always determine "the price at which
       Ex. 6,148 & fig.6; Ex. 19, 111. Unlike in a           the auction clears." See Davis Ex. 2,
       second-price auction, the reserve price in a          Weinberg Opening Rep. at 17126 ("In a
       first-price auction determines whether an             second-price auction, there are three relevant
       auction clears, but not the price at which the        ranges for the
       auction clears. Ex. 6, 11 26 ("In a first-price       reserve: (1) the second-highest bid exceeds the
       auction, there are two relevant ranges for the        reserve, where the auction concludes
       reserve: (1) the highest bid exceeds the              identically as if there were no reserve .... ").
       reserve, in which case the auction concludes
       identically as if there were no reserve or (2)
       the highest bid falls below the reserve, in
       which case the auction is essentially nullified,
       and the item stays with the seller."); Ex. 19, 1
       11.
45     Google Ads, formerly known as AdWords and             Disputed to the extent that the Google Ads
       sometimes referred to as Google Display               product' s functionalities changed over time
       Network ("GDN"), allows advertisers to create         and that GDN refers to the display component
       ad campaigns that run across different formats,       of Google Ads, not search. See Ex. 138,
       including search and display ads. Ex. 3, 164;         Google, hll:Qs://suru~ort.google.com/google-
       Ex. 6, 112.e n.5; Ex. 8, 187.                         ads/answer/2404190?hl %3 Den ("While the
                                                             Search Network can reach people while they
                                                             search for specific goods or services, the
                                                             Display Network can help you capture



                                                       20
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 21 of 134 PageID #:
                                              47289
                                     ** FILED UNDER SEAL **


1      Google's Statement                                Plaintiff States' Response 1

                                                         someone's attention earlier in the buying
                                                         cycle.").




46     DV360, formerly known as DoubleClick Bid          Disputed as to the second statement, Google's
       Manager ("DBM"), offers tools that assist         at-issue conduct prevented the facilitation of
       advertisers in managing their display             purchases across non-Google ad exchanges.
       advertising campaigns. Ex. 7, App'x III 16;       See Davis Ex. 29, Expert Report of John
       Ex. 8,183. DV360 facilitates purchases of ad      Chandler, p. 146, 1262 ("When combined with
       inventory across dozens of ad exchanges,          (Enhanced) Dynamic Allocation, Projects
       including Ad.X, Index Exchange, OpenX,            Bemanke and Global Bemanke enabled Ad.X
       Rubicon, and others. Ex. 8,183 & n.115.           to have a higher win rate, which would cause
                                                         other exchanges to have a lower win rate.").
47     Bidders bidding into AdX without using either     Disputed to the extent it is not a
       of Google's buying tools are called               comprehensive definition. See Heinz Ex. 19,
       "Authorized Buyers." Ex. 8, 1273; Ex. 178 at      Hochstetler opening report at 56, 1 104 (1) (i)
       32:4-7 ("Q. What does 'authorized buyers'         ("Authorized Buyers are ad networks and
       mean? A. The third-party buyers on the AdX        other platforms that are allowed to buy on
       platform.").                                      behalf of multiple advertisers in Ad.X using
                                                         real-time bidding"); see also Ex. 139, Google,
                                                         "Authorized Buyers overview,"
                                                         https://support.google.com/authorizedbuyers/a
                                                         nswer/6138000?hl=en. Accessed May 30,
                                                         2024.
48     In the early 2000s, publishers sold their         Disputed as to the stated temporal and implied
       remnant inventory (the ad slots that publishers   publisher scope, not all publishers sold
       could not sell via direct negotiations with       remnant inventory through the waterfall and
       advertisers) through a process called the         the relevant time period was not limited to the
       "waterfall." Ex. 3,195; Ex. 7, 1529; Ex. 15 at    early 2000s.
       194:6-8 ("Q: Did ad networks purchase
       display inventory through [a] sequential
       process known as the Waterfall? A. Yes.").
49     In the "waterfall," a publisher ranked buyers     Undisputed as a general, but not
       sequentially and often did so according to its    comprehensive, description of the "waterfall"
       expected revenue based on buyers' historical      model or process.
       willingness to pay (or based on fixed prices
       that had been negotiated with an individual
       buyer) so that buyers who were expected to
       pay more were offered impressions earlier. Ex.
       2, 131(19); Ex. 3, 1195, 107; Ex. 6, 1184 &
       n.75, 90; Ex. 8, 1199-100; Ex. 19, 117. For
       example, the first buyer would be offered the


                                                    21
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24             Page 22 of 134 PageID #:
                                             47290
                                    ** FILED UNDER SEAL **

,    Google's Statement                                  Plaintiff States' Response 1

     opportunity to fill an impression, but if that
     buyer declined to fill the impression at the set
     price, the request was then passed to the next
     buyer on the publisher's list, with this process
     repeating until the impression was sold or the
     publisher's list was exhausted (leaving the
     impression unsold). Ex. 2,, 31(19); Ex. 6,,
     85; Ex. 8,, 100.


50   The "waterfall" process was inefficient             Disputed to the extent the statement lacks
     because it sometimes resulted in an advertiser      temporal context because efficiency is relative
     winning an impression when another                  to the relevant time period and alternative
     advertiser later in the waterfall was willing to    options. See Davis Ex. 38, Pathak Dep. Tr.
     pay a higher price, resulting in publishers         57:10-22 ("A. We have to judge what was
     missing out on increased revenue. Ex. 8, ,          happening in that very early period relative to
     267; Ex. 15 at 194:9-12 ("Q. Did the Waterfall      what are the other options in the market. So
     lead to publishers missing out on more              back in 2008, it's my understanding that real-
     valuable ad inventory allocation? ... A. I          time bidding was not very common, that
     think that's a reasonable conclusion."); Ex.        DoubleClick's version of waterfall was
     139 at 115:3-16 ("I can say that it was Meta's      different than Google's version of dynamic
     point of view, and it is today, that waterfall      allocation. So as soon as we introduced real-
     generally-we've been fairly public about            time bidding as a new technology, right, you
     this-is an inefficient system that does not         could say, the waterfall, you know, because of
     provide the best value for publishers or            its sequential nature, becomes inefficient.
     advertisers.").                                     There's an alternative.").
51   In 2009, Google's AdX launched real-time            Disputed as to when RTB was launched, as the
     bidding ("RTB"). Ex. 3,, 112; Ex. 38 at -095;       cited sources show that AdX announced, not
     Ex. 8,, 102; Ex. 34 at -318.                        launched, RTB support in 2009. See Ex. 140,
                                                         GOOG-AT-MDL-015261161 at -1162
                                                         (Google internally discussing when RTB
                                                         would be released in July 2010).
52   R TB enabled ad exchanges like AdX to sell          Undisputed.
     individual impressions in real time, or the
     moment that a user entered a publisher's
     webpage. Ex. 2,, 98; Ex. 3,, 111.




                                                    22
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 23 of 134 PageID #:
                                              47291
                                     ** FILED UNDER SEAL **


1      Google's Statement                                Plaintiff States' Response 1

53     With RTB, advertisers could submit bids           Disputed to the extent stating that RTB in fact
       based on a real-time evaluation of the value of   "enhanced advertisers' return on investment
       that user's view or potential click, which        and campaign performances," as such
       enhanced advertisers' return on investment        enhancement was not guaranteed; instead, the
       and campaign performances. Ex. 3, 11111,          benefits to advertisers included increased
       113; Ex. 8, 11273-74.                             CPM rates and CTR performance, which
                                                         could but was not guaranteed to lead to
                                                         enhanced ROI. See Davis Ex. 52, Gans
                                                         Opening Rep. at 411113.
54     Other ad exchanges also incorporated RTB in       Undisputed.
       the 2009-2010 time period. Ex. 3, 11112,
       567-68; Ex. 8, 1278 & n.542.
55     While individual exchanges developed RTB          Disputed to the extent that the situation
       capabilities that enabled them to conduct a       continued after header bidding was developed
       real-time auction among their own bidders,        because of Google's conduct and publishers'
       there were no available technologies (until       inability to obtain real-time bids from AdX
       header bidding was developed, see infra 11        and other exchanges simultaneously. See
       56-64) that allowed publishers to obtain real-    Davis Ex. 29, Chandler Opening Rep. at 941
       time bids from multiple exchanges                 366 ("With Exchange Bidding, Google
       simultaneously and run an auction comparing       impaired rival exchanges' participation with
       the bids from those multiple exchanges head-      AdX, limited publishers' ability to use header
       to-head. Ex. 8, 1296; see also Ex. 15 at 196:6-   bidding auctions, and impeded performance
       11 ("Header Bidding enabled -- enabled            measurement of header bidding. This inhibited
       publishers to solicit real-time bids from         header bidding use, affecting auction
       multiple exchangers, so enabled that              outcomes.").
       competition.").




                                                    23
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 24 of 134 PageID #:
                                            47292
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

56   Around 2014, publishers began adopting a          Disputed as to extent of competition against
     new technology called header bidding that         AdX. See Ex. 141, GOOG-NE-08116078 at -
     allowed them to request real-time bids from       078 ("Publishers can choose to incorporate
     multiple ad exchanges and then configure          multiple demand sources within this header
     those bids into DFP so that they would            tag, all of which circumvent Google ad
     compete against the bids from AdX's real-time     Manager with the exception of enabled
     auction. Ex. 3,, 115; Ex. 8,, 356; Ex. 15 at      optimization tools (e.g. EDA). When this
     196:6-14; Ex. 19, ,, 23-24.                       circumvention is used, Google loses visibility
                                                       into the 'bid stream' (bidding prices on a per-
                                                       competitor basis), which are important data
                                                       points for our own optimization.").




57   Traditional header bidding-also called client-    Disputed as to the use of the term "traditional
     side header bidding-works as follows: when        header bidding" and the conflation of different
     a user visits the publisher's site, a code        types of header bidding, which do not perform
     embedded in the publisher's webpage calls         all stated functions on the publisher's
     participating ad exchanges or other buyers to     webpage. See Ex. 142, GOOG-DOJ-AT-
     submit bids for that publisher's inventory,       01811246 at -271.
     processes the responses, and runs an auction
     directly on the publisher's webpage. Ex. 3,,
     117; Ex. 16 at 119:20-120:4 ("Q. At a high
     level, publishers implemented header bidding
     by inserting code into their web - own web
     pages; is that right? A. Client-side header
     bidding, yes. Q. And publishers can do this by
     using package code that is known as wrappers
     or frameworks from third-party providers? ...
     A. That's correct. An example of a header
     bidding wrapper provider is pre-bid."); Ex. 19,
     , 23 & n.7; Ex. 127 at -046, -048 (


                                           ).



                                                  24
    Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 25 of 134 PageID #:
                                               47293
                                      ** FILED UNDER SEAL **


1      Google's Statement                                  Plaintiff States' Response 1

58     Publishers using Google's ad server, DFP, are       Disputed as to the lack of a defined time
       able to use header bidding through DFP's            period and where, in some instances, Google's
       preexisting line item functionality, see infra 1    limits on the creation of line items prevented
       191, which encodes information about sources        publishers from being able to fully incorporate
       of advertising demand. Ex. 8, 1357; Ex. 16 at       Header Bidding into their DFP set-up. See Ex.
       140: 18-141 :4 ("And publishers can, as we          143, GOOG-TEX-00110068 at -072 & -073.
       talked about earlier, feed the results of the
       header-bidding auction into DFP as a line
       item, correct? ... [A.] That's correct. That's
       the - the header bidding HP_bid, and all those
       values that are passing in the line items."); Ex.
       19, 1121, 24; Ex. 103 at -490 ("Line Items
       represent campaigns / campaign elements
       within AdManager."); Ex. 162 at 85:17-86:7
       ("Google Ad Manager is and has been for a
       while a very flexible product such that
       whenever a publisher started using header
       bidding it was very natural for them to be able
       to represent the header bidding demand within
       Google Ad Manager.").




                                                      25
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24             Page 26 of 134 PageID #:
                                             47294
                                    ** FILED UNDER SEAL **

,    Google's Statement                                  Plaintiff States' Response 1

59   Header bidding introduced the risk of latency       Disputed. See Ex. 144, GOOG-TEX-
     (increased load time of the publisher's             00121300 at -301 (
     website) for advertisers, publishers, and users.
     Ex. 3,, 118 ("[C]lient-side Header Bidding                             ); Ex. 145, GOOG-TEX-
     contributed to latency issues during the initial    00120626 at -627 (impact oflatency caused by
     page load and auction execution. It also            HB was negligible); Ex. 146, GOOG-DOJ-
     required major set-up investments from the          14742888 (combined) (Checkpoint header
     publisher."); Ex. 4,, 194; Ex. 16 at 121 :20-25     bidding latency report is not all good for
     ("Q. Continuing in your report a few                Google); Ex. 147, GOOG-TEX-00120719 at -
     paragraphs down, if we jump to paragraph            721 (Google email acknowledging "industry
     194, looking at the first sentence of paragraph     does not seem to care about the latency
     194, you state that, quote: Client-side header      impact"); Ex. 148, GOOG-TEX-00103022 at -
     bidding may affect web page loading latency.        3022; Ex. 149, GOOG-TEX-00971726 at -774
     Correct? A. Yes, that is in the report."); Ex. 8,   (
     ,, 117,477; Ex. 97 at -944, -946; Ex. 196 at                                    ).
     56: 10-16 ("I don't believe that anyone
     disagrees in the interviews that I reviewed that
     header bidding introduces some amount of
     latency."); Ex. 19,, 36 ("Most Header
     Bidding has traditionally taken place client-
     side, meaning the page sends out requests to
     individual ad exchanges and other demand
     sources, processes the responses, and then runs
     an auction, all via Javascript code running on
     the page. This may introduce latency issues
     and slow the pace at which the webpage or
     app loads for the user."); Ex. 135 at 141:18-24
     (




                                ); Ex. 170 at 49:12-
     18 (



                                       ).




                                                    26
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24            Page 27 of 134 PageID #:
                                            47295
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

60   Header bidding also increased the risk of         Disputed. See Ex. 150, Casale testimony,
     fraud. Ex. 130 at 82:19-83:1 ("Header bidding     9/9/2024 A.M. DOJ Tr. 157:4-9 ("I
     as a technology was problematic, full of fraud,   completely disagree with header bidding being
     spam."); Ex. 161 at 75:9-11 ("Similarly,          more risky [regarding malware or ad fraud] ...
     header bidding was commonly associated with       It's the same equivalence. Whether we were
     more invalid traffic, spam, and fraud, et         rendering an ad in the waterfall or whether we
     cetera."); Ex. 97 at -946.                        were rendering an ad through header bidding,
                                                       we were rendering an ad on the publisher's
                                                       website. They're fundamentally equivalent
                                                       once the ad server renders the ad."); see Ex.
                                                       151, GOOG-AT-MDL-001941178 at -180
                                                       ("Why? Large buyers are trying to build direct
                                                       relationships .... large agencies trying out
                                                       header bidding to buy brand-safe, fraud-free
                                                       inventory"); Ex. 152, GOOG-TEX-00120929
                                                       at -932, (indicating pretextual nature: "we'd
                                                       have to come up with the objective measures
                                                       for why we believe HB is bad for buy side
                                                       (e.g. fraud protection, latency)").
61   Another problem associated with header            Disputed. See Davis Ex. 32, Shafiq Rebuttal
     bidding was the risk of unauthorized              Rep. ,, 34-36 ("Header Bidding does not
     transmission of user data. Ex. 97 at -946.        present any unique privacy concerns as
                                                       compared to Google's Open Bidding .... For
                                                       example, just like Header Bidding, Google's
                                                       Open Bidding shares user information such as
                                                       a user's cookie ID, the latitude and longitude
                                                       of a user's location, and the URL of the page
                                                       with bidders.").




                                                  27
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24            Page 28 of 134 PageID #:
                                            47296
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

62   Header bidding also increased the risk of more    Disputed, as to evidence from publishers who
     significant payment reporting discrepancies       viewed header bidding as beneficial and did
     for publishers. Ex. 8, ,, 117, 478; Ex. 97 at -   not report discrepancies. See Ex. 128,
     946.                                              {CONFIDENTIAL INFORMATION REDACTED}




                                                  28
 Case 4:20-cv-00957-SDJ       Document 738-1 Filed 12/30/24               Page 29 of 134 PageID #:
                                          47297
                                 ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

63   Another complication with header bidding was      Disputed. See Davis Ex. 52, Gans Opening
     that advertisers might bid against themselves     Rep. at 216,627 ("However, multiple
     in "self-competition" when they bid through       industrial guidelines on Header Bidding
     multiple exchanges for the same impression.       suggested that the industry had realized and
     Ex. 8,, 117; Ex. 99 at -014 (header bidding       addressed the problem of duplicated bids.
     can cause "bid duplication due to multiple        .... Google also recognizes that participating in
     requests for the same inventory").                Header Bidding is in the best interest of its
                                                       DBM advertisers and that 'self-competition' in
                                                       Header Bidding is not an issue because
                                                       'Header Bidding runs a first price auction
                                                       amongst all bids - so there can be no self
                                                       competition. Unless in JEDI, where by design
                                                       the AdX auction competes with header bid"');
                                                       Ex. 153, GOOG-NE-06724126 at -128, -130
                                                       ("Q3: why does header bidding lead to
                                                       increased revenue? While self competition is
                                                       quoted in the industry as the reason for
                                                       increase publisher revenue, this is not true.
                                                       Header Bidding runs a first price auction
                                                       amongst all bids - so there can be no self
                                                       competition"); Ex. 154, GOOG-TEX-
                                                       00109645 at -647 (" ... Header Bidding has
                                                       allowed publishers to facilitate both self
                                                       competition between demand sources and
                                                       unique demand on a per impression basis.").

64   Header bidding has grown in popularity, with      Disputed as to header bidding's growth
     adoption rates among publishers ranging           outside of2018 and 2019, which the cited
     between 73.1 % and 79.2% from 2018 to 2019.       sources do not support, and as to the figures
     Ex.121 at-760-61;seealsoEx.179at                  being cited out of context. See McCallum Ex.
     118:16-19                                         121, {CONFIDENTIAL INFORMATION REDACTED}

                            ); Ex. 100 at -247.        {CONFIDENTIAL INFORMATION REDACTED}




                                                  29
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 30 of 134 PageID #:
                                            47298
                                   ** FILED UNDER SEAL **

,    Google's Statement                                 Plaintiff States' Response 1

65   In 2016, Google announced a rival solution to      Disputed to the extent the date is not accurate.
     header bidding, known then as "Exchange            See Davis Ex. 2, Weinberg Opening Rep. at 83
     Bidding," to enable publishers to compare bids     , 146 ("In 2018, Google released Exchange
     across exchanges. Ex. 6,, 146; Ex. 8, ,, 473,      Bidding, a technology similar to header
     476; Ex. 19,, 35.                                  bidding, after observing the rise of header
                                                        bidding technology"); Heinz Ex. 19,
                                                        Hochstetler Opening Rep. at 57, 104
                                                        ("Exchange Bidding ("EB"), also known as
                                                        Open Bidding ("OB"), was launched in
                                                        February 2018 and was Google's server-side
                                                        alternative to Header Bidding."); Ex. 75,
                                                        Google's First Amended Responses and
                                                        Objections to Plaintiffs Third Set of
                                                        Interrogatories, (May 24, 2024) at 11; Ex. 155,
                                                        GOOG-AT-MDL-B-001290356 at -356
                                                        ("Announcing Exchange Bidding Open Beta"
                                                        on June 8, 2017).
66   Open Bidding aimed to resolve some of the          Disputed. See Ex. 156, GOOG-TEX-
     risks and complications of header bidding. Ex.     00116076 at -078 (suggesting that the purpose
     8,, 474; Ex. 64 at -337; Ex. 19,, 36.              of Open Bidding (OB) was to get visibility
                                                        throughout the entire transaction and get the
                                                        data); Ex. 157, GOOG-DOJ-15006599 at -599
                                                        (indicating Google's internal motivations to
                                                        create only a "slightly better" version of
                                                        header bidding to benefit Google); Ex. 158,
                                                        GOOG-TEX-00002258 at -258 (similar as to
                                                        "slightly better").
67   This solution was launched for general             Disputed to the extent the date is not accurate.
     availability in April 2018. Ex. 19,, 35; Ex. 8,    See Heinz Ex. 19, Hochstetler Opening Rep. at
     , 473. It was rebranded as "Open Bidding" in       57 , 104 ("Exchange Bidding ("EB"), also
     mid-2019. Ex. 19,, 35 n.12.                        known as Open Bidding ("OB"), was launched
                                                        in February 2018 and was Google's server-
                                                        side alternative to Header Bidding.").




                                                   30
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 31 of 134 PageID #:
                                             47299
                                    ** FILED UNDER SEAL **

,    Google's Statement                                  Plaintiff States' Response 1

68   Open Bidding enabled third-party ad                 Disputed. See Ex. 159, GOOG-DOJ-
     exchanges to compete with each other and            13899823, at -824 ("Developed to protect
     with buyers on AdX in a real-time auction. Ex.      AdX revenue (      ) and DFP platform from
     8,, 476; Ex. 185 at 174:4-16 ("But from a           the rise of Header Bidding- an imperfect
     demand perspective, there could be multiple         solution for Publishers ... EB was developed as
     different DSPs or ad networks competing into        a defensive play to protect Google's AdX
     - into open bidding, for example."); Ex. 19,,       business and really the DFP platform from
     35; Ex. 50 at -258 ("Exchange and Network           disintermediation by a new ad tech solution
     bidding is a product to allow pubs to put all of    called Header Bidding"); Ex. 156, GOOG-
     this demand - other exchanges, DSPs,                TEX-00116076 at -078 (suggesting that the
     networks - in competition with each other in        purpose of Open Bidding (OB) was to get
     real time which should drive auction pressure       visibility throughout the entire transaction and
     for pubs and maximize their yield."); Ex. 136       get the data).
     at 203 :3-7 (


                                                  );
     Ex. 161 at 36:8-12 ("Exchange bidding is the
     former name for what is now known as open
     bidding, which is a Google product that allows
     multiple exchanges to compete for ad
     inventory."). Open Bidding allows publishers
     to invite third-party ad exchanges to submit
     bids with real-time prices. Ex. 19,, 35.
69   Open Bidding does not result in the same            Disputed. See Ex. 160, GOOG-TEX-
     latency that header bidding can create. Ex. 8,      00623823 at -826 (
     ,, 120,474 n.931; Ex. 19,, 36; Ex. 90 at -438                        ).
     (

                              ), id. at -441; Ex. 143
     at 234:20-235:9 ("I think just based on the
     structure compared to client-side header
     bidding, there was one less call, one less trip
     to the store. So physics would state that it is
     less latency."); Ex. 99 at -023 (Open Bidding
     "minimized latency").




                                                    31
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 32 of 134 PageID #:
                                            47300
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

70   Open Bidding provided publishers with             Disputed. See, Ex. 161, GOOG-TEX-
     benefits such as streamlined payments. Ex. 8,     00969653 at -707 (chart showing feature
     ,, 120,474 & n. 931; Ex. 19,, 40; Ex. 90 at -     comparison of Jedi (or Open Bidding) versus
     438 ("Easy to set up, view/analyze reports and    Header Bidding).
     unified payments" and "[p]rovides integrated
     reporting and billing for exchange bidding
     transactions won by 3rd party exchanges"), id.
     at -441.




71   Open Bidding also provided greater security.      Disputed, including the cited sources which do
     Ex. 96 at -267 ("Open Bidding is designed         not support the asserted statement. Davis Ex.
     with security in mind[.] Open Bidding is          32, Shafiq Rebuttal Rep. at 14-15 ,, 34-36
     subject to the same data protections and          ("Header Bidding does not present any unique
     security of other Google ad products."); Ex. 99   privacy concerns as compared to Google's
     at -023 (Open Bidding had "virtually no setup     Open Bidding .... For example, just like
     cost or operational complexity" for publishers,   Header Bidding, Google's Open Bidding
     offered "integrated reporting with no             shares user information such as a user's cookie
     discrepancy between what buyers pay and           ID, the latitude and longitude of a user's
     what they bid," and brings "guaranteed net 30     location, and the URL of the page with
     day payments to publishers").                     bidders .... Therefore, I conclude that, in terms
                                                       of privacy, there is no difference between
                                                       Header Bidding and Google's Open
                                                       Bidding."); Ex. 150, Casale Testimony,
                                                       9/9/2024 A.M. DOJ Tr. 157:4-9 ("I
                                                       completely disagree with header bidding being
                                                       more risky [regarding malware or ad fraud] ...
                                                       It's the same equivalence. Whether we were
                                                       rendering an ad in the waterfall or whether we
                                                       were rendering an ad through header bidding,
                                                       we were rendering an ad on the publisher's
                                                       website. They're fundamentally equivalent
                                                       once the ad server renders the ad.").




                                                  32
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                  Page 33 of 134 PageID #:
                                            47301
                                   ** FILED UNDER SEAL **

,    Google's Statement                                   Plaintiff States' Response 1

72   Open Bidding further provided simpler                Disputed. See Ex. 162, GOOG-DOJ-AT-
     configuration. Ex. 8, ,, 120,474; Ex. 90 at -        01027937 at -946 (header bidding wrappers
     438 ("Increase publisher yield from                  reduced both latency and operational
     programmatic demand sources at scale with            complexity); Ex. 161, GOOG-TEX-00969653
     little to no code changes").                         at -707 (chart showing feature comparison of
                                                          Jedi (or Open Bidding) versus Header
                                                          Bidding).




73   Publishers can, and do, use Open Bidding in    Disputed to the extent that Google actively
     combination with header bidding. Ex. 6, , 146; discouraged the use of header bidding in
     Ex. 8,, 120; Ex. 133 at 127:10-13 (            combination with Open Bidding, including
                                                    informing publishers of purported risks of
                                                    header bidding, restricting use of line items,
          ); Ex. 175 at 18:2-7 (                    and redacting key publisher data fields. See
                                                    Davis Ex. 52, Gans Opening Rep. at 218-237
                                                    ,, 634-701.



               ); Ex. 193 at 66:14-19 (

                                          ).
74   Google invested significant resources in the         Disputed. See Ex. 163, Levitte (Google)
     Open Bidding product as it determined that           Deposition Tr. 53 :7-13 (affirming that he
     Open Bidding provided value for Google's             wrote that Google's "[header bidding]
     publisher customers. Ex. 19,, 41; Ex. 113 at -       alternative" is "more favorable to Google ...
     793-94, -805 (                                       as defence against [the] long-term threat posed
                                                          by [header bidding]."); Ex. 147, GOOG-TEX-
                                                          00120719 at -721 (




                                                                                                           );
                                                          Ex. 164, GOOG-TEX-00000478 at -480
                                                          (describing as "the holy grail.. .... [sic]the
                                                          impact of [Exchange Bidding] on the
                                                          reduction of [header bidding]").




                                                     33
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 34 of 134 PageID #:
                                            47302
                                   ** FILED UNDER SEAL **

,    Google's Statement                                 Plaintiff States' Response 1

75   By 2019, publishers had a multitude of             Disputed, Google's conduct actively worked
     pathways through which they could sell their       to prevent publisher bidding on non-Google ad
     inventory: direct deals, real-time bidding on ad   exchanges and the use of header bidding. See
     exchanges, header bidding, and Open Bidding.       Davis Ex. 52, Gans Opening Rep. at 158-237
     Ex. 19, ,, 8, 11-12, 23-24, 35-37.                 ,, 458-701
76   The various auction formats (e.g., first-price     Disputed, as to header bidding which
     auctions versus second-price auctions) through     generally led to a more competitive auction
     which the same publisher inventory could be        and benefits for publishers and advertisers.
     sold created inefficiencies for an "auction of     See Ex. 128,
     auctions" in which bids from different
     exchanges could compete against each other.
     Ex. 8,, 121 ("Heterogenity in the auction
     formats used by exchanges during this period
     complicated the implementation of header
     bidding and Open Bidding, both of which
     combine the results of auctions on different
     exchanges that may use different auction rules
     to sell the same impressions. One unfortunate
     result of this 'auction of auctions' process is
     that the bidder with the highest bid did not
     necessarily win the impression."); Ex. 81 at -
     260-65 (2019 Google presentation depicting
     multiple ways the complex bidding landscape
     produced inefficient outcomes).




77   For example, GAM operated a multi-stage            Disputed to the extent that the statement does
     auction process, with an initial second-price      not reflect the cited source and asserts matters
     auction among Google Ads, DV360, and               not in the cited source and to the extent the
     Authorized Buyers ("the AdX auction") and a        statement does not provide a relevant time
     subsequent first-price auction that included the   period and makes general unsupported
     AdX winner and buyers participating in the         statements ("typically").
     Open Bidding auction. Ex. 19, , 37. The
     winner from the second-price AdX auction
     would compete against Open Bidders based on
     the AdX winning price (which was typically




                                                   34
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                Page 35 of 134 PageID #:
                                            47303
                                   ** FILED UNDER SEAL **

,    Google's Statement                                   Plaintiff States' Response 1

     lower than the highest bid due to the second-
     price format). Id.,,, 11, 37.




78   This process was inefficient and could result        Disputed, as to header bidding which
     in a situation where the final auction winner        generally led to a more competitive auction
     might not be the bidder with the highest bid         and benefits for publishers and advertisers.
     for an impression. Ex. 8,, 121 ("One                 See Ex. 128,
     unfortunate result of this 'auction of auctions'
     process is that the bidder with the highest bid
     did not necessarily win the impression."). This
     scenario would occur if, for example, the
     winning bid from a frrst-price Open Bidding
     bidder was lower than the AdX winner's bid
     but higher than the AdX winning price (which
     was the higher of the second-highest AdX bid
     and the AdX reserve price). Ex. 81 at -263
     (illustrating this scenario); Ex. 55 at -912
     ("This two-stage auction does not guarantee
     the highest bid to win the auction.").




                                                                  .




                                                     35
    Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 36 of 134 PageID #:
                                               47304
                                      ** FILED UNDER SEAL **


~      Google's Statement                                  Plaintiff States' Response 1

79     The complexity of the multi-stage, multi-           Disputed to the extent that Google's statement
       auction system also posed difficulties for          omits key context as to how Google used
       advertisers and publishers. Advertisers             inefficiencies to advantage AdX over other
       "struggle[d] to optimize when bidding across        exchanges and held off on moving to a unified
       different channels due to lack of symmetry"         first price auction because it was able to
       because "different auction rules and different      implement a last look advantage over third-
       floor prices can apply for the same                 party exchanges, until Google had developed
       impression." Ex. 55 at -915.                        an alternative way to retain its advantage. See
                                                           Ex. 165, GOOG-DOJ-AT-00292252 at -261
                                                           (




                             Ex. 69 at -974-75. In sum,
       the environment was "[n]ot efficient or                        ); Ex. 166, GOOG-DOJ-AT-
       sustainable." Id. at -975.                          00573309 at -310, ("Web publishers on the
                                                           other hand have started using header bidding
                                                           which allows them to pit AdX against 3PEs in
                                                           a 1P auction. This put AdX at a huge
                                                           disadvantage sine the clearing price from its
                                                           2P auction i.e., AdX runner up bid is
                                                           compared to the IP bids from 3PEs .So AdX
                                                           could lose to a 3PE bid even if AdX highest
                                                           bid was actually higher. To remove this
                                                           disadvantage 'last look' was implemented
                                                           which allowed AdX to look at the highest 3PE
                                                           bid and bid le."); Ex. 167, GOOG-AT-MDL-
                                                           001977826, at -833 (




                                                                 ).




                                                      36
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 37 of 134 PageID #:
                                            47305
                                   ** FILED UNDER SEAL **

,    Google's Statement                                 Plaintiff States' Response 1

80   In 2019, AdX transitioned to a unified first-      Disputed as to Google's characterization of the
     price auction ("UFPA"), which created a            auction and competition on participant bids,
     single-stage unified auction in which all          where participant bids are subject to the
     participants-including AdX bidders (Google         unified price floor required by Google. See
     Ads, DV360, and third-party Authorized             Ex. 102, GOOG-AT-MDL-008964888 at -888
     Buyers), header bidders, remnant line items,       ("The unified pricing rules will only allow a
     and non-Google exchanges using Open                single floor to be set across all exchanges ...
     Bidding-compete based on their bids, net of        They will not be able to set exchange specific
     any fees. Ex. 7,, 501; Ex. 8, ,, 122,491; Ex.      floors, since there will be a single unified
     19, ,, 53, 55.                                     floor"); Ex. 168, GOOG-DOJ-AT-00569648
                                                        at -649 ("We could keep all the current floor-
                                                        pricing options and move to first-price auction
                                                        and this would have achieved most of what we
                                                        desperately need to fix our ecosystem.
                                                        However, Adx team wanted to use this
                                                        migration as an opportunity to significantly
                                                        limit the ability of publishers to set floor-
                                                        prices per buyers (which is a good goal to
                                                        have"); Ex. 169, GOOG-NE-10660658 at -658
                                                        (Google acknowledges that it could just move
                                                        "to a 1st Price auction, but we'd need to
                                                        remove some floor control to achieve the
                                                        primary objective -- if not, pubs could set
                                                        different floors for AdX, EB, HB, etc, which
                                                        we're looking to move away from.").
81   In the UFP A, the highest bidder wins and pays     Undisputed.
     a price equal to its bid. Ex. 8, ,, 122,491; Ex.
     19,, 55. The reserve price is not set by the bid
     of any bidder in the auction. Ex. 55 at -913
     ("No competing offers will set the price paid
     by another buyer, and the highest offer will
     win the auction (This mean[s] that we are
     removing 'last look' for AdX)."); Ex. 6,, 161
     n.234 ("Last Look advantage was removed in
     2019 during the implementation of Unified
     Pricing Rules and AdX' s switch to the first-
     price auction format.").




                                                   37
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24                 Page 38 of 134 PageID #:
                                             47306
                                    ** FILED UNDER SEAL **

,    Google's Statement                                     Plaintiff States' Response 1

82   The switch to UFPA brought GAM in line                 Disputed, other ad exchanges had first price
     with other ad exchanges, most of which had             auctions, but not UFPA. See Ex. 170, GOOG-
     already begun shifting to first-price auctions.        NE-13603380 at -380 (Google addresses
     Ex. 162 at 96:8-97:1.                                  whether UFPA (UPR) will prevent DBM from
                                                            buying from other exchanges.



                                                                ); Ex. 168, GOOG-DOJ-AT-00569648
                                                       at -649 ("We could keep all the current floor-
                                                       pricing options and move to first-price auction
                                                       and this would have achieved most of what we
                                                       desperately need to fix our ecosystem.
                                                       However, Adx team wanted to use this
                                                       migration as an opportunity to significantly
                                                       limit the ability of publishers to set floor-
                                                       prices per buyers (which is a good goal to
                                                       have"); Ex. 169, GOOG-NE-10660658 at -658
                                                       (Google acknowledges that it could just move
                                                       "to a 1st Price auction, but we'd need to
                                                       remove some floor control to achieve the
                                                       primary objective -- if not, pubs could set
                                                       different floors for AdX, EB, HB, etc, which
                                                       we're looking to move away from.").
83   Today, most ad exchanges are first-price          Undisputed as to the general proposition that
     auctions. Ex. 68 at -364 ("Industry standard/     ad exchanges have adopted first-price
     simplicity - most other auctions are partially or auctions.
     completely lP").

84   Plaintiffs allege four distinct web display            Undisputed as to what is alleged in Plaintiffs'
     advertising markets: publisher ad servers, ad          live complaint and that Plaintiffs allege and
     exchanges, ad buying tools for small                   have defined through their expert four distinct
     advertisers, and ad buying tools for large             and relevant product markets in the relevant
     advertisers. Fourth Am. Compl., 92, In re              geographic market of the United States: (1) the
     Google Digit. Advert. Antitrust Litig., No.            market for publisher ad servers used for the
     1:21-md-3010-PKC (S.D.N.Y. May 5, 2023),               sale of open web display advertising
     ECF No. 541 (hereinafter "F AC"). Plaintiffs           inventory, (2) the market for ad exchanges for
     allege that ad servers for web display                 transacting indirect open web display
     inventory ("publisher ad servers") in the              advertising, (3) the market for ad buying tools
     United States constitute a relevant antitrust          for small advertisers for buying open web
     product market. FAC, 93. As alleged, ad                display advertising space and, (4) the market
     servers are used by publishers to manage and           for ad buying tools for large advertisers. See
     sell their web display ad inventory through            Davis Ex. 53, Gans Rebuttal Rep. 6-7, 7.
     direct and indirect sales channels. Id.


                                                       38
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 39 of 134 PageID #:
                                            47307
                                   ** FILED UNDER SEAL **

,    Google's Statement                                 Plaintiff States' Response 1

85   Plaintiffs allege that ad exchanges for web        Undisputed as to what is alleged in Plaintiffs'
     display inventory ("ad exchanges") in the          live complaint.
     United States constitute a relevant antitrust
     product market. FAC, 128. As alleged, ad
     exchanges are real time auction marketplaces
     that match publishers' web display
     impressions with bids from purchasers. Id.
86   Plaintiffs allege that web display buying tools    Undisputed as to what is alleged in Plaintiffs'
     for small advertisers ("ad buying tools for        live complaint.
     small advertisers") in the United States
     constitute a relevant antitrust market. FAC ,
     163. As alleged, these tools provide a web
     interface for advertisers to use to effectuate
     bidding on and purchasing open web display
     inventory across exchanges and networks. Id.
87   Plaintiffs allege that web display buying tools    Undisputed as to what is alleged in Plaintiffs'
     for large advertisers ("ad buying tools for        live complaint.
     large advertisers") in the United States
     constitute a relevant antitrust market. FAC ,
     196. As alleged, these tools provide an
     interface for large advertisers or their trading
     desks and ad agencies to bid on and purchase
     open web display ad inventory on exchanges
     and networks. Id.
88   Dynamic Allocation ("DA") was a product            Disputed as to whether dynamic allocation
     innovation that DoubleClick launched in 2007,      was an "innovation" rather than a product
     before Google acquired the company in 2008.        feature. See Davis Ex. 52, Gans Opening
     Ex. 3,, 552; Ex. 4, ,, 14, 131; Ex. 6,, 104        Report at 192,552; Ex. 171, GOOG-AT-
     n.110 ("[DA] was introduced by DoubleClick         MDL-016988772 at -783-84 (companies "such
     prior to Google's purchase of the company.         as PubMatic" were already facilitating real-
     DoubleClick documentation from that time           time bidding).
     points to 2007 as the introduction of [DA].");
     Ex. 15 at 193:5-20; Ex. 31 ("2008-Dynamic
     Allocation ... pre doubleclick acquisition.");
     Ex. 25 at 11; Ex. 114 at -247-48.
89   When DA launched, ad exchanges were not            Disputed. See Ex. 171, GOOG-AT-MDL-
     competing against each other in real time. Ex.     016988772 at-783-84 (companies "such as
     15 at 194:22-25.                                   PubMatic" were already facilitating real-time
                                                        bidding before implementation of DA).




                                                   39
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 40 of 134 PageID #:
                                            47308
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

90   DA addressed a "natural shortcoming of the        Disputed. See Davis Ex. 2, Weinberg Opening
     waterfall format" to ensure publishers received   Rep. at 62,112 ("That is, the primary
     the highest possible expected yield for their     arguments supporting Dynamic Allocation
     inventory. Ex. 6,, 104; see also Ex. 3, ,, 553,   with only static line items as potentially
     555-57; Ex. 7,, 529; Ex. 8,, 261; Ex. 11,,        leading to higher revenue for publishers do not
     350 ("DA ... improved the allocation of           at all apply when line items are live."); Davis
     publishers impressions."); Ex. 47 at -151.        Ex. 52, Gans Opening Rep. at, 570 ("DA
                                                       enabled Google to override the Waterfall
                                                       hierarchy that often resulted in AdX ranking
                                                       lower than other exchanges."); Ex. 172,
                                                       GOOG-DOJ-14875108 at -108 (




                                                                                             ); Ex.
                                                       173, GOOG-NE-11 797719 at -724 (




                                                                                      ).


91   Following its acquisition of DoubleClick,         Disputed as to benefits for publishers and
     Google redesigned the AdX exchange to             advertisers in general, as the cited evidence
     further increase the benefits of online display   shows that Google incorporated real-time
     advertising auctions for publishers and           bidding for Google's AdX advertisers only,
     advertisers by incorporating real-time bidding,   meaning that advertisers overall did not
     which Google launched in 2009. Ex. 8, ,,          receive benefits. See Ex. 173, GOOG-NE-
     273-74; Ex. 34 at -318-19; Ex. 3,, 114            11 797719 at -724 (
     ("Google enabled real-time bidding on its ad-
     serving tech through a feature that was part of
     its DoubleClick acquisition.").



92   Google publicized DA when it launched the         Disputed, the cited source does not show that
     re-designed AdX in 2009. Ex. 25 at 11.            Google "publicized" DA and to what extent.




                                                  40
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24            Page 41 of 134 PageID #:
                                             47309
                                    ** FILED UNDER SEAL **

,    Google's Statement                                 Plaintiff States' Response 1

93   DA with real-time bidding benefitted               Disputed, as DA with real time bidding
     publishers by allowing publishers to get real-     advantaged Google by giving AdX a first look
     time bids from AdX and allocated each ad           and a last look at inventory, which Google
     impression offered for sale based on who was       acknowledged                        See Ex.
     expected to pay the most for it. Ex. 3, , 114      174, GOOG-TEX-00122345 at -349 (
     ("This feature, called Dynamic Allocation,                                           ); Ex. 175,
     allowed AdX to submit real-time bids for           GOOG-NE-06727162 at -162 (
     inventory sold on DFP"); Ex. 7,, 528; Ex. 8,
     ,, 261, 273-74, 279; Ex. 19,, 18; Ex. 47 at -                                                   .
     162.
94   DA provided a way for publishers to                Disputed, as the cited evidence shows only
     determine whether there were buyers bidding        that AdX would pay a higher price for a given
     through AdX that were willing to pay a higher      ad impression than the highest static price of
     price for a particular ad impression than the      remnant demand in the waterfall and other
     highest static price that the publisher expected   evidence shows that publishers frequently
     to receive from any other participant in the       ranked AdX lower in the waterfall. See Ex.
     waterfall. Ex. 16 at 103:11-18; Ex. 19,, 18;       172, GOOG-DOJ-14875108 at -108 (
     Ex. 158 at 369:17-371:5.




                                                                                             ).
95   Through DA, Google's publisher ad server,       Disputed. See Davis Ex. 52, Gans Opening
     DFP, established a reserve price for AdX        Rep. at 191,548, 194-95, 558 ("AdX was
     bidders to beat based on the highest price that afforded a right of first refusal on publisher's
     the publisher expected to receive from other    non-guaranteed inventory. This meant that
     buyers. Ex. 3,, 558; Ex. 19,, 18. AdX           AdX was offered the opportunity to submit a
     bidders could then submit real-time bids to try live bid on each impression; if AdX did not
     to beat this floor. Ex. 3,, 558; Ex. 19,, 18.   win the impression, only then was it offered to
     Plaintiffs refer to this first step in the DA   third-party exchanges in the Waterfall. ... DA,
     process-AdX assessing the impression to see both as first implemented by DoubleClick and
     if any AdX buyers were willing to pay more      later by Google's DFP, shared the highest net
     than the highest amount the publisher expected CPM value determined by the Waterfall
     to receive from other bidders-as "right of      process with AdX as a price floor to beat. AdX
     first refusal." Ex. 3,, 548.                    buyers then bid in real-time for the impression,
                                                     and if an AdX buyer could clear the price
                                                     floor, the buyer would win the impression over
                                                     the demand source selected by the Waterfall
                                                     process."); Ex. 171, GOOG-AT-MDL-
                                                     016988772 at-783-784 (companies "such as



                                                   41
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 42 of 134 PageID #:
                                             47310
                                    ** FILED UNDER SEAL **

,    Google's Statement                                   Plaintiff States' Response 1

                                                          PubMatic" were already facilitating real-time
                                                          bidding before implementation of DA).




96   These impressions were available first to            Undisputed as to a general description of DA
     eligible guaranteed line items, which are            but disputed that "DA would have no impact."
     higher priority line items used for campaigns        See Davis Ex. 52, Gans Opening Rep. at 197 ,
     for which the publisher and advertiser had a         569 ("DA allowed AdX, and only AdX, to
     direct deal. Ex. 4, , 59; Ex. 6, , 104.a; Ex. 8, ,   compete in real-time against all non-
     98; Ex. 19,, 20. Assuming that no guaranteed         guaranteed inventory ... ").
     line items were eligible for the impression, if
     an AdX bidder bid higher than the reserve
     price (which reflected the price of the best
     eligible remnant line item), the AdX bidder's
     ad would be served. Ex. 3, ,, 558, 562; Ex. 8,
     , 108; Ex. 19,, 20. Otherwise, the best
     eligible remnant line item won. Ex. 3,, 563;
     Ex. 8,, 108; Ex. 19,, 20. If no AdX buyer bid
     higher than the auction reserve price, the ad
     impression would be filled (if at all) by
     another buyer in the waterfall, and DA would
     have no impact on the sale. Ex. 3,, 563; Ex.
     47 at -159; Ex. 6,, 109; Ex. 7,, 529; Ex. 8, ,,
     108,269.




                                                    42
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 43 of 134 PageID #:
                                            47311
                                   ** FILED UNDER SEAL **

,    Google's Statement                                Plaintiff States' Response 1

97   As a result of DA, publishers earned increased    Disputed, as even the cited evidence indicates
     revenue. Ex. 15 at 194:17-21 ("Q. Did             that DA increased revenue for only "some
     Dynamic Allocation help publishers make           publishers," not all publishers, see Davis Ex.
     more money than they could make under the         51, Gans Dep. Tr. 194:17-21, and does not
     Waterfall? ... A. I believe that they did help    indicate that publishers were necessarily
     some publishers make more money than they         getting the highest price that all advertising
     could under the Waterfall.").                     demand sources might pay. See Ex. 173,
                                                       GOOG-NE-11 797719 at -724 (




                                                                            ); Davis Ex. 2, Weinberg
                                                       Opening Rep. at 81-82, ,144 ("The cream-
                                                       skimming effect reduces the value of direct
                                                       deals with publishers in the long run from the
                                                       perspective of advertisers. Hence, it
                                                       potentially leads to a negative impact on the
                                                       publisher revenue in the long run.").

98                                                     Disputed. See Davis Ex. 2, Weinberg Opening
             Ex. 48 at -499 (                          Rep. at 81-82, ,144 ("The cream-skimming
                                                       effect reduces the value of direct deals with
                         ).                            publishers in the long run from the perspective
                                                       of advertisers. Hence, it potentially leads to a
                                                       negative impact on the publisher revenue in
                                                       the long run.").




99   Google launched Enhanced Dynamic                  Undisputed, except incomplete in its
     Allocation ("EDA") on March 3, 2014, and          description of the Help Center announcement
     publicly announced the launch through its         which is only a paragraph with three
     Help Center, stating that its "ad servers now     sentences.
     optimize the distribution of Ad Exchange and
     AdSense impressions throughout goal-based
     line item delivery, without compromising
     reservation goals." Ex. 25 at 11; see also Ex.
     16 at 216:10-217:3; Ex. 19,, 31; Ex. 60 at-
     161, -163; Ex. 202 at 4.




                                                  43
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24                Page 44 of 134 PageID #:
                                              47312
                                     ** FILED UNDER SEAL **


1      Google's Statement                                Plaintiff States' Response 1

100    EDA enabled line items representing AdX and       Disputed as to the generation of "more
       other exchanges to compete simultaneously         revenue for the publisher" because some
       with line items representing guaranteed           publishers suffered harm because of EDA in
       demand (i.e., direct deals). Ex. 16 at 216:10-    the form of reduced click-through rates
       217:3; Ex. 19,131; Ex. 60 at -161. Or in other    because of low-quality demand. See Ex. 176,
       words, it allowed AdX and other exchanges to      GOOG-TEX-00107284 at -498 (
       transact impressions that otherwise would
       have been allocated to direct deals if doing so
       would generate more revenue for the
       publisher. Ex. 19, 130-31.
                                                                          ).
101    EDA also allowed remnant line items (such as      Undisputed, except cited source does not
       header bidding line items) to compete for         reference header bidding.
       inventory that previously would have been
       allocated to guaranteed line items. Ex. 19, 1
       31.
102    EDA still ensured that publishers met their       Disputed. EDA did not ensure that publishers
       obligations with respect to delivery of direct    met their obligations with respect to delivery
       deals. Ex. 16 at 218:6-17; Ex. 19, 1131-33;       of direct deals; instead, publishers expressed
       Ex. 60 at -161.                                   to Google their concerns about

                                                               See Ex. 177,




                                                                   .




                                                    44
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24                                    Page 45 of 134 PageID #:
                                              47313
                                     ** FILED UNDER SEAL **

,     Google's Statement                                   Plaintiff States' Response 1

103   EDA increased publisher revenue. Ex. 6, , 141        Disputed. The cited evidence states that
      ("As Enhanced Dynamic Allocation runs live           revenue increases were likely only in the short
      auctions for every impression, it will likely        run, but EDA "potentially leads to a negative
      create a revenue increase for the publishers in      impact on the publisher revenue in the long
      the short run.").                                    run." Davis Ex. 2, Weinberg Opening Rep.
                                                           (Ex. 6) at 79, 141, 81-82, 144. Also,
                                                           disputed to the extent that it ignores that some
                                                           publishers suffered harm because of EDA in
                                                           the form of reduced click-through rates
                                                           because of low-quality demand. See Ex. 176,
                                                           GOOG-TEX-00107284 at -498 (notes on
                                                           "EDA impact on CTR opt" indicate that
                                                             {CONFIDENTIAL INFORMATION REDACTED}
                                                           "       complained their CTR dropped,"
                                                                                                         and
                                                           "this was meaningful for          b/c they sell
                                                           on a CPC basis.").
104                                                        Disputed.
              Ex. 71 at -483 (

                                                                                            Ex. 178,
                ); Ex. 60 at -164 (                        GOOG-NE-13196814 at-845. The purported
                                                           revenue increase estimated by Google in Ex.
                           ).                              75 are based on numbers from "premium
                                                           publishers," because "Google is less accurate
                                                           for SB publishers, in particular." See Google
           Ex. 75 at -759 (                                Ex. 75, GOOG-DOJ-13208758 at -759; see
                                                           also Google Ex. 60, GOOG-DOJ-06885161 at
                                                                                                                     {CONFIDENTIAL INFORMATION REDACTED}
                     ).                                    -161 (
                                                          {CONFIDENTIAL INFORMATION REDACTED}
                                                                           ).

105   A publisher could configure DFP to have AdX          Disputed. See Ex. 179, GOOG-AT-MDL-
      compete at a static price, such that it would not    019508860 at -866 ("Google does not provide
      compete with a real-time bid via DA. Ex. 19,,        a 'toggle' control within the Ad Manager
      22.                                                  interface to turn off Enhanced Dynamic
                                                           Allocation. However, publishers are able to
                                                           effectively disable Enhanced Dynamic
                                                           Allocation using the 'workaround' method ....
                                                           This method is not officially promoted or
                                                           endorsed by Google, but is technically
                                                           possible.").




                                                    45
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24            Page 46 of 134 PageID #:
                                             47314
                                    ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

106   DA could be used to put real-time bids from       Undisputed.
      AdX in competition with remnant line items,
      including those which reflected header bidding
      bids. Ex. 19, ,, 26-27.
107   Because AdX was called after the call to ad       Disputed, last look was intentional and a
      exchanges that participated in header bidding,    choice by Google. See Ex. 180, GOOG-DOJ-
      AdX had what Plaintiffs characterize as a "last   14024199 at -201-203 ("Exchange Bidding
      look" at ad inventory. Ex. 2,, 133; Ex. 3,,       SSPs may win more impressions, but
      548; Ex. 15 at 196:22-197:8; Ex. 16 at 134:14-    publisher payout will be substantially the
      135:14; Ex. 19,, 29. "Last look" was not a        same .... Example ... AdX highest bid - $5 ...
      design choice by Google, but rather a result of   AdX second bid- $2 ... SSP - 4$ ... Result:
      the interaction between header bidding and        AdX wins at $4.01 ... We position this as an
      DA. Ex. 19,, 29; Ex. 15 at 197:9-15 ("Q. Was      improvement on how D:ynamic Allocation
      Last Look a product feature that Google           works ... Please do not communicate
      designed? ... A. No, Last Look was a -- a -- a    proactively to publishers ... ") (emphasis in
      constraint that arose out of the way Dynamic      original); Ex. 181, GOOG-TEX-00094890 at -
      Allocation was set up and Google's choices        890 (showing that under EBDA, bidders had a
      with regard to which exchange got the Last        "last look" along side AdX.); Ex. 180, GOOG-
      Look."). Without header bidding, there would      DOJ-14024199 at -200 (positioning last look
      be no "last look." Ex. 15 at 197:24-198:4 ("Q.    as a result of how DA is run; also noting that
      If there had been no Header Bidding, could        the initial design of EBDA worked almost like
      there have been a Last Look? A. I think in        HB did when used in DFP); Ex. 166, GOOG-
      terms of the competitive consequences of Last     DOJ-AT-00573309 at -310 ("Web publishers
      Look, it wouldn't have been an issue if there     on the other hand have started using header
      had been no Header Bidding.").                    bidding which allows them to pit AdX against
                                                        3PEs in a IP auction. This put AdX at a huge
                                                        disadvantage since the clearing price from its
                                                        2P auction i.e., AdX runner up bid is
                                                        compared to the IP bids from 3PEs.So AdX
                                                        could lose to a 3PE bid even if AdX highest
                                                        bid was actually higher. To remove this
                                                        disadvantage 'last look' was implemented
                                                        which allowed AdX to look at the highest 3PE
                                                        bid[.]"); Ex. 165, GOOG-DOJ-AT-00292252
                                                        at -258 (noting AdX competed through last
                                                        look).
108   As part of the transition to a Unified First      Undisputed as to the effective removal of last
      Price Auction in 2019, described supra,, 80-      look from EDA. Heinz Ex. 19, Hochstetler
      81, Google removed what Plaintiffs refer to as    Opening Rep. at 83 , 156.
      AdX's "last look." Ex. 8, ,, 122, 491.




                                                   46
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                Page 47 of 134 PageID #:
                                             47315
                                    ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

109   Prior to 2013, and the adoption of Project          Disputed that this statement is always true. See
      Bemanke, Google Ads submitted two bids on           Ex. 182, GOOG-AT-MDL-B-003716241
      behalf of its advertisers in each AdX auction,      (GDN submits 2 bids, for the most part but not
      with those bids equal to the two highest values     always).
      for the impression among its advertisers,
      adjusted for Google Ads' revenue share. Ex. 8,
      , 126.a; Ex. 165 at 176:8-16 (

                                   ).
110   Project Bemanke, launched in 2013, was a            Disputed. See Ex. 61, GOOG-DOJ-14161943
      Google Ads bid optimization that operated           (Publishers, particularly small ones, may see
      before the top two bids from Google Ads             losses above 10%); Ex. 183, GOOG-AT-
      advertisers were submitted to AdX. Ex. 6, ,         MDL-B-002514119 {CONFIDENTIAL INFORMATION REDACTED}
      234 ("Under Project Bemanke ... GDN
      manipulated advertisers' bids before sending
      them to AdX."); Ex. 80 at -175 (
                                                          {CONFIDENTIAL INFORMATION REDACTED}); Ex.
                                                          184, GOOG-AT-MDL-B-002514153 at -154
                                                          {CONFIDENTIAL INFORMATION REDACTED}
                                                                              ; Davis Ex. 53, Gans
                                                          Rebuttal Rep. at 149,397 ("It should be noted
                           ); Ex. 152 at 41:9-11          how striking the self-imposed Google
      (                                                   constraint of 'maintaining a fixed revenue
                                                          share' is.").

                     ).
111   Project Bemanke was designed to help Google         Disputed. See Ex. 104, GOOG-AT-MDL-
      Ads' customers win more impressions. Ex. 3,         004 555192 at -194 (Bemanke causes net
      , 73 8 ("Google developed Bemanke so that           payers and net takers among the buyers); Ex.
      GDN could clear more impressions on                 137, GOOG-AT-MDL-B-002088137 at -139
      AdX[.]"); Ex. 4,, 218 ("Project Bemanke is          (Bemanke "[paid] extra to the publisher and
      an internal Google program within Google            let the advertiser win" on a random set of
      Ads designed to adjust advertiser bids to           queries).
      increase the numbers of auctions won by
      Google Ads[.]"); Ex. 15 at 219:13-18, 219:24-
      220:5; Ex. 16 at 182:8-13; Ex. 8,, 138.




                                                     47
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                   Page 48 of 134 PageID #:
                                             47316
                                    ** FILED UNDER SEAL **

,     Google's Statement                                    Plaintiff States' Response 1

112   Under Project Bemanke, Google Ads ran an              Disputed, including as to
      internal auction to determine its top two bids                           See Ex. 185, GOOG-AT-
      from Google Ads advertisers. Ex. 3,, 727.             MDL-001386659 at -666 ("GDN is the only
                                                            buyer submitting two bids to AdX." "Raise
                                                            first bid to maintain 14% margin per web
                                                            property" "Can increase first bid 2x-3x if
                                                            dropping second bid!"); Ex. 186, GOOG-AT-
                                                            MDL-B-002760309 {CONFIDENTIAL INFORMATION REDACTED}


                                         Ex. 3, ,,
      727-28.


                                                                    ).

113                                                         Disputed. See Ex. 187, GOOG-TEX-
                                                            00309958 at -971 (Using an optimization to
                                               e            fill impressions that would have otherwise
                                                            remained unfilled "can result in less revenue
                                                            for the publisher, because we don't take into
                                                            account the opportunity cost from serving
                                          Ex. 3, ,,         unfilled impressions elsewhere").
      728, 738; Ex. 8, ,, 138-39.



114                                                         Undisputed




                                                       48
    Case 4:20-cv-00957-SDJ            Document 738-1 Filed 12/30/24                 Page 49 of 134 PageID #:
                                                  47317
                                         ** FILED UNDER SEAL **


1      Google's Statement                                         Plaintiff States' Response 1

115    Project Bemanke enabled Google Ads to                      Disputed. See Ex. 104, GOOG-AT-MDL-
       submit these optimized bids into the AdX                   004 555192 at -194 (Bemanke causes net
       auction by allowing Google Ads to vary the                 payers and net takers among the buyers).
       margin (revenue share) it could take on a per-
       impression basis-i.e., decreasing the Google
       Ads margin on impressions it expected to be in
       higher demand and increasing its margin on
       other impressions-while holding the
       aggregate Google Ads margin constant. Ex. 3,
       1722; Ex. 8, 11 138-39. By constraining
       Bemanke to maintain Google Ads' same
       overall fee across impressions, Google Ads
       assured that the savings from increasing its
       margin in some auctions (when it paid a lower
       price in less competitive auctions) equaled the
       impact of lowering its margin in others (when
       it increased its top bid to win more
       competitive auctions), such that the two
       margin adjustments balanced out and Google
       Ads did not increase its overall fee. Ex. 6, 1
       233; Ex. 165 at 195:22-196:13, 204:6-18,
       204:20-205:12, 210:15-211 :5.
116    Project Bemanke increased Google Ads                       Disputed. See Ex. 61, GOOG-DOJ-14161943
       advertisers' win rate in the AdX auction                   (Publishers, particularly small ones, may see
       without charging advertisers more than they                losses             ); Ex. 184, GOOG-AT-
       would have paid to win the auction absent                  MDL-B-002514153 at -154 (
       Project Bemanke. Ex. 37 at -856 (                          {CONFIDENTIAL INFORMATION REDACTED}
                                                                           ); Ex. 104, GOOG-AT-MDL-
                                                                  004 555192 at -194 (Bemanke causes net
                                                                  payers and net takers among the buyers).

                                    ); Ex. 93 at -155
       (


                 ), id. at -156 (
                                                        );
       Ex. 152 at 38:8-16 (




                ).



                                                             49
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 50 of 134 PageID #:
                                              47318
                                     ** FILED UNDER SEAL **


~      Google's Statement                                 Plaintiff States' Response 1

117    In the instances when Project Bernanke             Disputed. See Ex. 104, GOOG-AT-MDL-
       enabled Google Ads to win because it               004 555192 at -194 (Bernanke causes net
       increased the top bid that Google Ads              payers and net takers among the buyers).
       submitted into the AdX auction, it did so to
       help the Ads bid submitted to AdX auction, it
       charged advertisers their first price but

                              ); Ex. 83 at -424 (same).
       But Project Bernanke did not allow Google
       Ads to charge the advertiser more than its
       original bid (i.e., it did not charge the amount
       of the increased bid); instead, Google Ads
       would take a negative expected margin in
       order to enable the advertiser to win the
       impression. Ex. 4, ~ 222 ("[W]hen Google Ads
       bids were not high enough to win an auction,
       Bernanke could inflate advertiser bids to win
       the auction while only charging the advertisers
       the lower cost of their original bid."); Ex. 165
       at 205:16-210:13.




                                                     50
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24            Page 51 of 134 PageID #:
                                            47319
                                   ** FILED UNDER SEAL **

,     Google's Statement                               Plaintiff States' Response 1

118   In the instances when Project Bernanke           Disputed. See Ex. 137, GOOG-AT-MDL-B-
      enabled Google Ads to win at a lower AdX         002088137 at -139 (Bernanke could cause
      clearing price because it decreased the second   advertisers to pay frrst price).
      bid that Google Ads submitted into the AdX
      auction (i.e., when Google Ads would have
      second-priced itself in the AdX auction), the
      winning advertiser was charged the original
      value of the second highest Google Ads bid.
      Ex. 3, , 741 (explaining in this scenario "the
      GDN advertiser pays the original second
      price"). The winning advertiser was charged
      this value not because of Project Bernanke but
      because a winning Google Ads advertiser had,
      both prior to and with Project Bernanke, been
      charged "



                                " Ex. 24,, 6
      (emphasis added); Ex. 93 at -157 (


                                                 );
      Ex. 152 at 45:5-16 (




                ).




                                                  51
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 52 of 134 PageID #:
                                              47320
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

119                                                       Disputed. See Ex. 188, GOOG-DOJ-14882535
                                                          (GDN won         of matched desktop queries
                                                          and       of mobile queries in 2015); Ex. 189,
                                              . Ex. 3,    GOOG-DOJ-AT-00511017 at -017, 018
      , 728; Ex. 57 at -359; Ex. 16 at 183 :7-17 ("Q.     (Opted in Ad.X buyers can receive bid
      With Project Bemanke, you describe in your          information about the other bids in auctions
      report                                              they participated in); Ex. 190, GOOG-DOJ-
                                                          15603182 at -185 (GDN bids were not
                                                          available).


                                     ); Ex. 80 at -176
      (



                                    ).
120                                                       Disputed. See Ex. 189, GOOG-DOJ-AT-
                                                          00511017 at -017, 018 (Opted in AdX buyers
                                                    s     can receive bid information about the other
               . Ex. 57 at 359.                           bids in auctions they participated in); Ex. 190,
                                                          GOOG-DOJ-15603182 at-185 (GDN bids
                                                          were not available); Ex. 132, GOOG-AT-
                                                          MDL-019653406 at -416 (Google ran
                                                          GDN experiments per quarter); Davis Ex. 41,
                                                          Rudin Rebuttal Rep. ,, 110-117 ("Google
                                                          had distinct data advantages compared to
                                                          individual buyers and sellers, which benefited
                                                          its ML models for valuations, predictions of
                                                          competitors' bids, and floor optimization.").
121   Project Bemanke did not change the rules by         Disputed. See Ex. 137, GOOG-AT-MDL-B-
      which Ad.X declared the winner and the              002088137 at -139 (Bemanke could cause
      clearing price in a given auction. The highest      advertisers to pay fust price).
      bid (whether or not it was a Google Ads bid
      effectively increased by Project Bemanke) still
      won the auction, and the clearing price was
      still the higher of the effective reserve price
      and the second-highest bid (whether or not it
      was a Google Ads bid effectively increased or
      decreased by Project Bemanke). Ex. 57 at
      360-61; Ex. 152 at 41 :9-11 (


                                         ).


                                                     52
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                    Page 53 of 134 PageID #:
                                             47321
                                    ** FILED UNDER SEAL **


1     Google's Statement                                    Plaintiff States' Response 1

122   Project Bemanke expanded output by helping            Disputed. See Ex. 191, GOOG-NE-11902954
      Google Ads advertisers buy more impressions           at -966 ("First AdX bid is between 1-4x GDN
      that, without Project Bemanke, would not              first bid = helps GDN overcome floors and
      have been sold at all due to high publisher           reserve prices, and beat out AdX Buyers");
      reserve prices. Ex. 3, 1 73 8 ("Google                Ex. 61, GOOG-DOJ-14161943 (Publishers,
      developed Bemanke so that GDN could clear             particularly small ones, may see losses
      more ... impressions that GDN would                         ); Ex. 184, GOOG-AT-MDL-B-
      otherwise have lost due to high publisher floor       002514153 at -154 {CONFIDENTIAL INFORMATION REDACTED}
      prices."); Ex. 8, 1138; Ex. 15 at 221:7-11            {CONFIDENTIAL INFORMATION REDACTED}; Ex.
      ("[Q.] [D]oes Bemanke expand the output of            104, GOOG-AT-MDL-004555192 at-194
      transactions? ... A. Yes"); Ex. 17 at 135:24-         (Bemanke causes net payers and net takers
      136:4 ("Q. Under Project Bemanke Google               among the buyers).
      expanded the number of auction wins in AdX
      by allowing Google Ads buyers to purchase
      otherwise unsold impressions; correct? ... A.
      It did that, but a lot more, yes.").
123                                                         Disputed as to the impact prior and after the
                                                            implementation of Project Bemanke and the
                                     Ex. 80 at -175.        omission of legitimate reasons why publishers
                                                            may have set high publisher reserve prices.
                                                            See Davis Ex. 52, Gans Opening Rep. 248 1
                                                            739 ("However, if clearing
                                                            previously high floors was the only impact of
                                                            Bemanke, I would expect to see increased
                                                            transactions in AdX for GDN and little change
                                                            for other AdX buyers. However, the main
                                                            impact of the program is that GDN
                                                            transactions increase while other AdX buyer
                                                            matches decrease after launch.").
124                                                         Disputed. See Ex. 186, GOOG-AT-MDL-B-
                                                                         {CONFIDENTIAL INFORMATION REDACTED}




               See Ex. 80 at -177.                          {CONFIDENTIAL INFORMATION REDACTED}
                                                                                             ); Ex. 61,
                                                            GOOG-DOJ-14161943 (Publishers,
                                                            particularly small ones, may see losses
                                                                 ).




                                                       53
    Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                  Page 54 of 134 PageID #:
                                               47322
                                      ** FILED UNDER SEAL **


~      Google's Statement                                   Plaintiff States' Response 1

125    Project Bemanke benefited advertisers and            Disputed. See Ex. 61, GOOG-DOJ-14161943
       publishers. Ex. 15 at 226:17-20; Ex. 107 at -        (Publishers, particularly small ones, may see
       569, -573 .                                          losses             ); Ex. 104, GOOG-AT-
                                                            MDL-004555192 at -194,195 (Bemanke
                                                            causes net payers and net takers among the
                                                            buyers); Ex. 183, GOOG-AT-MDL-B-
                                                            002514119 ("{CONFIDENTIAL INFORMATION REDACTED}
                       Ex. 93 at -167; see also Ex.         {CONFIDENTIAL INFORMATION REDACTED}
       15 at230:17-231:9.                                   {CONFIDENTIAL INFORMATION REDACTED}

                                                                                                       .
126                                                         Disputed. See Ex. 191, GOOG-NE-11902954
                                                            at -966 ("First AdX bid is between 1-4x GDN
                                                            first bid = helps GDN overcome floors and
                                                            reserve prices, and beat out AdX Buyers");
                                   Ex. 15 at 224:21-        Ex. 61, GOOG-DOJ-14161943 (Publishers,
       226:20; Ex. 107 at -573 (                            particularly small ones, may see losses
                                              ).                  ); Ex. 184, GOOG-AT-MDL-B-
                                                            002514153 at -154 {CONFIDENTIAL INFORMATION REDACTED}
                                                                                                       ); Ex.
                                                            104, GOOG-AT-MDL-004555192 at-194
                                                            (Bemanke causes net payers and net takers
                                                            among the buyers).
127    By helping advertisers win more impressions,         Disputed. See Ex. 191, GOOG-NE-11902954
       Project Bemanke increased advertiser click           at -966 ("First AdX bid is between 1-4x GDN
       and conversion volume as well. Ex. 87 at -787        first bid = helps GDN overcome floors and
       (                                                    reserve prices, and beat out AdX Buyers");
                                                            Ex. 61, GOOG-DOJ-14161943 (Publishers,
                                                            particularly small ones, may see losses
                                                                  ); Ex. 184, GOOG-AT-MDL-B-
                                                            002514153 at -154 ({CONFIDENTIAL INFORMATION REDACTED}
                                                                                                       ); Ex.
                                             ).             104, GOOG-AT-MDL-004555192 at-194
                                                            (Bemanke causes net payers and net takers
                                                            among the buyers).




                                                       54
 Case 4:20-cv-00957-SDJ            Document 738-1 Filed 12/30/24                   Page 55 of 134 PageID #:
                                               47323
                                      ** FILED UNDER SEAL **

,     Google's Statement                                      Plaintiff States' Response 1

128   Project Bemanke benefited GAM publishers                Disputed. See Ex. 61, GOOG-DOJ-14161943
      by increasing match rates and revenue. Ex. 15           (Publishers, particularly small ones, may see
      at 230:17-232:11; Ex. 93 at -161; Ex. 87 at -           losses             ); Ex. 104, GOOG-AT-
      787; Ex. 151 at 115:15-25 (                             MDL-004555192 at -194 (Bemanke causes
                                                              net payers and net takers among the buyers);
                                                                                                         {CONFIDENTIAL INFORMATION REDACTED}
                                                              Ex. 183, GOOG-AT-MDL-B-002514119 (


                             ); Ex. 151 at 291:13-21          {CONFIDENTIAL INFORMATION REDACTED}

                                                                              ).

                ).
129   Google launched another version ofBemanke               Undisputed.
      in August 2015, called Global Bemanke. Ex.
      8,, 140.
130   Global Bemanke varied from Project                      Disputed. See Ex. 104, GOOG-AT-MDL-
      Bemanke algorithmically, and increased the              004 555192 at -194 (Bemanke causes net
      value of impressions won by Google Ads                  payers and net takers among the buyers).
      advertisers further by allowing the revenue
      share collected by Google Ads to vary across
      different publisher inventory. Ex. 3, , 724
      (



                  ); Ex. 8, ,, 126.c, 140; Ex. 91 at -
      938 (


                                             ); Ex. 92
      at -894 (



           ). Global Bemanke also varied in that it
      performed the same optimization but targeted
      an average revenue share across all publishers,
      whereas the earlier version of Bemanke varied
      the Google Ads revenue share with the aim of
      maintaining the same average revenue share
      for each publisher. Ex. 8, ,, 126.c, 140.




                                                         55
  Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24                 Page 56 of 134 PageID #:
                                               47324
                                      ** FILED UNDER SEAL **

,     Google's Statement                                   Plaintiff States' Response 1

131   In 2016, Google changed how winning                Undisputed to the extent consistent with
      advertisers in Google Ads were charged for         Google's representations in its summary
      impressions by adopting a "threshold payment judgment motion that it only applied to
      rule." Ex. 8,, 143; Ex. 18 at 259:8-23. A          autobidding advertisers.
      threshold payment rule charges the winner the
      minimum bid necessary, in retrospect, to have
      won the auction. Ex. 18 at 259:8-23 ("[A]
      threshold payment rule refers to the fact that a
      bidder is paying their minimum bid to
      win[.]"). Because it does not depend on the
      value of the winning bidder's bid, it is "bidder
      truthful," such that a bidder's optimal strategy
      is to bid according to its actual value. Ex. 8, ,,
      61-62, 143; see also Ex. 18 at 263:25-264:18,
      270:12-271 :8.
132   Specifically,                                      Disputed. See Ex. 192, GOOG-DOJ-AT-
                                                         02467209 (



                        Ex. 106 at -209.


                             Id.

                                                                            ).
133                                                        Undisputed.




                        Ex. 106; see also Ex. 20, ,
      2.



                  Ex. 20,, 3.




                                                      56
 Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24             Page 57 of 134 PageID #:
                                              47325
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

134   From those dates forward, with the threshold        Disputed to the extent that the terms "the
      payment rule in place, an advertiser would          threshold payment rule" and "true value" are
      optimally bid its true value. Ex. 8,, 143           ambiguous and not defined as used in this
      ("[C]harging a winning advertiser its threshold     statement.
      price-that is, an amount equal to the lowest
      value it could have reported while still
      winning the impression," resulted in "a bidder-
      truthful process for Google Ads advertisers");
      Ex. 12,, 239 n.348 ("During periods where
      Project Global Bemanke used threshold
      payments, both Sophisticated and Default
      Advertisers would best-respond by bidding
      truthfully (because the auction is actually
      truthful)."); Ex. 18 at 263:25-264:18 ("As I
      stated in my opening report and is also
      commonly known within auction theory, in an
      auction that uses threshold payments,
      advertisers are not better off bid shading . .. .
      [I]n an auction with threshold payments,
      advertisers are best off bidding truthfully,
      that's correct."), id. at 270:12-271 :8 ("[W]hen
      Global Bemanke used threshold payments, it
      is in [Google Ads'] advertisers' best interest to
      bid their true value.").
135   Other ad buying tools, such as                      Disputed. See Ex. 193, GOOG-DOJ-14162335
            , also applied "multipliers" to bids          ("the fact that Ad.X gets last look over
      submitted by their tools' advertisers in order to   AppNexus .. .AdX gets to pay high and win
      optimize the bid the ad buying tool submitted       whenever AppNexus is present with a high
      into the ad exchange auction. Ex. 13 7 at           CPM, and can pay low when AppNexus bids
      114:25-116:19 (                                     low. AppNexus in contrast can't reliably save
                                                          money on queries where AdX bids low,
                                                          because it doesn't know AdX bids."); Davis
                                                          Ex. 41, Rudin Rebuttal Rep. ,, 110-117
                                                          ("Google had distinct data advantages
                                                          compared to individual buyers and sellers,
                                                          which benefited its ML models for valuations,
                                                          predictions of competitors' bids, and floor
                                                          optimization.").




                                                     57
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 58 of 134 PageID #:
                                             47326
                                    ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1




                    ).




136   Other ad buying tools, such as                      Disputed. See Ex. 193, GOOG-DOJ-14162335
                        , also varied its margin on a     ("the fact that Ad.X gets last look over
      per-impression basis. Ex. 124 at -287               AppNexus .... AdX gets to pay high and win
      (                                                   whenever AppNexus is present with a high
                                                          CPM, and can pay low when AppNexus bids
                                                          low. AppNexus in contrast can't reliably save
                                                          money on queries where AdX bids low,
                                                          because it doesn't know AdX bids."); Davis
                                                          Ex. 41, Rudin Rebuttal Rep. ,, 110-117
                                                          ("Google had distinct data advantages
                                                          compared to individual buyers and sellers,
                                ); Ex. 140 at 45:25-      which benefited its ML models for valuations,
      47:13 (                                             predictions of competitors' bids, and floor
                                                          optimization.").




                                         ), id. at
      52:13-54:8.




                                                     58
 Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24                     Page 59 of 134 PageID #:
                                              47327
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

137   In September 2019, when Ad.X completed its          Undisputed.
      transition to a Unified First Price Auction,
      Project Bernanke was replaced by a new bid
      optimization program compatible with a first-
      price auction format, and the new program is
      called Alchemist. Ex. 8, ,, 126(d), 144; Ex. 3,
      , 732; Ex. 24, , 22.

138   The "switch[] to a first-price auction" rendered Undisputed
      the "mechanics of old Project Bernanke
      obsolete." Ex. 6, , 264; see also Ex. 3, , 732
      (The "first price (IP) auction" "required a
      change to Beranke."). In a first-price auction,
      "dropping [Google Ads'] second highest bid
      [would] not impact the auction at all." Ex. 6,,
      264.
139   Alchemist was designed to make bidders'          Disputed. See Ex. 194, GOOG-AT-MDL-
      "participation in Ad.X's first-price auction     015924793 ({CONFIDENTIAL INFORMATION REDACTED}
      truthful." Ex. 6,, 266; Ex. 18 at 273:2-14
      ("[A]ll of the periods that Alchemist was
      active, GDN bidders would have best
      responded by bidding their true value into the
                                                       {CONFIDENTIAL INFORMATION REDACTED}
      Alchemist.").                                                                        ); Ex. 195, GOOG-
                                                       AT-MDL-019045181 (

                              Ex. 8, ,, 67, 144.




                  Ex. 24,, 22; Ex. 8,, 144.

                                                                         ).
140   Alchemist used a threshold pricing rule from        Disputed. See Ex. 194, GOOG-AT-MDL-
      its inception. Ex. 6,, 266 (acknowledging           015924793 ( {CONFIDENTIAL INFORMATION REDACTED}
      Alchemist's "bid optimizer for [Google Ads]
      users that makes their participation in AdX's
      first-price auction truthful"); Ex. 18 at 272:21-
      273:14 ("Q . ... Alchemist used a threshold
                                                          {CONFIDENTIAL INFORMATION REDACTED}
      pricing, not a first price payment rule, right?                                           ); Ex. 195, GOOG-
      A. Yes, that is correct.").                         AT-MDL-019045181 (




                                                     59
  Case 4:20-cv-00957-SDJ     Document 738-1 Filed 12/30/24             Page 60 of 134 PageID #:
                                         47328
                                ** FILED UNDER SEAL **

,     Google's Statement                          Plaintiff States' Response 1




                                                                  ).


141   Dynamic Revenue Share (also known as        Disputed as misleading. See Ex. 84, GOOG-
      "Dynamic Revenue Sharing" or "DRS") was a   DOJ-14265301 at -301-302 (DRS experiments
      Google sell-side auction optimization       started in June, 2014 and a "silent launch" was
      introduced in late August 2015 and          planned in September, 2014; "[s]ince the
      implemented in Google's AdX. Ex. 7,, 619;   beginning of June we've been running a
      Ex. 19,, 43; Ex. 116 at -530.               Dynamic Rev Share (DRS) experiment for
                                                  AdX"; discussing "agreement" to "do this as a
                                                  silent launch since there is no direct pub or
                                                  buyer visible impact," and "asking for
                                                  approval to go ahead" with DRS); Ex. 196,
                                                  GOOG-TEX-00156142 at -143 (2014 Google
                                                  notes referring to DRS as "secret sauce" about
                                                  which "buyers / pubs" would not be aware,
                                                  and while they "could notice it, [] we have
                                                  mechanisms in place to prevent that it can be
                                                  manipulated"); Ex. 197, GOOG-AT-MDL-
                                                  013305855 at 867 (June 22, 2015, DRS
                                                  ramped up to 5% of publishers and buyers).




                                             60
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24               Page 61 of 134 PageID #:
                                              47329
                                     ** FILED UNDER SEAL **


1      Google's Statement                                   Plaintiff States' Response 1

142    DRS was designed to increase the frequency           Disputed. See Ex. 198, GOOG-DOJ-15820805
       of auctions that ended with a winning bidder         at -807 (Publisher investigation found DRS
       by dynamically adjusting the AdX revenue             could decrease publisher revenue); Ex. 106,
       share on a per-impression basis. Ex. 7, 1620;        GOOG-TEX-00831660 (Some DRS variants
       Ex. 17 at 188:17-20 ("Q. At a high level could       can result in lower publisher revenue); Ex.
       you summarize for me your understanding of           199, GOOG-AT-MDL-019306356 at-359 n. 6
       how DRS functions? A. So DRS is a program            ("Right now, we will behind the scenes take
       where Google adjusts its take rate for different     less of a share to make more money for us and
       auctions."); Ex. 49 at -484; Ex. 89 at -321          for the publishers.").
       (



              ); Ex. 85 at -357; Ex. 166 at 273:7-24
       (




                                                    ).
143    Prior to DRS, in certain circumstances, even if      Undisputed.
       the AdX winning bidder was willing to pay
       more than the reserve price, the auction would
       fail and a transaction would not occur. Ex. 7, 1
       619. This would happen if the winning
       bidder's "net bid"-the bid minus AdX' s
       revenue share-fell below the publisher's
       reserve price. Bids that met this criteria were
       referred to as being in the "dynamic region."
       Ex. 76 at -356; Ex. 7, 11619, 620; Ex. 72 at -
       954.
144    When first introduced (DRS vl), DRS allowed          Undisputed.
       AdX to reduce its revenue share when doing
       so brought a bidder's net bid to a level above
       the applicable reserve price, to allow the
       bidder to win the auction. Ex. 7, 11 621 ; Ex.
       19, 1143, 46-47; Ex. 89 at -321.




                                                       61
 Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24              Page 62 of 134 PageID #:
                                              47330
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

145   DRS vl enabled Google to reduce AdX's               Disputed. See Ex. 200, GOOG-NE-03616222
      revenue share if the winning bid for an             ("pub could raise the floor and still win" "if
      impression fell in the dynamic region, in order     this is a problem, DRS will be throttled by
      to cause the transaction to clear on AdX. Ex.       seller" "Prevent buyers from taking advantage
      19, ,, 46-47; Ex. 16 at 194:13-195:1 ("Q ....       of dynamic rev shares" "since reserve prices
      [I]fDRS reduced the AdX revenue share such          are visible, buyers could observe auctions
      that the bid would meet the floor price, the        clearing even when their post-revshare bid is
      publisher would get that floor price as a           below the reserve price, and then attempt to
      revenue, correct? ... [A.] Yes, because the         lower their bid" "if this is a problem, lower rev
      first version only lowered AdX's revenue            shares can be throttled per buyer, or we can
      share, never raising it. If a bid is above the      change what reserve price we reveal").
      floor but the 20 percent AdX revenue would
      cause it to fall below that floor, it was in that
      dynamic range, where DRS v.1 could be
      applied."); Ex. 53 at -543; Ex. 72 at -954
      ("Definition of DRS vl: Lower revenue share
      when a bid would otherwise be lost due to
      reserve price"); Ex. 85 at -357. In other words,
      DRS allowed AdX to charge less than its 20%
      revenue share on a particular impression, in
      order to permit a bid to clear when it was
      above the publisher floor, but not high enough
      above the floor that it would clear after AdX
      charged its fee. Ex. 6, ,, 189, 191 (DRS vl
      allowed AdX to "decrease[] its take rate to be
      lower than 20%," so that it would "return[] a
      successful bid to the ad server and win[] the
      impression"); Ex. 116 at -530 (



                                                 );
      Ex. 164 at 46:12-46:17 ("Q. And by
      comparison, dynamic revenue share would be
      Google changes the 20 percent that it receives
      to give the publisher 80 percent or more; is
      that accurate? A. Yes. During one transaction
      that can happen if we enable dynamic rev
      share.").




                                                     62
 Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24             Page 63 of 134 PageID #:
                                              47331
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

146   If an auction clears at a price lower than the      Undisputed.
      reserve price applied, and AdX still pays the
      publisher at least its designated minimum
      CPM, that result is only possible through a
      reduction in AdX's revenue share (i.e.,
      because of DRS vl). Ex. 18 at 202:11-203:15
      ("In the event that the auction closes at a price
      lower than the reserve price applied and sellers
      are paid at least their min CPM, I agree that
      can only happen by adjusting Google's
      revenue share.").
147   Weeks prior to launching DRS vl , on August         Disputed. See Ex. 201, GOOG-DOJ-14712739
      4, 2015, Google amended an AdX Help Center          (Help Center article not announced internally
      article to explain:                                 or externally); Ex. 93, GOOG-DOJ-15435125
      The Ad Exchange auction closing price is            (Some publishers have never heard of DRS).
      determined as the greater of the second-
      highest net bid in the Ad Exchange auction or
      the reserve price applied to that impression. In
      some cases, the auction may close at a price
      lower than the reserve price applied, due to
      auction optimizations. Sellers are paid the Ad
      Exchange closing price, net of Google's
      revenue share, but will receive, subject to the
      terms governing their use of Ad Exchange, no
      less than the min CPM applied to the auction.
      Ex. 43; see also Ex. 21,, 3.

148   A second iteration of DRS (DRS v2)             Disputed. See Ex. 202, GOOG-DOJ-15426012
      subsequently enabled AdX to both reduce its    at -012, -016 (Google running DRS V2 in
      revenue share when a winning bid was in the    February, 2016 with no notice).
      dynamic region, and correspondingly to
      increase its revenue share on subsequent
      impressions where the winning bid was well in
      excess of the reserve price. Ex. 8, ,, 439-40;
      Ex. 76 at -355-56. DRS v2 was launched in
      December 2016. Ex. 10 at Updated Opening
      Report Exhibit 5 (reflecting 12/1/2016 "Period
      Start" for DRS v2); Ex. 19, , 48; Ex. 39 at -
      759, -761.




                                                     63
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 64 of 134 PageID #:
                                             47332
                                    ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

149   DRSv2 enabled Google to offset revenue share      Disputed. See Ex. 203, GOOG-DOJ-13221355
      reductions, while keeping the average overall     ("Compared to DRS Vl, we get considerable
      revenue share closer to 20% (or the               more profit (at least 53% profit lift with a
      publisher's contractually agreed revenue          conservative estimate). Finally, we note that
      share) without ever exceeding that                by implementing DRS V2, we can apply a less
      contractually agreed share over the publisher's   tight throttling probability for DRS V2
      billing period. Ex. 19,, 48; Ex. 74 at -875       compared to DRS Vl, and therefore we can
      (                                                 get much more revenue (>55% more revenue
                                          ). Allowing   lift, and> 169% more profit lift)").
      AdX to both decrease and increase its revenue
      share enabled Google to operationalize DRS
      on a greater number of impressions. Ex. 76 at -
      355 ("by implementing DRS V2, we can apply
      a less tight throttling probability for DRS V2
      compared to DRS Vl").
150   At the same time, DRS v2 ensured that the         Disputed. See Ex. 187, GOOG-TEX-
      publisher always received its contracted          00309958 at -971 (DRS "can result in less
      revenue share (typically 80%) for each billing    revenue for the publisher, because we don't
      period. Ex. 53 at -543 (                          take into account the opportunity cost from
                                                        serving unfilled impressions elsewhere").




                                             ).
151   Google announced DRS v2 (under a different        Disputed. See Ex. 55,             Dep. Tr. at
      name) before it was launched and allowed          260:7-10 (Q. Certainly you weren't disclosing
      publishers to opt out of the program. Ex. 1, ,    implementation details to advertisers, though,
      39; Ex. 6,, 197.                                  agreed? A. Not all implementation, yes); Ex.
                                                        55,           Dep. Tr. at 344:19-345: 3 ("THE
                                                        WITNESS: You know, we're designing these
                                                        features primarily for our sell-side clients for
                                                        the team that I'm on. And, no, I don't think all
                                                        of the details of the features are something that
                                                        you'd want to disclose to advertisers, every
                                                        detail of how it works."); Ex. 204, GOOG-
                                                        DOJ-AT-02424328 at -330-331 (DRS
                                                        activated by default); Ex. 93, GOOG-DOJ-
                                                        15435125 (Some publishers have never heard
                                                        of DRS).




                                                   64
  Case 4:20-cv-00957-SDJ       Document 738-1 Filed 12/30/24          Page 65 of 134 PageID #:
                                           47333
                                  ** FILED UNDER SEAL **


152   In June 2016, Google again amended the Help Disputed. See Ex. 93, GOOG-DOJ-15435125
      Center article describing the AdX rules. As of (Some publishers have never heard of DRS).
      June 14, 2016, the Help Center article
      included the DRS vl language and the
      following disclosures as to bidders and
      bidding:
      DoubleClick Ad Exchange determines the
      winner based on the highest net bid submitted.
      Note that the net bid reflects any adjustments
      Ad Exchange may, at its discretion, have made
      to the bid submitted by the buyer for the
      purpose of optimizing the auction. Regardless
      of whether any adjustments are made, the
      winning buyer will never be charged more
      than the bid it submits .... To optimize the
      auction, Google may choose to close an
      auction at a price lower than the reserve price
      that would otherwise have been applied. In
      such cases, the winning buyer may I!ay a I!rice
      below the reserve and therefore receive a
      discount on its bid. A buyer that has received
      discount(s) on its bid(s) may face hia:;her
      reserve nrices in subseguent transactions to
      offset such discount(s). Ex. 44 (emphasis
      added); see also Ex. 21,, 4. The Help Center
      article also supplemented its disclosures as to
      sellers and reserve prices: Subject to the terms
      governing their use of Ad Exchange, sellers
      are paid the Ad Exchange closing price, net of
      Google's revenue share, but will receive no
      less than the min CPM they specified for the
      auction. Unless the 'per-query revenue share'
      setting is enabled by a Seller, auction
      optimizations may result in an auction closing
      at a price lower than the reserve price that
      would otherwise have been applied. Because
      the Seller will always be paid at least its
      specified min CPM, the Seller may receive
      more than its contracted revenue share on the
      transaction. In subseguent transactions, the
      Seller's revenue share may then be reduced to
      offset the nrior earnings in excess of the
      contracted revenue share, but the Seller will
      always receive at least its contracted revenue
      share across all its Ad Exchange transactions
      in a given month. Ex. 44 (emphasis added).



                                                65
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24              Page 66 of 134 PageID #:
                                               47334
                                      ** FILED UNDER SEAL **


 ~      Google's Statement                                 Plaintiff States' Response 1

153     The purpose of the June 14, 2016 amendment         Disputed. See Ex. 201, GOOG-DOJ-14712739
        to the Help Center article was                     (Help Center article to be amended due to
                                                           GDN opt out).
                                                 Ex. 53
        at -547.
154     Also in June 2016, Google publicly announced       Disputed. See Ex. 201, GOOG-DOJ-14712739
        DRS v2 through a Help Center release note, as      (Help Center article not announced internally
        a "New Ad Exchange control for applying per-       or externally); Ex. 93, GOOG-DOJ-15435125
        query revenue share optimization," further         (Some publishers have never heard of DRS.);
        detailing that "[a]s part of our ongoing efforts   Davis Ex. 3, Weinberg Rebuttal at p.22 n. 60
        to provide smarter optimizations and               ("The DRSv2 'disclosure' contains a false
        max1m1ze revenue, we may mcrease or                material statement."); see also id. at pp. 77-78
        decrease revenue per query." Ex. 40 at-779.        ("The cited DRSv2 disclosure itself contains a
        That announcement highlighted that publishers      false statement: 'Regardless of whether any
        that preferred Google to "apply your               adjustments are made, the winning buyer will
        contracted revenue share on every query"           never be charged more than the bid it
        could opt out of DRS v2 in the AdX user             submits.") (citing GOOG-AT-MDL-C-
        interface (UI). Ex. 40 at -779.                    000035252 at -52 and noting "I stated in my
                                                            Opening Report, and previously, that I fmd
                                                           this statement to be false because it does not
                                                           account for debt. The Milgrom Report does
                                                           not rebut my claim.").
155     Google also disclosed DRS v2 in the AdX            Disputed. See Ex. 93, GOOG-DOJ-15435125
        User Interface itself. The opt-out feature was     (Some publishers have never heard of DRS);
        added through a "toggle" on the "Admin"            Ex. 206, GOOG-DOJ-AT-02422765 at - 769
        page, which explained: "When selected, each        ("Sales concerns-harm to relationship if no
        ad request from this network to Ad Exchange        further detail provided on what switch does").
        will pay at least contracted revenue share.
        When not selected, contracted revenue share is
        applied as an average over a billing period.
        Selecting this reduces AdX yield." Ex. 35 at -
        950; Ex. 89 at -323-24. In addition, from June
        14 through August 1, 2016 the AdX User
        Interface featured a "butter bar"-a banner
        announcement, also called a "feature flag"-
        explaining to publishers that "You can now
        control whether or not revenue share is applied
        per-query for Ad Exchange," complete with
        links to the above-described release note and
        the opt-out toggle. Ex. 89 at -323-24; Ex. 35 at
        -951.




                                                      66
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 67 of 134 PageID #:
                                             47335
                                    ** FILED UNDER SEAL **

,     Google's Statement                                 Plaintiff States' Response 1

156                                                      Disputed. See Ex. 93, GOOG-DOJ-15435125
                                                         (Some publishers have never heard of DRS);
                                      Ex. 89 at -323     Ex. 207, GOOG-DOJ-15422521 at -522
      (                                                  (internal July 2015 emails in which
                                               ).        states "I don't think we will be able to explain
                                                         it to them in much detail, because I don't think
                                                         we want to expose how DRS works"); Ex. 67,
                                                         GOOG-DOJ-14156657 at 658 (document
                                                         showing publishers were confused and
                                                         reached out to Google to understand how DRS
                                                         worked, including asking "what is my
                                                         contracted revenue share", "why would it be in
                                                         my advantage to have this fluctuate?", "how
                                                         can I see the effect if I were to go along with
                                                         this?", and "why is this so complex."); Ex. 50,
                                                         GOOG-NE-04934281 at 283 (May 2016
                                                         internal Google document re DRS states
                                                         "Buy-side: No outreach to buyers is planned,
                                                         but internal teams will be informed about
                                                         DRS, and questions can be handled
                                                         reactively.").
157   In the third version of DRS-referred to as         Undisputed.
      Truthful DRS ("tDRS")-Google determined
      whether to reduce its revenue share based on
      historical bidding data and made that
      determination prior to receiving live bids from
      AdX buyers. Ex. 6,, 208; Ex. 19,, 51 & n.14.
158   Publishers were given the choice to opt out of     Disputed. See Ex. 93, GOOG-DOJ-15435125
      DRS v2 and tDRS. Ex. 19,, 50; Ex. 40 at -          (Some publishers have never heard of DRS);
      779; Ex. 89 at -323-24, -326-27.                   Ex. 206, GOOG-DOJ-AT-02422765 at - 769
                                                         (harm to relationship if no further detail
                                                         provided on what switch does).
159   In about half of the auctions where DRS            Disputed. See Ex. 187, GOOG-TEX-
      applied, the publisher's impression would          00309958 at -971 (DRS "can result in less
      have gone unsold but for DRS because no            revenue for the publisher, because we don't
      other net bid from any bidder exceeded the         take into account the opportunity cost from
      publisher's reserve price. Ex. 30 (                serving unfilled impressions elsewhere").




                            ).



                                                    67
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 68 of 134 PageID #:
                                              47336
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

160   Under any version of DRS, as to any particular      Disputed. See Ex. 208, GOOG-NE-06841582
      auction, no advertiser was charged more than        at -584 (Difference between price paid and
      its maximum bid, and no seller was paid less        price charged to customers on one impression
      than its reserve price. Ex. 6, ,, 231(a)-(b); Ex.   recouped in subsequent auctions).
      89 at -324 (

                    ).
161   Internally, Google employees believed that          Disputed. See Ex. 208, GOOG-NE-06841582
      under DRSv2,                                        at -584 (Difference between price paid and
                                                          price charged to customers on one impression
                          Ex. 89 at -324; Ex. 82 at -     recouped in subsequent auctions).
      759 (



                                          ).
162   DRS vl increased both Google and publisher          Disputed. See Ex. 198, GOOG-DOJ-15820805
      revenues, and benefitted advertisers by             at -807 (Publisher investigation found DRS
      enabling efficient transactions to occur. Ex. 15    could decrease publisher revenue); Ex. 106,
      at 237:8-13; Ex. 85 at -358 (                       GOOG-TEX-00831660 (Some DRS variants
                                                          can result in lower publisher revenue); Ex.
                                    ); Ex. 89 at -326     209, GOOG-NE-13205235 at -237 (internal
      (                                                   Google document re: DRS and RPO and
                                                          proposal to recover revshare through RPO
                                                          notes "Stll, since publisher revenue can go
                  ).                                      down, it is possible for publishers to make
                                                          more money by opting out of DRS ... "); Ex.
                                                          210, GOOG-DOJ-15446667 (internal emails
                                                                                            MATION REDACTED}
                                                          regarding responding to             inquiries
                                                          about DRS notes that             has said it has

                                                                              ).




                                                     68
  Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24              Page 69 of 134 PageID #:
                                            47337
                                   ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

163   DRS v2 made publishers more money than            Disputed. See Ex. 198, GOOG-DOJ-15820805
      they would have received either under DRS vl      at -807 (Publisher investigation found DRS
      or absent DRS. Ex. 78 at -101 and -103            could decrease publisher revenue); Ex. 106,
      (                                                 GOOG-TEX-00831660 (Some DRS variants
                                                        can result in lower publisher revenue); Ex.
                                                        209, GOOG-NE-13205235 (internal Google
                                                        document re: DRS and RPO and proposal to
                                                        recover revshare through RPO notes "Stll,
                           ); Ex. 76 at -355 (          since publisher revenue can go down, it is
                                                        possible for publishers to make more money
                                                        by opting out of DRS ... "); Ex. 210, GOOG-
                                      ); Ex. 78 at -    DOJ-15446667 (internal emails regarding
      101 (                                             responding to            inquiries regarding
                    ); Ex. 15 at 236:12-14 (same).      DRS notes that             has
      DRS v2 increased output compared to DRS vl                                                     ).
      and these output increases were "welfare
      enhancing." Ex. 15 at 237:14-23
      (acknowledging evidence showed that DRS v2
      "increased output" compared to DRS vl).
164   tDRS benefitted publishers compared to DRS        Disputed. See Davis Ex. 39, Expert Report of
      v2 because tDRS increased match rates and         Parag Pathak, p. 75, ,204 ("Marketplace
      revenue. Ex. 77 at -261 (                         efficiency increases when markets are more
                                                        transparent, encourage participation, and have
                                                        straightforward incentives. In display
                          ); Ex. 86 at -595             advertising, marketplace efficiency leads to
      (                                                 greater gains from trade for publishers and
                                                        advertisers."); Id. at 72, ,193.("Google's
                    ).                                  historical pattern of anticompetitive and
                                                        deceptive conduct involves using its ad server
                                                        to benefit its exchange and ad buying tools at
                                                        the expense of its publisher customers.").
165   DRS was discontinued in September 2019,           Undisputed that DRS was in place from July
      when AdX switched to a first-price auction.       2018 until late 2019, when Google shifted to a
      Ex. 1,, 40; Ex. 6,, 209; Ex. 7,, 622; Ex. 19,     first price auction format in AdX.
      , 52; Ex. 89 at -321.
166   Under the meaning of 'truthful' as used in        Undisputed.
      auction theory, a "first-price auction is not
      truthful." Ex. 6, ,, 47-48.




                                                   69
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                 Page 70 of 134 PageID #:
                                            47338
                                   ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

167   Other ad exchanges also offer features that         Disputed. See Ex. 193, GOOG-DOJ-14162335
      dynamically vary per-impression revenue             ("My take is that the main culprit is not
      shares. Ex. 7,, 642; Ex. 8,, 470; Ex. 142 at        dynamic revshare, but rather the fact that AdX
      63: 17-64 :2 (                                      gets last look over AppNexus ... AdX gets to
                                                          pay high and win whenever AppNexus is
                                                          present with a high CPM, and can pay low
                                                          when AppNexus bids low. AppNexus in
                                                          contrast can't reliably save money on queries
                                                          where AdX bids low, because it doesn't know
                                                          AdX bids. This has fundamentally nothing to
                                                          do with dynamic revshare -- dynamic revshare
                                                   n      is just yet another way for AdX to exploit the
                                 ); Ex. 126 at slide      last look advantage.").
      33 (


                           ).
168   In July 2014, Google announced internally           Disputed as to calling DFP and AdX
      that it was integrating the functionalities of      "functionalities" rather than two distinct
      DFP and AdX into one user interface ("UI"),         products. See Ex. 211, D. Jean Dep. Tr. 90:16-
      Google Ad Manager ("GAM"). Ex. 56 at -994.          92:2, May 1, 2024 ("Q. And AdX and GAM,
                                                          those are separate products, correct? [ ... ] A. I
                                                          know them as separate technologies. [ ... ] Q.
                                                          And as we discussed previously, you know
                                                          them as separate technologies because they
                                                          serve separate functions, correct? A. In my
                                                          opinion. Q. And the basis of your opinion is
                                                          working at Google, correct? A. Working at
                                                          Google; but most importantly, working in the
                                                          industry. Q. And what do you mean by you
                                                          base your opinion in working in the industry?
                                                          A. The definition of an ad server versus the
                                                          definition of an ad exchange. I see those as
                                                          two separate technologies. Q. So just to
                                                          summarize, in your opinion, AdX and Google
                                                          Ad Manager are separate technologies based
                                                          both on your work at Google and also your
                                                          work outside of Google in the industry,
                                                          correct? [ ... ] A.: Based on the definition of an
                                                          ad server and the definition of an ad exchange,
                                                          they serve different functions. [ ... ] Q. And
                                                          that is based on your work at Google and in
                                                          the broader industry outside of Google,
                                                          correct? A. That is correct."); see also Ex. 212,


                                                     70
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 71 of 134 PageID #:
                                               47339
                                      ** FILED UNDER SEAL **


 ~      Google's Statement                                 Plaintiff States' Response 1

                                                        GOOG-AT-MDL-000992438 at -438. "The
                                                        Google Ad Manager (fka DRX) for Perf'
                                                        (March 2022) ("Google Ad Manager
                                                        (internally and formerly known as "DRX")
                                                        represents the merger of two flagship sell-side
                                                        products: DoubleClick for Publishers ("DFP")
                                                        and the Google Ad Exchange ("AdX"). The
                                                        merger began in September of 2014 and
                                                        concluded in mid-2018. We have now retired
                                                        the DoubleClick brand, but internally, the
                                                        products are still referred to as DFP and
                                                        AdX."); Ex. 213, GOOG-NE-06586730 at -
                                                        674 ("Building on a few months of careful
                                                        planning, we just announced the formation of
                                                        DRX ... , the integration of our AdX and DFP
                                                        products."); Ex. 130, GOOG-NE-13468302 at
                                                        -305 ("Please note that while we talk
                                                        externally about how these products work
                                                        together and our plans to integrate them even
                                                        further, we have not made any formal
                                                        statements about merging the products and
                                                        you should still talk about them as separate
                                                        products when talking directly with clients.");
                                                        Ex. 131, GOOG-NE-04597999 (Google
                                                        diagram showing DFP and AdX as two
                                                        separate products within Display Ads
                                                        landscape).
169     The integration of DFP and AdX                  Disputed as to calling DFP and AdX
        functionalities into what is now referred to as "functionalities" rather than two distinct
        GAM took place over several years. Ex. 117 at products. See Ex. 211, D. Jean Dep. Tr. 90:16-
        -273-76.                                        92:2, May 1, 2024 ("Q. And AdX and GAM,
                                                        those are separate products, correct? [ ... ] A. I
                                                        know them as separate technologies. [ ... ] Q.
                                                        And as we discussed previously, you know
                                                        them as separate technologies because they
                                                        serve separate functions, correct? A. In my
                                                        opinion. Q. And the basis of your opinion is
                                                        working at Google, correct? A. Working at
                                                        Google; but most importantly, working in the
                                                        industry. Q. And what do you mean by you
                                                        base your opinion in working in the industry?
                                                        A. The definition of an ad server versus the
                                                        definition of an ad exchange. I see those as
                                                        two separate technologies. Q. So just to


                                                      71
    Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24        Page 72 of 134 PageID #:
                                         47340
                                ** FILED UNDER SEAL **


~      Google's Statement                      Plaintiff States' Response 1

                                               summarize, in your opinion, AdX and Google
                                               Ad Manager are separate technologies based
                                               both on your work at Google and also your
                                               work outside of Google in the industry,
                                               correct? [ ...] A.: Based on the definition of an
                                               ad server and the definition of an ad exchange,
                                               they serve different functions.[ ... ] Q. And
                                               that is based on your work at Google and in
                                               the broader industry outside of Google,
                                               correct? A. That is correct."); see also Ex. 212,
                                               GOOG-AT-MDL-000992438 at -438. "The
                                               Google Ad Manager (fka DRX) for Perf'
                                               (March 2022) ("Google Ad Manager
                                               (internally and formerly known as "DRX")
                                               represents the merger of two flagship sell-side
                                               products: DoubleClick for Publishers ("DFP")
                                               and the Google Ad Exchange ("AdX"). The
                                               merger began in September of 2014 and
                                               concluded in mid-2018. We have now retired
                                               the DoubleClick brand, but internally, the
                                               products are still referred to as DFP and
                                               AdX."); Ex. 213, GOOG-NE-06586730 at -
                                               674 ("Building on a few months of careful
                                               planning, we just announced the formation of
                                               DRX ... , the integration of our AdX and DFP
                                               products."); Ex. 130, GOOG-NE-13468302 at
                                               -305 ("Please note that while we talk
                                               externally about how these products work
                                               together and our plans to integrate them even
                                               further, we have not made any formal
                                               statements about merging the products and
                                               you should still talk about them as separate
                                               products when talking directly with clients.");
                                               Ex. 131, GOOG-NE-04597999 (Google
                                               diagram showing DFP and AdX as two
                                               separate products within Display Ads
                                               landscape).




                                          72
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24                  Page 73 of 134 PageID #:
                                               47341
                                      ** FILED UNDER SEAL **


 ~      Google's Statement                                    Plaintiff States' Response 1

170     Google publicly announced the unified GAM             Disputed to the extent that this suggests the
        in June 2018, which replaced the previous             separation ofDFP and AdX was purely
        "AdX" and "DFP" external branding. Ex. 110            external prior to combining the two products
        at -090; Ex. 111 at -118.                             in GAM. Google still internally referred to the
                                                              products separately even after combining them
                                                              in GAM. See Ex. 212, GOOG-AT-MDL-
                                                              000992438 at -438. "The Google Ad Manager
                                                              (fka DRX) for Perf' (March 2022) ("Google
                                                              Ad Manager (internally and formerly known
                                                              as "DRX") represents the merger of two
                                                              flagship sell-side products: DoubleClick for
                                                              Publishers ("DFP") and the Google Ad
                                                              Exchange ("AdX"). The merger began in
                                                              September of 2014 and concluded in mid-
                                                              2018. We have now retired the DoubleClick
                                                              brand, but internally, the products are still
                                                              referred to as DFP and AdX.").
171     Google integrated DFP and AdX                         Disputed as to calling DFP and AdX
        functionalities into one UI to provide                "functionalities" rather than two distinct
        publishers with a single yield optimization           products. See Ex. 211, D. Jean Dep. Tr. 90:16-
        offering across ad formats and deal types,            92:2, May 1, 2024 ("Q. And AdX and GAM,
        making it more efficient for publishers to            those are separate products, correct? [ ... ] A. I
        administer their ad sales. Ex. 115 at -568            know them as separate technologies. [ ... ] Q.
        (                                                     And as we discussed previously, you know
                                                              them as separate technologies because they
                                                              serve separate functions, correct? A. In my
                                                              opinion. Q. And the basis of your opinion is
                           ); Ex. 54 at -615 (                working at Google, correct? A. Working at
                                                              Google; but most importantly, working in the
                                                              industry. Q. And what do you mean by you
                                                              base your opinion in working in the industry?
                                                 ), id. at    A. The definition of an ad server versus the
        -624 (                                                definition of an ad exchange. I see those as
                                                              two separate technologies. Q. So just to
            ).                                                summarize, in your opinion, AdX and Google
                                                              Ad Manager are separate technologies based
                                                              both on your work at Google and also your
                                                              work outside of Google in the industry,
                                                              correct? [ ... ] A.: Based on the definition of an
                                                              ad server and the definition of an ad exchange,
                                                              they serve different functions. [ ... ] Q. And
                                                              that is based on your work at Google and in
                                                              the broader industry outside of Google,
                                                              correct? A. That is correct."); see also Ex. 212,


                                                         73
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24               Page 74 of 134 PageID #:
                                             47342
                                    ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

                                                          GOOG-AT-MDL-000992438 at -438. "The
                                                          Google Ad Manager (fka DRX) for Perf'
                                                          (March 2022) ("Google Ad Manager
                                                          (internally and formerly known as "DRX")
                                                          represents the merger of two flagship sell-side
                                                          products: DoubleClick for Publishers ("DFP")
                                                          and the Google Ad Exchange ("AdX"). The
                                                          merger began in September of 2014 and
                                                          concluded in mid-2018. We have now retired
                                                          the DoubleClick brand, but internally, the
                                                          products are still referred to as DFP and
                                                          AdX."); Ex. 213, GOOG-NE-06586730 at -
                                                          732 ("Building on a few months of careful
                                                          planning, we just announced the formation of
                                                          DRX ... , the integration of our AdX and DFP
                                                          products."); Ex. 130, GOOG-NE-13468302 at
                                                          -305 ("Please note that while we talk
                                                          externally about how these products work
                                                          together and our plans to integrate them even
                                                          further, we have not made any formal
                                                          statements about merging the products and
                                                          you should still talk about them as separate
                                                          products when talking directly with clients.");
                                                          Ex. 131, GOOG-NE-04597999 (Google
                                                          diagram showing DFP and AdX as two
                                                          separate products within Display Ads
                                                          landscape).
172   Other ad tech providers integrate their ad          Disputed to the extent this suggests that DFP
      exchange and ad server functionalities,             and AdX are functionalities rather than distinct
      including because it improves efficiency for        products, and to the extent this suggests that
      publishers and allows for better inventory          ad tech providers view ad exchanges and ad
      management. Ex. 3,, 63 n.19 (                       servers as "functionalities" rather than distinct
                       ), id.,, 141 (                     products. The cited evidence does not support
                                                          this classification of ad exchanges and ad
                                                          servers. See Davis Ex. 52, Gans Opening Rep.
                 ); Ex. 187 at 111 :20-112:4 (            , 63 n.19 ("With the acquisition ofXandr,
                                                          Microsoft is now also integrated across several
                                                          relevant product markets."); Ex. 211, D. Jean
                                                          Dep. Tr. 90:16-92:2, May 1, 2024 ("Q. And
                                                          AdX and GAM, those are separate products,
                                                          correct? [ ... ] A. I know them as separate
                        ).                                technologies.[ ... ] Q. And as we discussed
                                                          previously, you know them as separate
                                                          technologies because they serve separate


                                                     74
    Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24         Page 75 of 134 PageID #:
                                         47343
                                ** FILED UNDER SEAL **


~      Google's Statement                      Plaintiff States' Response 1

                                               functions, correct? A. In my opinion. Q. And
                                               the basis of your opinion is working at
                                               Google, correct? A. Working at Google; but
                                               most importantly, working in the industry. Q.
                                               And what do you mean by you base your
                                               opinion in working in the industry? A. The
                                               definition of an ad server versus the definition
                                               of an ad exchange. I see those as two separate
                                               technologies. Q. So just to summarize, in your
                                               opinion, AdX and Google Ad Manager are
                                               separate technologies based both on your work
                                               at Google and also your work outside of
                                               Google in the industry, correct? [ ... ] A.: Based
                                               on the definition of an ad server and the
                                               definition of an ad exchange, they serve
                                               different functions.[ ... ] Q. And that is based
                                               on your work at Google and in the broader
                                               industry outside of Google, correct? A. That is
                                               correct."); Ex. 212, GOOG-AT-MDL-
                                               000992438 at -438. "The Google Ad Manager
                                               (fka DRX) for Perf' (March 2022) ("Google
                                               Ad Manager (internally and formerly known
                                               as "DRX") represents the merger of two
                                               flagship sell-side products: DoubleClick for
                                               Publishers ("DFP") and the Google Ad
                                               Exchange ("AdX"). The merger began in
                                               September of 2014 and concluded in mid-
                                               2018. We have now retired the DoubleClick
                                               brand, but internally, the products are still
                                               referred to as DFP and AdX."); Ex. 213,
                                               GOOG-NE-06586730 at -732 ("Building on a
                                               few months of careful planning, we just
                                               announced the formation of DRX ... , the
                                               integration of our AdX and DFP products.");
                                               Ex. 130, GOOG-NE-13468302 at -305
                                               ("Please note that while we talk externally
                                               about how these products work together and
                                               our plans to integrate them even further, we
                                               have not made any formal statements about
                                               merging the products and you should still talk
                                               about them as separate products when talking
                                               directly with clients."); Ex. 131, GOOG-NE-
                                               04597999 (Google diagram showing DFP and




                                          75
    Case 4:20-cv-00957-SDJ      Document 738-1 Filed 12/30/24            Page 76 of 134 PageID #:
                                            47344
                                   ** FILED UNDER SEAL **


1      Google's Statement                              Plaintiff States' Response 1

                                                        AdX as two separate products within Display
                                                        Ads landscape).
173    Publishers who use an ad server other than       Disputed as to the effectiveness of using AdX
       DFP can access buyers using AdX, including       Direct tags. See Davis Ex. 52, Gans Opening
       from Google Ads, through AdX Direct. Ex. 3,      Report at 11429-434, 454-455; Ex. 214,
       1429; Ex. 15 at 163:10-18 (admitting that       {CONFIDENTIAL INFORMATION REDACTED}
       AdX Direct Tags allow a publisher to request
       ads from AdX and receive tags from AdX in
       real time even if the publisher does not use
       DFP); Ex. 19, 1162, 64.




174    AdX Direct uses pieces of code, also known as Disputed as to the effectiveness of using AdX
       "tags," that publishers can place on their    Direct tags. See Davis Ex. 52, Gans Opening
       websites, allowing them to request an ad from Report at 11429-434, 454-455; Ex. 214,
       AdX without using DFP. Ex. 19,163; Ex. 7, 1 {CONFIDENTIAL INFORMATION REDACTED}
       456 & n.793.




                                                  76
    Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24                                  Page 77 of 134 PageID #:
                                                47345
                                       ** FILED UNDER SEAL **


1      Google's Statement                                    Plaintiff States' Response 1

                                                             {CONFIDENTIAL INFORMATION REDACTED}




                                                             {CONFIDENTIAL INFORMATION REDACTED}
                                                                    ; Heinz Ex. 19, Hochstetler Opening
                                                              Rep. at Section V.C and 1 127 ("[P]ublishers
                                                              using AdX tags did not have access to all the
                                                              features available through DFP and GAM,
                                                              including DA / EDA and Exchange
                                                              Bidding.").
175    Publishers using third-party ad servers have           Disputed as to the effectiveness of using AdX
       had access to AdX via AdX Direct tags since            Direct tags. See Davis Ex. 52, Gans Opening
       before Google acquired AdX from                        Report at 11429-434, 454-455; Ex. 214,
       DoubleClick in 2008. Ex. 19,162. And                  {CONFIDENTIAL INFORMATION REDACTED}
       publishers continue to use AdX Direct today
       to access AdX through third-party ad servers.
       Ex. 4, 1 127 ("Currently, AdX tags are still in
       use, and it is still possible for publishers to use
       AdX with a third-party ad server."); Ex. 15 at
       163: 19-164: 14 (acknowledging AdX Direct
       has been used since 2014 and can still be used
       today); Ex. 19, 1162, 65.




                                                             {CONFIDENTIAL INFORMATION REDACTED}
                                                                        ; see also Heinz Ex. 19, Hochstetler


                                                        77
 Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 78 of 134 PageID #:
                                            47346
                                   ** FILED UNDER SEAL **

,     Google's Statement                               Plaintiff States' Response 1

                                                    Opening Rep. at Section V.C and, 127
                                                    ("[P]ublishers using AdX tags did not have
                                                    access to all the features available through
                                                    DFP and GAM, including DA / EDA and
                                                    Exchange Bidding.").
176   In other words, publishers can and do use AdX Disputed as misleading. By design, publishers
      without using DFP. Ex. 13 at 278:5-11 ("Q.    that do not use Google's DFP product cannot
      Can a publisher choose to use AdX without     receive real-time bids from AdX. If a
      using DFP? A. Yes, it is possible for a       publisher uses a non-Google ad server, AdX
      publisher to use AdX without using Google     will only submit an ad for an impression in
      Ad Manager."); Ex. 7,, 464; Ex. 19,, 62       response to a bid request, but it will not
                                                    disclose the price that it is offering to pay for
                                                    that impression. See Ex. 215, GOOG-AT-
                                                    MDL-001937115 at -115 ("AdX does not
                                                    integrate with other ad servers as well as it
                                                    does with DFP (no dynamic allocation), so
                                                    AdX does not pass through real-time bids to
                                                    these other ad servers (instead it passes
                                                    through a "dumb" flat CPM based on
                                                    historical averages"); Heinz Ex. 19,
                                                    Hochstetler Opening Rep. at Section V.C and
                                                    , 127 ("[P]ublishers using AdX tags did not
                                                    have access to all the features available
                                                    through DFP and GAM, including DA / EDA
                                                    and Exchange Bidding.").

                                                        Also disputed as to the effectiveness of using
                                                        AdX Direct tags. See Davis Ex. 52, Gans
                                                        Opening Report at,, 429-434, 454-455; Ex.
                                                        214, {CONFIDENTIAL INFORMATION REDACTED}
                                                       {CONFIDENTIAL INFORMATION REDACTED}




                                                  78
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24                                   Page 79 of 134 PageID #:
                                             47347
                                    ** FILED UNDER SEAL **

,     Google's Statement                                    Plaintiff States' Response 1

                                                           {CONFIDENTIAL INFORMATION REDACTED}




177   In addition, publishers using DFP can use             Disputed to the extent the statement
      exchanges other than AdX. Ex. 19, , 8                 mischaracterizes the alleged tie in the case.
      ("Publishers that sign up for Google Ad               See Davis Ex. 53, Gans Rebuttal Rep. , 286
      Manager are not forced to use its AdX ad              ("in order to access AdX, publishers had to
      exchange functionality."), id.,, 25 ("Google          buy DFP").
      Ad Manager does not and cannot limit how
      many competing exchanges a publisher can
      connect to using Header Bidding. A publisher
      can work with any of the many dozens of
      competing exchanges. It is common for larger
      publishers to work with as many as six or
      seven different exchanges."), id.,, 35 ("[Open
      Bidding] allows third party ad exchanges to
      compete with line items booked in Ad
      Manager (including Header Bidding line
      items) and with Authorized Buyers, DV360,
      and Google Ads in a real-time auction."), id., ,
      39 ("Approximately        third-party ad
      exchanges participate in Open Bidding,
      including
                     ."); Ex. 13 at 278:5-11 ("Q. Can
      a publisher choose to use DFP without using
      AdX? A. Yes."); Ex. 4,, 127; Ex. 7,, 463.
178   In fact, a majority ofDFP publishers do not           Disputed. See Ex. 216, GOOG-NE-03609116
                                                                             {CONFIDENTIAL INFORMATION REDACTED}
      use AdX. Ex. 7,, 463 ("76.6 percent of                at -118 (
                                                           {CONFIDENTIAL INFORMATION REDACTED}
      publishers using DFP do not use AdX"); Ex.
      19,, 8.                                                                                             ; Ex. 217, GOOG-
                                                                                                           {CONFIDENTIAL INFORMATION REDACTED}
                                                            TEX-00853578 at -580
                                            Ex. 195
      at 3.

                                                                                          .
179   Initially, AdX and DFP were administered              Disputed to the extent that the statement
      under separate contracts. Ex. 98 at -826, 828.        asserts that Google began using the unified
      In June 2016, Google began using a Unified            contract for only new publishers, where


                                                      79
    Case 4:20-cv-00957-SDJ     Document 738-1 Filed 12/30/24           Page 80 of 134 PageID #:
                                           47348
                                  ** FILED UNDER SEAL **


~      Google's Statement                           Plaintiff States' Response 1

       DFP/AdX Contract to onboard new publishers   recontracting applied to existing publishers,
       seeking to use either DFP or AdX. Ex. 3, ~   See Ex. 96, GOOG-TEX-00725911 at 5911-
       446; Ex. 98 at -823.                         5912 (Google ran a DRX re-contracting
                                                    campaign where AdX only contracts would no
                                                    longer be available to new customers.
                                                    Existing AdX customers were also required to
                                                    sign unified contracts that included DFP.);
                                                    Ex. 97, GOOG-AT-MDL-019588187 at -8188
                                                    (Publishers were forced to sign these contracts
                                                    even when they had no interest in DFP.); Ex.
                                                    115,             Dep. Tr. 76:9-77:4 (Q.
                                                    Stepping back, a partner didn't have an option
                                                    to keep their AdX only contract. Is that
                                                    correct? A. Correct. Q. They did not have an
                                                    option to not go through the recontracting
                                                    process? THE WITNESS: Well, they did have
                                                    an option. They could have chosen not to
                                                    recontract if they didn't -- if they didn't want
                                                    to. Q. Their options were limited to either
                                                    recontracting or no contract at all? A. Those
                                                    are the two options, yes. Q. Partners or
                                                    customers of Google were not provided any
                                                    other choices beyond those two that were just
                                                    discussed? A. Those are the two choices,
                                                    yes."); id. at 79: 11-80:6 ("Q. But it's correct
                                                    that Google only gave partners two choices.
                                                    Correct? A. Yes, correct. Q. And those two
                                                    choices were to recontract, or sign a new
                                                    contract, or be terminated. Correct? A. That
                                                    was the decision of the business, yes. Q. And
                                                    the partners did not have a choice on their
                                                    participation in this recontracting process?
                                                    THE WITNESS: We were -- the business
                                                    made the decision to unify the two -- the -- to
                                                    unify DFP and AdX, and partners were given
                                                    a choice to either -- to recontract on the new
                                                    platform or to no longer use the product.");
                                                    Ex. 218, GOOG-TEX-00059386 at -386 ("In
                                                    order to continue using AdX and DFP, you
                                                    will need to sign a new combined contract that
                                                    includes terms for both products. This will
                                                    replace your current individual AdX and DFP
                                                    contracts.").




                                               80
  Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24                Page 81 of 134 PageID #:
                                            47349
                                   ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

180   On September 19, 2016, Google publicly              Undisputed as to date and content of Help
      announced in a Help Center release that             Center release, except Plaintiffs dispute the
      "[u]sers with access to both Ad Exchange and        statements made in the cited underlying
      DoubleClick for Publishers can now enjoy            document (that the combined offering
      access to Ad Exchange product features in the       "streamlines the user workflow and reduces
      DoubleClick for Publishers interface. This          the need to access separate products.").
      streamlines the user workflow and reduces the
      need to access separate products." Ex. 40 at -
      774.
181   AdX Direct has been available to and used by        Disputed as misleading. Google would have
      publishers both before and after Google             ended AdX Direct but for antitrust and PR
      offered its unified contract. Ex. 195 at 3          concerns. See Ex. 91, GOOG-DOJ-27799214
      (                                                   at 216, 221 (


                                            ); see
      also Ex. 7, , 464 (

                                                                    ); Ex. 219, GOOG-NE-04001130 at -
                                                          131 (There is an ADX-direct product ... but
                                                          this is being deprecated ... ) .


                                  ).




                                                     81
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 82 of 134 PageID #:
                                             47350
                                    ** FILED UNDER SEAL **


1     Google's Statement                                Plaintiff States' Response 1

182   When Google rolled out the unified contract, it   Disputed as misleading. Google contractually
      informed publishers that while signing the        tied DFP to AdX by forcing publishers to sign
      contract would give AdX users access to DFP,      the GAM contract or risk losing access to
      they were not obligated to use it. Ex. 11, 1      Google Ads demand on AdX. See Ex. 218,
      297; Ex. 15 at 176:18-177:12; Ex. 132 at          GOOG-TEX-00059386 at -386 ("In order to
      48:16-49:2 (                                      continue using AdX and DFP, you will need to
                                                        sign a new combined contract that includes
                                                        terms for both products. This will replace your
                                                        current individual AdX and DFP contracts.");
                                                        Ex. 115,              Dep. Tr. 76:9-77:4 (Q.
                                      ).                Stepping back, a partner didn't have an option
                                                        to keep their AdX only contract. Is that
                                                        correct? A. Correct. Q. They did not have an
                                                        option to not go through the recontracting
                                                        process? THE WITNESS: Well, they did have
                                                        an option. They could have chosen not to
                                                        recontract if they didn't -- if they didn't want
                                                        to. Q. Their options were limited to either
                                                        recontracting or no contract at all? A. Those
                                                        are the two options, yes. Q. Partners or
                                                        customers of Google were not provided any
                                                        other choices beyond those two that were just
                                                        discussed? A. Those are the two choices,
                                                        yes."); id. at 79: 11-80:6 ("Q. But it's correct
                                                        that Google only gave partners two choices.
                                                        Correct? A. Yes, correct. Q. And those two
                                                        choices were to recontract, or sign a new
                                                        contract, or be terminated. Correct? A. That
                                                        was the decision of the business, yes. Q. And
                                                        the partners did not have a choice on their
                                                        participation in this recontracting process?
                                                        THE WITNESS: We were -- the business
                                                        made the decision to unify the two -- the -- to
                                                        unify DFP and AdX, and partners were given
                                                        a choice to either -- to recontract on the new
                                                        platform or to no longer use the product.");
                                                        Heinz Ex. 19, Hochstetler Opening Rep. 11
                                                        119-127; Ex. 109, GOOG-AT-MDL-B-
                                                        003186306 (discussing plans to convert AdX
                                                        Direct pubs into DFP publishers).




                                                   82
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24              Page 83 of 134 PageID #:
                                              47351
                                     ** FILED UNDER SEAL **


1      Google's Statement                                 Plaintiff States' Response 1

183    Google continued to honor existing legacy        Disputed. See Ex. 218, GOOG-TEX-00059386
       AdX contracts, which remained active until       at -386 ("In order to continue using AdX and
       the contract term was over or the contract was   DFP, you will need to sign a new combined
       terminated by Google or the partner, or          contract that includes terms for both products.
       superseded by a Unified DFP/AdX Contract.        This will replace your current individual AdX
       Ex. 98 at-822; Ex. 194 at 81:12-18 (             and DFP contracts."); Ex. 115,               Dep.
                                                        Tr. 76:9-77:4 (Q. Stepping back, a partner
                                                        didn't have an option to keep their AdX only
                                                        contract. Is that correct? A. Correct. Q. They
                               )].                      did not have an option to not go through the
                                                        recontracting process? THE WITNESS: Well,
                                               See,     they did have an option. They could have
       e.g., Exs. 36, 58, 118, 119, 120, 122, 123.      chosen not to recontract if they didn't -- if they
                                                        didn't want to. Q. Their options were limited
                                                        to either recontracting or no contract at all? A.
                                                        Those are the two options, yes. Q. Partners or
                                                        customers of Google were not provided any
                                                        other choices beyond those two that were just
                                                        discussed? A. Those are the two choices,
                                                        yes."); id. at 79:11-80:6 ("Q. But it's correct
                                                        that Google only gave partners two choices.
                                                        Correct? A. Yes, correct. Q. And those two
                                                        choices were to recontract, or sign a new
                                                        contract, or be terminated. Correct? A. That
                                                        was the decision of the business, yes. Q. And
                                                        the partners did not have a choice on their
                                                        participation in this recontracting process?
                                                        THE WITNESS: We were -- the business
                                                        made the decision to unify the two -- the -- to
                                                        unify DFP and AdX, and partners were given
                                                        a choice to either -- to recontract on the new
                                                        platform or to no longer use the product.");
                                                        Ex. 109, GOOG-AT-MDL-B-003186306
                                                        (discussing plans to convert AdX Direct pubs
                                                        into DFP publishers).
184    Line items are ad server settings specified by a Undisputed.
       publisher, which contain details relevant to
       showing an advertisement, such as the price
       that would be paid if the line item were
       selected and details about what kind of ad
       campaign could be shown. Ex. 3, 1638; Ex. 5,
       181 ; Ex. 6,182; Ex. 7,196; Ex. 131 at
       92: 16-96:21 .



                                                     83
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 84 of 134 PageID #:
                                              47352
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

185   Line items are the mechanism through which          Disputed as to characterization of the function
      rival exchanges are represented in DFP. Ex. 6,      of a line item as a DFP mechanism to
      , 83.c; Ex. 5,, 81; Ex. 103 at -491.                "represent" rival exhanges. Rivals were not
                                                          represented in DFP, and pubs used line items
                                                          to work around that. Davis Ex. 52, Expert
                                                          Report of Joshua Gans, 219,638 ("In the most
                                                          basic sense, line items are ad server settings,
                                                          specified by the publisher, that specify all of
                                                          the details relevant to showing an ad to
                                                          website visitors, including the space available
                                                          for the ad and the details about what kind of ad
                                                          campaign could be shown.")ln additions, line
                                                          items were controlled and set directly by the
                                                          publisher using their own specialized
                                                          knowledge within DFP. Davis Ex. 52, Expert
                                                          Report of Joshua Gans, 219,639 ("The
                                                          publisher must specify each line item for the
                                                          ad server. Thus, if a publisher expects bids to
                                                          fall between a range of $0.01 and $20.00 and
                                                          wants line items available in increments of
                                                          $0.01, the ad server owner needs to setup
                                                          thousands of individual line items established
                                                          on the publisher ad server. This was time
                                                          consuming and required specialized technical
                                                          knowledge do to.")
186   The number of "active" line items (meaning          Disputed. Davis Ex. 53, Expert Rebuttal
      the line item is being used to potentially          Report of Joshua Gans at 141 ,368 ("There
      deliver an ad) puts a strain on the ad server,      was a process to request line item limit
      and a publisher can slow or crash                   increases, demonstrating the limit was an
                                                                                               {CONFIDENTIAL INFORMATION REDACTED}
      infrastructure by using a large number of           artificial restriction. As described by
      active line items. Ex. 7, ,, 97, 553; Ex. 65 at -              , Engineering Director and a Lead of
      195 ("Limits are necessary in order to protect      the Google Ad Manager team at Google, DFP
      the health of the product, the performance of       could support additional active line items
      our system, and are ultimately for the benefit      above 61,000 given "it's only compute
      of all publishers and the performance of their      resources, after all."); Davis Ex. 53, Expert
      UI"); Ex. 27 at -244, -245; Ex. 79 at -828; Ex.     Rebuttal Report of Joshua Gans at 142 ,370
      131 at 92: 16-96:21.                                ("What is at the heart of this is the evidence
                                                          regarding Google's intent. The analysis in my
                                                          initial report demonstrated that Google had
                                                          incentives to cap line items even if it was
                                                          costless to expand them, which is consistent
                                                          with the hypothesis that Google's choices
                                                          were an abuse of its monopoly power.") See
                                                          also Davis Ex. 52, Gans Opening Rep. at 224-


                                                     84
 Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24              Page 85 of 134 PageID #:
                                              47353
                                     ** FILED UNDER SEAL **

,     Google's Statement                                   Plaintiff States' Response 1

                                                           25 ,659 ("While pretextual technical reasons
                                                           were given, its true motives were
                                                           anticompetitive and technical constraints were
                                                           negligible.").




187   Google introduced a limit of 61,000 active line      Undisputed.
      items in late 2013 for its ad server DFP. Ex. 7,
      , 553; Ex. 65 at-198 (


                                       ).
188   Line item limits preclude any one publisher          Disputed. While an excessive number of line
      from using an excessive number of line items,        items can strain Google's servers, Google
      which would negatively impact the                    began enforcing limits to discourage
      performance of Google's ad server for other          publishers from using header bidding. See Ex.
      publishers. Ex. 79 at -828; Ex. 41 at -304-05        220, GOOG-DOJ-15127000 at -001-002 (Line
      (                                                    Item caps introduce friction into header
                                                           bidding).


                  ); Ex. 131 at 92:16-92:21 ("[The
      limit is] there to ensure that our systems scale
      effectively and one publisher doesn't bring
      down the whole system.").
189   The line item limits were designed to ensure         Disputed. Davis Ex. 52, Gans Opening Rep. at
      the performance of Google's ad server,               224-25 ,659 ("While pretextual technical
      protecting the health of the product. Ex. 7, ,,      reasons were given, its true motives were
      97, 553 (citing Ex. 65); Ex. 65 at -198; Ex. 27      anticompetitive and technical constraints were
      at -245; Ex. 79 at -828 (noting that "               negligible.").




                                     ); Ex. 131 at
      92:16-96:21.


                      Ex. 7, ,, 97, 553 (citing Ex.
      65 at -202).




                                                      85
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24             Page 86 of 134 PageID #:
                                              47354
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

190   With the advent of header bidding, Google           Disputed. Davis Ex. 53, Gans Rebuttal Rep. at
      began to see an increase in excessive numbers       141 ,368 ("There was a process to request line
      of active line items, many times more than the      item limit increases, demonstrating the limit
      system was designed to support. Ex. 7,, 563         was an artificial restriction. As described by
      ("In 2016 and 2017, Google began to see an                           , Engineering Director and a
      increase in the number of publishers exceeding      Lead of the Google Ad Manager team at
      the active line item limit. Sometimes, there        Google, DFP could support additional active
      were 1,000 times more line items than the           line items above 61,000 given "it's only
      system was designed to support."); Ex. 63 at -      compute resources, after all."); Davis Ex. 53,
      882; Ex. 144 at49:19-51 :15.                        Expert Rebuttal Report of Joshua Gans at 142
                                                          ,370 ("What is at the heart of this is the
                                                          evidence regarding Google's intent. The
                                                          analysis in my initial report demonstrated that
                                                          Google had incentives to cap line items even if
                                                          it was costless to expand them, which is
                                                          consistent with the hypothesis that Google's
                                                          choices were an abuse of its monopoly
                                                          power."). See also Davis Ex. 52, Gans
                                                          Opening Rep. at 224-25 ,659 ("While
                                                          pretextual technical reasons were given, its
                                                          true motives were anticompetitive and
                                                          technical constraints were negligible.").
191   Implementing header bidding with DFP                Undisputed.
      involved creating line items where every price
      would be associated with a line item. Ex. 7, ,
      552; Ex. 143 at 204:22-17. And each line item
      would be targeted at a key value that specified
      the price. Ex. 7,, 552; Ex. 131 at 92:16-96:21.
      For example, if a publisher was willing to
      accept a price between $0.50 and $1.00-the
      publisher's upper and lower pricing bounds-
      for an impression, the publisher could
      implement header bidding by setting up
      separate line items for every $0.01 increment
      within that range of prices, totaling 51 separate
      line items. Ex. 7, , 552.




                                                     86
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24            Page 87 of 134 PageID #:
                                             47355
                                    ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

192                                                     Disputed. See Davis Ex. 53, Expert Rebuttal
                                                        Report of Joshua Gans at 141,370
                                                        ("However, the document used by [Google in
                                                        Ex. 63] to support his claim also shows that
                                                        there were only a few publishers with over
                                                        61,000 line items, and reducing their line
                                                        items would only have a limited impact on
                                                        costs, and that Google could also mitigate any
                                                        cost increase by adapting its pricing or "not
                                                        making money on a pub for strategic reason"
                                                        since it was "not a lot of money.").
193   When publishers exceeded the line item limit,     Disputed. See Ex. 220, GOOG-DOJ-15127000
      Google did not charge publishers for the          at -001-002 (Line Item caps introduce friction
      increased infrastructure costs of hosting the     into header bidding).
      additional line items. Ex. 15 at 249:17-23 ("Q.
      You're aware that Google granted exceptions
      to the line item cap to some publishers? A.
      Yes. Q. And did Google charge those
      publishers additional fees when they granted
      the exception to the line item cap? A. No.");
      Ex. 143 at 380:1-381:1 (




                                    ).
194   In 2018, Google announced that beginning on Undisputed.
      January 31, 2019, it would start enforcing the
      preexisting limits for publishers who were
      close to or over the line item limit. Ex. 7,,
      554; Ex. 101 at -818; Ex. 88 at -380.
195   At the time of that announcement,                Undisputed.
      publishers were over the line item limit. Ex. 88
      at -380-82.




                                                   87
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24            Page 88 of 134 PageID #:
                                             47356
                                    ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

196   To ensure minimal interruptions to publishers'    Disputed. See Davis Ex. 52, Gans Opening
      operations, Google allowed-and granted-           Rep.,, 651-54 ("Google only partially
      certain line item limit exceptions for            provided publishers with more line items via
      publishers. Ex. 88 at -380 (Google made clear     exceptions. . .. Google declined many
      that "the objective is not to disrupt any of      publishers' access to additional line items
      those pubs operations, so the plan is to [sic]    despite its ability to do so (see Section
      flexible on allowing exceptions."); Ex. 144 at    VII.C.3).").
      199:2-13




           ); Ex. 15 at 249:17-19 ("Q. You're aware
      that Google granted exceptions to the line item
      cap to some publishers? A. Yes."); Ex. 143 at
      380:1-381 :1 (




                                          ).




                                                   88
 Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24             Page 89 of 134 PageID #:
                                             47357
                                    ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

197   In 2021, Google launched Header Bidding         Disputed to the extent this implies that Header
      Manager, which provides publishers with tools Bidding Manager was a solution to line item
      to manage and optimize their header bidding     limitations or replacement for a signifiant
      setups, including by setting up header bidding number of publishers. See Davis Ex. 52,
      without having to set up large numbers of line Expert Report of Joshua Gans at 225,659
      items. Ex. 15 at 253:9-23; Ex. 29 at -134; Ex.  ("As part of its settlement with the FCA,
      28 at -134, 135.                                Google committed to developing its Header
                                                      Bidding Manager tool. However, HBM only
                                                      partly satisfied publishers' needs and ability to
                                                      expand their Header Bidding strategies."); Id.
                                                      at 225 ,658 ("HBM adoption was slow as it
                                                      was available in GAM 360 only842 and
                                                      remained confidential as only a couple of
                                                      publishers were progressively enrolled.
                                                      Moreover, Google tried to keep HBM
                                                      confidential but was noticed by some
                                                      bidders.")
198   Publishers use pricing rules to set reserve (or Undisputed.
      "floor") prices in auctions occurring on ad
      exchanges. Ex. 8,, 535; Ex. 19,, 56.
199   In 2019, in connection with its move to a       Undisputed.
      UFPA, Google introduced Unified Pricing
      Rules ("UPR"). Ex. 8,, 535; Ex. 19, ,, 56-57.




                                                   89
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 90 of 134 PageID #:
                                             47358
                                    ** FILED UNDER SEAL **

,     Google's Statement                                 Plaintiff States' Response 1

200   As discussed, supra,, 41-44, reserve prices        Disputed. Google knew of the rational reasons
      function differently in first-price and second-    why publishers wanted to set higher floors,
      price auctions: in a second-price auction, a       one of which was independence from Google,
      reserve price can raise the amount that the        and the reason why Google claims if created
      winning bidder pays, but in a first-price          unified floors is false. See Ex. 222, GOOG-
      auction, the winning bidder pays the amount        NE-11809343 at 9358; (Publishers set high
      of its bid, regardless of the reserve price. Ex.   floors to protect them from undesirable ads,
      19, ,, 11, 58; Ex. 144 at 218:15-219:10            for revenue diversity, and independence from
      ("[S]ome of the discussions about universal        Google. "Publishers have been willing to
      pricing rules is that given the unification of     tolerate some revenue loss in exchange for
      AdManager and [] AdExchange and especially         reduced dependence on Google as a whole.");
      as we were moving to a first price, the            Ex. 168, GOOG-DOJ-AT-00569648 at 9649
      different pricing rules for different exchanges    ("We could keep all the current floor-pricing
      really didn't make any sense because if it was     options and move to first-price auction and
      used as a way to increase yield in a second        this would have achieved most of what we
      price auction, but once you're moving to a         desperately need to fix our ecosystem.
      first price auction there's really no reason to    However, Adx team wanted to use this
      do it"); Ex. 157 at 633:6-633:13 ("Q. Why did      migration as an opportunity to significantly
      Google create the unified pricing rules? A. As     limit the ability of publishers to set floor-
      part of our move to a unified first price          prices per buyers (which is a good goal to
      auction, we wanted to design a new pricing         have"); Ex. 169, GOOG-NE-10660658 at
      rule structure that would be appropriate for the   0658 (Google acknowledges that it could just
      auction. The nature of how pricing rules work      move "to a 1st Price auction, but we'd need to
      is different in a first price and a second price   remove some floor control to achieve the
      auction, and so it was an appropriate time for     primary objective -- if not, pubs could set
      us to think about the design that we wanted for    different floors for AdX, EB, HB, etc, which
      the unified first price auction").                 we're looking to move away from."); Ex. 89,
                                                         GOOG-NE-10573952 at 0395 (




                                                                                                ). The
                                                         implementation ofUPR was unrelated to the
                                                         first price auctions themselves. With respect to
                                                         UPR, Google admitted that "Doing this by
                                                         itself makes it look extremely self serving."
                                                         See Ex. 168, GOOG-DOJ-AT-00569648 at
                                                         9648.




                                                    90
  Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24               Page 91 of 134 PageID #:
                                            47359
                                   ** FILED UNDER SEAL **

,     Google's Statement                               Plaintiff States' Response 1

201   Prior to 2019, publishers were unable to use     Disputed. See Davis Ex. 52, Gans Report at
      the Google Ad Manager interface to configure     176, 507 ("publishers had the option of
      reserve prices for third-party exchanges and     setting uniform floors across all sources of
      buyers participating in Open Bidding and         demand for simplicity's sake before UPR. It
      Header Bidding; as a result, they had to         was straightforward for a publisher to set its
      separately configure reserve prices on each      price floors across AdX, third party
      exchange and network where their inventory       exchanges, and buying tools to the same
      was available, which was a time consuming        value."); Ex. 223, GOOG-DOJ-14559099 at
      and complicated process. Ex. 8,, 535; Ex. 19,    9099 (Google held a partner event where UPR
      , 56.                                            was announced and publishers express
                                                       concern about
                                                                          ).
202   Because publishers could set different reserve   Disputed. See Ex. 224, GOOG-DOJ-
      prices on different exchanges for the same       15601956 (
      impression, advertisers bidding through a
      variety of ad buying tools into different                     ); Heinz Ex. 9, Pathak Rebuttal
      channels risked competing with themselves by     Rep. at 39, 96 ("Profs. Milgrom and Baye
      facing different reserve prices for the same     justify UPR as protecting "advertisers from
      impression. Ex. 19,, 59; Ex. 81 at -250          price-fishing." This justification is pretextual
      ("Today, buyers struggle to optimize when        because there is no evidence that price-fishing
      bidding across different channels due to lack    or self-competition is a widespread issue
      of symmetry: different auction rules and         facing advertisers. In addition, even if price-
      different floor prices can apply for the same    fishing were widespread, it would not be a
      impression.").                                   problem for a publisher ad server to solve.").
                                                       Advertisers were not competing with
                                                       themselves. Google's concern was that
                                                       advertisers were getting lower reserve prices
                                                       on other exchanges. See Ex. 89, GOOG-NE-
                                                       10573952 at 3953 ("AdX floors are the largest
                                                       block to adx transactions on eligible
                                                       inventory"); Ex. 89, GOOG-NE-10573952 at
                                                       3952 (




                                                                       ).




                                                  91
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24             Page 92 of 134 PageID #:
                                              47360
                                     ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

203   With UPR, the pricing rules became "unified,"       Undisputed.
      meaning that a publisher using GAM could no
      longer set as part of the bid request different
      pricing rules based on the identity of the ad
      exchange or the buying tool used by the
      advertiser, including setting a lower reserve
      price onAdX. Ex. 8,, 519; Ex. 19,, 60 &
      n.16; Ex. 66 at -665 ("Unified Pricing rules
      will not support the following functionalities
      that were present in Open Auction pricing
      rules: Buyer-specific floors: ability to set
      different floors for different buyers/bidders for
      a given inventory targeting ... publishers will
      still be able to: Set per-advertiser floors in
      Unified Pricing rules" (emphasis in original)).
204   With UPR, publishers can set a single reserve       Undisputed.
      price within the GAM interface that applies
      uniformly across all participants in the Unified
      First Price Auction, including AdX buyers,
      non-Google ad exchanges, and ad networks.
      Ex. 8,, 519; Ex. 19,, 60; Ex. 55 at -915; Ex.
      173 at 19:18-20:5 (


                               ); Ex. 149 at 80:6-17




                    ).




                                                     92
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24                Page 93 of 134 PageID #:
                                              47361
                                     ** FILED UNDER SEAL **

,     Google's Statement                                     Plaintiff States' Response 1

205   In this sense, UPR simplified the process of           Disputed. See Davis Ex. 52, Gans Opening
      setting price floors for publishers. Ex. 133 at        Rep. at 176, 507 (" ... [P]ublishers had the
      72:4-72:20 (                                           option of setting uniform floors across all
                                                             sources of demand for simplicity's sake before
                                                             UPR. It was straightforward for a publisher to
                                                             set its price floors across AdX, third party
                                                             exchanges, and buying tools to the same
                     ); Ex. 162 at 252:10-21 ("Q.            value."). Publishers responded negatively to
      What were the benefits ofUPR, in your view,            UPR. See Davis Ex. 39, Pathak Opening Rep.
      to publishers, if any? A. Well, the short-term         at 62 , 168 ("One publisher noted that under
      benefit, there were a couple. One was that it          the UPR change, Google is
      provided sort of a single interface where a
      publisher could go and configure all of their
      floors and just have it apply in one consistent
      way. Another was, as I said, the old pricing                        In addition,
      rules were very clunky, very error-prone. We
      routinely heard about mistakes that publishers
      had made or accidents. The old priority system
      was just hard to manage.").

                                                                                                 ).




                                                        93
  Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24               Page 94 of 134 PageID #:
                                            47362
                                   ** FILED UNDER SEAL **

,     Google's Statement                               Plaintiff States' Response 1

206   With UPR, advertisers faced the same reserve     Disputed. See Ex. 224, GOOG-DOJ-15601956
      prices when bidding across different channels    (
      in the Unified First Price Auction. Ex. 8, ,                                               .);
      520; Ex. 19,, 60. UPR thus limited the risk of   Heinz Ex. 9, Pathak Rebuttal Rep. at 39, 96
      self-competition when buyers bid across          ("Profs. Milgrom and Baye justify UPR as
      different channels and simplified the process    protecting "advertisers from price-fishing."
      of bidding. Ex. 8,, 521.                         This justification is pretextual because there is
                                                       no evidence that price-fishing or self-
                                                       competition is a widespread issue facing
                                                       advertisers. In addition, even if price-fishing
                                                       were widespread, it would not be a problem
                                                       for a publisher ad server to solve.").
                                                       Advertisers were not competing with
                                                       themselves. Google's concern was that
                                                       advertisers were getting lower reserve prices
                                                       on other exchanges. See Ex. 89, GOOG-NE-
                                                       10573952 at -953 ("AdX floors are the largest
                                                       block to adx transactions on eligible
                                                       inventory"); Ex. 89, GOOG-NE-10573952 at -
                                                       952 (




                                                                       ).




                                                  94
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 95 of 134 PageID #:
                                             47363
                                    ** FILED UNDER SEAL **

,     Google's Statement                                 Plaintiff States' Response 1

207   UPR does not apply to publishers using ad          Disputed. Publishers face the following
      servers other than GAM. Ex. 15 at 182:4-8          challenges when considering a move to
      ("Q. Does UPR have any effect on a publisher       competitors: 1) AdX is tied to DFP (GAM), so
      that chooses not to use DFP? A. As I               a publisher could not just move to another ad
      understand it, UPR was implemented through         server, (2) Even if they could separate from
      DFP, So not directly for other people."). UPR      AdX, the cost of moving to another ad sever
      also does not prevent publishers from setting      would be too high and (3) Google's data gives
      different price floors for different ad            it a strategic advantage over competitors. See
      exchanges using the tools made available by        Ex. 225, GOOG-DOJ-AT-02304321 at-321
      other ad exchanges. Ex. 19, , 61 .                 (NewsCorp notes "One of my biggest issues
                                                         with the current functionality and proposed
                                                         functionality of GAM is that AdX is currently
                                                         tied to DFP functionality leaving me to be
                                                         forced into using the adserver"; Davis Ex. 52,
                                                         Gans Opening Rep. at 114,348 ("Google's
                                                         monopoly power is demonstrated through the
                                                         following factors: a. Google has a large and
                                                         growing market share; b. High switching
                                                         costs, which have led to publisher lock-in on
                                                         the DFP ad server. .. ); Ex. 226, GOOG-NE-
                                                         13379438 at -439 & -441 (Presentation
                                                         entitled "Google data for DRX" states that


                                                                                    ).
208   Google provides GAM360 publishers with the         Disputed as to lack of a specified time frame.
      option to subscribe to data transfer files that
      contain non-aggregated event-level data of all
      ads served to their websites in order to help
      publishers understand the performance of their
      advertising inventory. Ex. 3, ,, 680-81; Ex.
      22, , 1O; Ex. 131 at 132: 13-20 (




                                 ). Different types of
      events-such as bids, impressions, and
      clicks-have separate data transfer files. Ex. 3,
      ,, 680-81; Ex. 22,, 10. GAM360 publishers
      can choose to receive some, none, or all of the
      data transfer files. Ex. 22, , 10.




                                                    95
  Case 4:20-cv-00957-SDJ            Document 738-1 Filed 12/30/24         Page 96 of 134 PageID #:
                                                47364
                                       ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

209   The Bid Data Transfer ("BDT") file is one        Undisputed.
      type of data transfer file and contains
      information about the bids the publisher
      received on its inventory. Ex. 3,, 680; Ex. 22,
      ,, 10, 11.
210   Prior to 2019, Google allowed Authorized         Disputed because publishers access data
      Buyers and Open Bidding Buyers to opt out of available due to joinability (until removed in
      including their bids in BDT files. Ex. 22, , 11; 2019), and Google acknowledged the impact
      Ex. 104 at -409 (                                of that change was significant. Ex. 227,
                                                       GOOG-NE-12792275 at-75, -77 (

                                                                 ;
                       ); Ex. 102 at -684 (

                                                                                       ); and at -76
                                                        (


                                                                     ).

                 ); Ex. 15 at 260:13-16 (



                            ).
211   Because many bidders chose to opt out, the        Disputed. See response to paragraph 210,
      BDT file did not provide publishers with          supra.
      information about the complete set of bids for
      their inventory. Ex. 22,, 11; Ex. 15 at 260:19-
      22 (


                  ); Ex. 131 at 147:3-15 (




           ); Ex. 59 at -294-95 (



                                         ).




                                                   96
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24                Page 97 of 134 PageID #:
                                               47365
                                      ** FILED UNDER SEAL **


 ~      Google's Statement                                   Plaintiff States' Response 1


                                                 Ex.
        22,~11.




212                                                          Disputed because

                    Ex. 59 at -294.


                                                                                {CONFIDENTIAL INFORMATION REDACTED}

                                                                              , see Ex. 228, GOOG-
                                                             AT-MDL-012771724 at -730.


                                                             See Ex. 229, GOOG-AT-MDL-B-005209693
                                                             at -694.

                                                                           . See Ex. 230, GOOG-AT-MDL-
                                                             C-000073682 at -90.
213     In 2019, as part of its migration to a UFPA,         Disputed. Publishers did not request the
        discussed supra~ 80, and in response to              removal of joinability ofBDT files. Many of
        publishers requesting more complete                  the publishers responded negatively to the
        information about the performance of the first       change. See Ex. 228, GOOG-AT-MDL-
        price auction, Google opted to provide               012771724 at 1725-1728 (
        GAM360 publishers who subscribed to the
        BDT file with bids submitted by all                                      ); See Ex. 231,
        Authorized Buyers (including Google Ads)             GOOG-AT-MDL-016627159 at 7162 (
        and Open Bidding Buyers. Ex. 159 at 36:10-
        37: 10 (



                                                                          )

                                                             The                                 referred to
                                      ); Ex. 102 at -        relates to Google's claim that the change was
        684 (                                                made to protect buyers" privacy rights." This
                                                             reason is pretextual. See Ex. 79, GOOG-DOJ-
                                                             29427368 at 68-0003 (




                                                        97
Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24              Page 98 of 134 PageID #:
                                          47366
                                 ** FILED UNDER SEAL **

,   Google's Statement                                Plaintiff States' Response 1

                                 ); Ex. 131 at
    136:19-137:13 (

                                                                                                  ;
                                                      Davis Ex. 32, Shafiq Rebuttal Rep. at 10 , 23
                                ); Ex. 62 at -        ("The privacy concern described by
    537 (                                             Defendant's experts and                  that the
                                                      data could be tied to individual users is
                                                      unsupported."); Davis Ex. 52, Gans Opening
                                                      Rep. at 235 , 697 (While explaining how data
                                                      redactions harmed competition, Gans noted:
                                                      "Together, these changes meant that
                                                      publishers lost the ability to compare relative
                                                      performances of exchanges in Header Bidding
                                                      and the ability to compare SSPs. This, in turn,
                         ).                           limited the ability of rival SSPs to compete
                                                      with Google by making it difficult for them to
                                                      demonstrate value to publishers and
                                                      simultaneously reducing publishers' incentives
                                                      to consider rival SSP offerings. Overall, these
                                                      changes made publishers more reliant on
                                                      Google's ad server, enhancing Google's
                                                      monopoly power in the ad server market and
                                                      harming competition in the ad exchange
                                                      market."); Davis Ex. 39, Pathak Opening Rep.
                                                      at 55, 150 ("The redaction of the DT
                                                      protected AdX against the threat of Header
                                                      Bidding because it removed publishers' ability
                                                      to measure Header Bidding results and
                                                      effectively target users"); Ex. 99, GOOG-AT-
                                                      MDL-006231727 at 1729 (




                                                                                               ); Ex.
                                                      100, GOOG-AT-MDL-B-004016318 at 6320
                                                      ("These changes will reduce the usefulness of
                                                      the Bid DT for publishers to understand the
                                                      value of their inventory and inform pricing
                                                      strategy decisions."); Ex. 79, GOOG-DOJ-
                                                      29427368 at 68-0001 (
                                                                                     {CONFIDENTIAL INFORMATION REDACTED}




                                                 98
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                       Page 99 of 134 PageID #:
                                             47367
                                    ** FILED UNDER SEAL **

,     Google's Statement                                 Plaintiff States' Response 1


                                                                  {CONFIDENTIAL INFORMATION REDACTED}
                                                                                .
214   To provide subscribed publishers with bids         Disputed. See Davis Ex. 32, Shafiq Rebuttal
      submitted by all Authorized Buyers (including      Rep. , 16.a ("I disagree with Defendant's
      Google Ads) and Open Bidding Buyers,               experts Drs. Hoffman, Milgrom, and Baye
      Google                                             who opine that Google redacted specific fields
                                                         from the Bid Data Transfer ("BDT") files due
                                                         to privacy concerns. Defendant's experts offer
                                                         no basis to justify the privacy concerns from
                                                         letting a publisher join Data Transfer ("DT")
                                                r        files for the ad auctions happening on the
           Ex. 104 at -409 (                             publisher's own website. Defendant's experts
                                                         ignore the fact that Google reversed the
                                                         redaction of the fields without any mitigations
                                                    );   to address the purported privacy concerns.").
      Ex. 22, ,, 12-13; Ex. 102 at -690 (




                                   ); Ex. 95 at -885
      (

                    ); Ex. 105 at -125 (same).
215   Specifically, Google was                           Disputed as Google's cited evidence only
                                       . Ex. 95 at -     references one specific entity          and no
      885; Ex. 22,, 13; Ex. 105 at -125; Ex. 131 at      other purported contracts with others and
      134:9-135:1                                        Google's other conduct undermines this
                                                         statement. See Davis Ex. 32, Shafiq Rebuttal
                                                         Rep., 16.b ("Contrary to Google's
                                                         representations to the Federal Trade
                                                         Commission ("FTC") and Congress '[t]hat
                                                         data is owned by the customers, publishers and
                   ).                                    advertisers, and DoubleClick or Google cannot
                                                         do anything with it,' Google joins user
                                                         browsing data it collects via DoubleClick from
                                                         publishers' websites to the personal
                                                         information of Google account holders
                                                         collected from Google owned and operated
                                                         ("O&O") websites and products (e.g., Google
                                                         Search, YouTube, Maps, Chrome).").



                                                    99
  Case 4:20-cv-00957-SDJ           Document 738-1 Filed 12/30/24                Page 100 of 134 PageID
                                             #: 47368
                                     ** FILED UNDER SEAL **

,     Google's Statement                                    Plaintiff States' Response 1

216   Google also sought to                                 Disputed. See Ex. 232, GOOG-NE-07834872
                                                            at -880 {CONFIDENTIAL INFORMATION REDACTED}
                  Ex. 102 at -690 (                         {CONFIDENTIAL INFORMATION REDACTED}



                                                            Davis Ex. 32, Shafiq Rebuttal Rep. at 10 , 23
                                                            ("The privacy concern described by
                                                                                           {CONFIDENTIAL INFORMATION REDACTED}
                                                            Defendant's experts and                  that the
                              ); Ex. 104 at -409            data could be tied to individual users is
      (                                                     unsupported.").




                                           ); Ex. 131
      at 135 :11-136:17 (

                      ); Ex. 131 at 140:25-142:19
      (




                                ); Ex. 159 at 44:8-
      45:11 (




                     ).




                Ex. 67 at -071 (




                                                      100
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 101 of 134 PageID
                                           #: 47369
                                   ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1




                                             ); Ex.
      159 at 46:2-46:17 (




                                        ).
217   To address these concerns, Google removed         Disputed that Google removed and redacted
      and/or redacted some information from the         fields from the BDT files to address privacy
      BDT files that otherwise could have been used     concerns. See Davis Ex. 32, Shafiq Rebuttal
      to join data transfer files together. Ex. 22,,    Rep. , 16.a ("I disagree with Defendant's
      13; Ex. 84 at -615 (                              experts Drs. Hoffman, Milgrom, and Baye
                                                        who opine that Google redacted specific fields
                                                        from the Bid Data Transfer ("BDT") files due
                                                        to privacy concerns. Defendant's experts offer
                                                        no basis to justify the privacy concerns from
                                                  ).    letting a publisher join Data Transfer ("DT")
                                                        files for the ad auctions happening on the
                                                        publisher's own website. Defendant's experts
                                                        ignore the fact that Google reversed the
                                                        redaction of the fields without any mitigations
                                                        to address the purported privacy concerns.").




                                                  101
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 102 of 134 PageID
                                            #: 47370
                                    ** FILED UNDER SEAL **

,     Google's Statement                                 Plaintiff States' Response 1

218   In response to publisher feedback, in January      Disputed as to the reason for Google's
      of 2024, Google made available to GAM360           purported actions. See Davis Ex. 32, Shafiq
      publishers two types of files: (1) a modified      Rebuttal Rep.,, 27-29 ("Google released the
      BDT file also called the "Joinable Bid Data        new version of BDT files in 2024 ...
      Transfer report file," which could be "joined      Specifically, Google reverted the two changes
      to other Data Transfer files containing bid        from 2019 ... Google internal documents
      information for requests originating outside of    produced in this matter and depositions of
      Europe" and (2) "non-joinable BDT files,"          Google employees fail to add any further color
      which are the same BDT files that have been        to the 2024 reversion of the BDT field
      available since September 2019. Ex. 22,, 14.       redactions. When reverting the changes,
                                                         Google provided no explanation about how it
                                                         addressed the purported privacy concerns,
                                                         which Google had used as a justification for
                                                         these redactions in 2019. Google's
                                                         unexplained about-face shows that privacy
                                                         was not a legitimate justification for the
                                                         redactions to the BDT files.").
219   Google launched RPO in 2015. Ex. 3,, 366;          Disputed. See Ex. 12, Korula Dep. Tr. at
      Ex. 4,, 289. As explained in Google's May          316:24-317:11 ("RPO, one could say, is
      2016, public-facing blog post, RPO "use[d]         intended to increase the price that buyers paid
      historical data" to increase certain reserve       and thereby increasing publisher revenue. Q:
      prices set by publishers, in hopes of bridging     How did RPO increase prices that buyers
      the "more than [] 50% price gap between bid        paid? A: Because the clearing price of an
      and closing prices in many cases." Ex. 46 at -     auction could be determined by the reserve
      319; Ex. 6, ,, 274-75; Ex. 1, ,, 30, 31. When      price. In cases where auctions would
      AdX ran a second-price auction-in which the        otherwise clear at very low prices ... setting a
      high bidder was charged the higher of the          higher reserve price might increase the
      second-highest bid or the reserve price-floor-     clearing [rice of such an auction, and thereby
      price optimization had an effect because it        increase the publisher's revenue."); id. at
      could determine the price the advertiser pays      323:17-19 (Q: Did RPO raise prices of ad
      and the publisher receives. See Ex. 8,, 60; Ex.    impressions? A. Yes."); id. at 325:24-326:4
      9,, 38 n.55; Ex. 17 at 203:21-204:4 ("[Q.] ...     ("THE WITNESS" I think that I still believe
      Is it your understanding that in a second-price    that an exchange that represented sort of a
      auction the highest bidder pays the greater of     second price, when, in fact, it was operating as
      the reserve price and the second highest bid?      first price or effectively first price is indeed
      A. Yes.").                                         misleading."); Ex. 233,            Dep. Tr. at
                                                         185 :4-8 ("A higher reserve price meant a
                                                         higher price for that query. And whoever was
                                                         the winner had to pay higher, yes."); Ex. 17,
                                                         GOOG-DOJ-32321240 at - 241 ("The main
                                                         sticking point is concern that we are launching
                                                         another mechanism (RPO) that squeezes
                                                         money from buyers and gives it to
                                                         advertisers"); Ex. 234, GOOG-DOJ-32062262


                                                   102
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24             Page 103 of 134 PageID
                                           #: 47371
                                   ** FILED UNDER SEAL **

,     Google's Statement                               Plaintiff States' Response 1

                                                       ("There are also projects that are concerned
                                                       with the redistribution of wealth--dynamic
                                                       RPO being a prime example").
220   As early as August 2014, before RPO's initial    Disputed to the extent implying or arguing that
      rollout, Google's Help Center article about      Google disclosed RPO in August 2014 and
      AdX stated that AdX "may run limited             that Google only ran "limited experiments."
      experiments designed to optimize the auction"    See Ex. 235, GOOG-TEX-00079344 (Google
      and that such experiments "may include ...       denies existence of RPO in response to
      modifying the min CPM set by the publisher       Digiday article); Ex. 21, GOOG-AT-MDL-
      for an impression." Ex. 42; Ex. 21,, 2.          017664768 at -771, 772 (Google tries to
      "Modifying the min CPM set by the                obscure RPO after clients have observed its
      publisher" means modifying the reserve price,    effects); Ex. 41, Korula Dep. Tr. Vol. 1 at
      i.e., the "minimum cost per mille" for a given   129:18-130: 6 (testifying that Google "run[s]
      impression. Ex. 18 at 161:17-25 (Q. "[W]hen      many hundreds of experiments in a year"); id.
      we talk about reserve price optimization, the    at 172:15-24 (
      reserve price that is being optimized in that
      conduct is the min CPM floor, right?" A. "The                                     ); id. at
      min CPM floor set by the publisher, yes.").      174:10-25 (no reason to doubt that


                                                                                  ); id. at. 178:9-21
                                                       ({CONFIDENTIAL INFORMATION REDACTED}
                                                                          ); Ex. 9, GOOG-AT-
                                                                                      {CONFIDENTIAL INFORMATION REDACTED}
                                                       MDL-B-001646464 at 468 ("



                                                                             ); Ex. 58,
                                                       Dep. Tr. at 198:23-199:17 (Google did not
                                                       explain that changing floor prices with RPO
                                                       "may create a situation where a buyer is
                                                       paying more because the floor price is going
                                                       up, as is the case for RPO."); Davis Ex. 1,
                                                       Weinberg Dep. Tr. at 18:5-11 ("Since issuing
                                                       my opening report, I have reviewed further
                                                       documents regarding the[] disclosure of RPO
                                                       by Google. These documents left me to
                                                       believe that the disclosures by Google
                                                       regarding RPO were insufficient. I now
                                                       consider RPO to be concealed for its entire
                                                       existence since Google's disclosures withheld
                                                       vital information regarding RPO.").




                                                 103
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24              Page 104 of 134 PageID
                                             #: 47372
                                     ** FILED UNDER SEAL **


 1     Google's Statement                                 Plaintiff States' Response 1

221    Google made additional disclosures about           Disputed. See Ex. 54, GOOG-AT-MDL-
       RPO in a May 12, 2016 blog post. Ex. 1,131         008051113 (internal May 2016 emails show
       (Google "announce[d] the [RPO] program [in]        Google wanted RPO to be "as soft a landing
       May 2016 ... in a blog post under the name         with buyers as possible" and indicate Google
       'optimized pricing"'); Ex. 6, 1274 ("Google        knew the blog post would be inadequate such
       announced the [RPO] program to its customers       that Google could only respond to post-blog
       under the name 'optimized pricing' on May          post inquiries using "legally approved
       12, 2016."). The May 2016 announcement             message in comms doc" and "everything else
       explained that RPO (or "optimized pricing")        is Verbal-only"); Ex. 55,            Dep. Tr. at
       would "help publishers set price floors ... that   260:7-10 (Q. Certainly you weren't disclosing
       more closely reflect the value of their            implementation details to advertisers, though,
       inventory," to address the "large price gap        agreed? A. Not all implementation, yes); Ex.
       between what a buyer bids and what they            55,           Dep. Tr. at 344:19-345: 3 ("THE
       pay." Ex. 46 at -318-19. It further explained      WITNESS: You know, we're designing these
       that the program "uses historical data to          features primarily for our sell-side clients for
       automate" the process of "updating of floor        the team that I'm on. And, no, I don't think all
       prices," determining optimal floors according      of the details of the features are something that
       to "signals like ad unit and device," as well as   you'd want to disclose to advertisers, every
       "audience-based floors." Id.                       detail of how it works."); Ex. 17, GOOG-
                                                          DOJ-32321240 at - 241 ("The main sticking
                                                          point is concern that we are launching another
                                                          mechanism (RPO) that squeezes money from
                                                          buyers and gives it to advertisers"); Ex. 234,
                                                          GOOG-DOJ-32062262 ("There are also
                                                          projects that are concerned with the
                                                          redistribution of wealth--dynamic RPO being
                                                          a prime example"); Ex. 40, GOOG-DOJ-
                                                          29803801 at -804, 816 (Per buyer floors not
                                                          disclosed).




                                                    104
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 105 of 134 PageID
                                           #: 47373
                                   ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

222   The May 12, 2016 blog post accurately             Disputed. See Ex. 54, GOOG-AT-MDL-
      describes RPO. Ex. 6,, 275 ("Internal Google      008051113 (internal May 2016 emails show
      documents suggest that RPO relies on an           Google wanted RPO to be "as soft a landing
      algorithmic optimization that 'sets optimized     with buyers as possible" and indicate Google
      reserve prices in AdX auctions' to 'increase      knew the blog post would be inadequate such
      the revenue for publishers' via 'modeling         that Google could only respond to post-blog
      effect of various reserve prices' and then        post inquiries using "legally approved
      'picking the best one."'); Ex. 8, , 103           message in comms doc" and "everything else
      ("Reserve Price Optimization (RPO) (also          is Verbal-only"); Ex. 55,            Dep. Tr. at
      known as Optimized Pricing) ... helped            260:7-10 (Q. Certainly you weren't disclosing
      publishers set floor prices in the AdX second-    implementation details to advertisers, though,
      price auction by increasing some floor prices     agreed? A. Not all implementation, yes); Ex.
      in bid requests to buyers when RPO                55,           Dep. Tr. at 344:19-345: 3 ("THE
      predicted-based on historical data on the         WITNESS: You know, we're designing these
      distribution of bids-that the higher floor        features primarily for our sell-side clients for
      prices would increase publisher revenues.").      the team that I'm on. And, no, I don't think all
                                                        of the details of the features are something that
                                                        you'd want to disclose to advertisers, every
                                                        detail of how it works."); Ex. 17, GOOG-
                                                        DOJ-32321240 at - 241 ("The main sticking
                                                        point is concern that we are launching another
                                                        mechanism (RPO) that squeezes money from
                                                        buyers and gives it to advertisers"); Ex. 234,
                                                        GOOG-DOJ-32062262 ("There are also
                                                        projects that are concerned with the
                                                        redistribution of wealth--dynamic RPO being
                                                        a prime example"); Ex. 40, GOOG-DOJ-
                                                        29803801 at -804, 816 (Per buyer floors not
                                                        disclosed).




                                                  105
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24               Page 106 of 134 PageID
                                            #: 47374
                                    ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

223   Google intended for the May 12, 2016 blog           Disputed. See Ex. 23, GOOG-AT-MDL-
      post to disclose the functioning of RPO, and        015109254 (March 2016 message from
      after publishing it understood the blog post to     Levitte stating that "[w]e can obscure the
      have disclosed the functioning of RPO. Ex.          comms language [re RPO] to remove sensitive
      109 at -980, -982 (Google's "plan [was] to          stuff'); Ex. 25, GOOG-DOJ-14736445
      announce" RPO in May 2016, through a                (               promotional email states that when
      "[d]etailed blog post"); Ex. 52 (Google             "RPO started getting noticed," he "worked on
      "announced new optimizations for                    a way to announce [RPO] to customers as
      DoubleClick Ad Exchange" that included              "optimized pricing" so that Google could
      "optimized pricing in the Open Auction (aka         "continue to develop it despite the sensitivity.
      RPO)").                                             .. of pub customers"); Ex. 54, GOOG-AT-
                                                          MDL-008051113 (internal May 2016 emails
                                                          show Google wanted RPO to be "as soft a
                                                          landing with buyers as possible" and indicate
                                                          Google knew the blog post would be
                                                          inadequate such that Google could only
                                                          respond to post-blog post inquiries using
                                                          "legally approved message in comms doc" and
                                                          "everything else is Verbal-only"); Ex. 236,
                                                          GOOG-TEX-003 74 779 (spreadsheet of pre-
                                                          announcement RPO comms w specific
                                                          advertisers showing Google wanted to
                                                          "highlight how this can encourage publishers
                                                          to make more money as a positive spin"); Ex.
                                                          17, GOOG-DOJ-32321240 at - 241 ("The
                                                          main sticking point is concern that we are
                                                          launching another mechanism (RPO) that
                                                          squeezes money from buyers and gives it to
                                                          advertisers"); Ex. 234, GOOG-DOJ-32062262
                                                          ("There are also projects that are concerned
                                                          with the redistribution of wealth--dynamic
                                                          RPO being a prime example"); Ex. 40,
                                                          GOOG-DOJ-29803801 at -804, 816 (Per
                                                          buyer floors not disclosed).
224   RPO "was deprecated in 2019 with the switch         Disputed. See Ex. 221, GOOG-AT-MDL-
      of AdX to the first-price auction format." Ex.      004285638 (Google discussing how to launch
                                                          {CONFIDENTIAL INFORMATION REDACTED}
      6,, 274; see also Ex. 1,, 31 ("[O]n or about                                           ).
      September 25, 2019, Google publicly migrated
      to a first-price auction format on AdX, thus
      effectively ending the RPO program.").
225   No later than August 2014, Google's Help            Disputed. See Ex. 54, GOOG-AT-MDL-
      Center article on AdX included the following        008051113 (internal May 2016 emails show
      information:                                        Google wanted RPO to be "as soft a landing



                                                    106
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24               Page 107 of 134 PageID
                                            #: 47375
                                    ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

      DoubleClick Ad Exchange determines the              with buyers as possible" and indicate Google
      winning bidder based on the highest net bid         knew the blog post would be inadequate such
      submitted. Such net bid reflects any                that Google could only respond to post-blog
      adjustments Ad Exchange may, at its                 post inquiries using "legally approved
      discretion, have made to the bid submitted by       message in comms doc" and "everything else
      the buyer for the purpose of optimizing the         is Verbal-only"); Ex. 55,            Dep. Tr. at
      auction.                                            260:7-10 (Q. Certainly you weren't disclosing
      Ex. 42; Ex. 21,, 2.                                 implementation details to advertisers, though,
                                                          agreed? A. Not all implementation, yes); Ex.
                                                          55,           Dep. Tr. at 344:19-345 : 3 ("THE
                                                          WITNESS : You know, we're designing these
                                                          features primarily for our sell-side clients for
                                                          the team that I'm on. And, no, I don't think all
                                                          of the details of the features are something that
                                                          you'd want to disclose to advertisers, every
                                                          detail of how it works."); Ex. 17, GOOG-DOJ-
                                                          32321240 at - 241 ("The main sticking point is
                                                          concern that we are launching another
                                                          mechanism (RPO) that squeezes money from
                                                          buyers and gives it to advertisers"); Ex. 234,
                                                          GOOG-DOJ-32062262 ("There are also
                                                          projects that are concerned with the
                                                          redistribution of wealth--dynamic RPO being
                                                          a prime example"); Ex. 40, GOOG-DOJ-
                                                          29803801 at -804, 816 (Per buyer floors not
                                                          disclosed).
226   In 2019, Google first announced the transition      Undisputed that the graphic appears in the
      to a first-price auction in a blog post with the    Google-produced document.
      following graphic:
227   Additionally, Google's Help Center article          Undisputed that the text appears in the
      about "Auction Dynamics" in the unified first       Google-filed document.
      price auction included the following:
      How Open Bidding Works (attached as
      Exhibit F to Google's 12(b)(6) Motion to
      Dismiss, ECF No. 224-1).




                                                    107
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 108 of 134 PageID
                                            #: 47376
                                    ** FILED UNDER SEAL **


1     Google's Statement                                 Plaintiff States' Response 1

228   When a user (using any browser, whether            Disputed as to the information Google
      Google's or otherwise) visits a website from a     displays to advertisers and that Google "made
      personal computer or mobile device, a              this information available to advertisers for
      "cookie" (packet of data) may be stored on         free." See Ex. 48 (GOOG-AT-MDL-
      that user's browser (with the user's consent).     013918668) (displaying to the advertiser user
      Ex. 169 at 149:20-150:14; Ex. 23, 12. Some         data, including device type, internet protocol
      cookies are used-again, with consent-to            address, and geolocation.); Ex. 73 (GOOG-
      track a user's web browsing history across         DOJ-AT-01933085) (concerns about
      multiple websites, which creates a profile of      "[h]undreds of potential bidders" receiving
      and assigns a unique and anonymous cookie          and storing this "bidstream" data "to compile
      ID number to the browser and enables ad tech       exhaustive dossiers" about web users).
      to deliver targeted advertising. Ex. 169 at
      150:15-21, 152:9-153:1. When that user visits
      a different website that has ad impressions
      available for sale, this website's publisher ad
      server sends a bid request to an ad exchange,
      which bid request includes the cookie
      information as well as information about the
      available impression. Ex. 8, 1273; Ex. 22, 16.
      Ad exchanges also facilitate cookie matching,
      which involves building a mapping between
      cookie IDs of two parties (commonly the ad
      exchange and the ad-buying tool), to allow ad
      buying tools to determine whether the browser
      with that cookie ID has shown interest in its
      advertisers' products or services-which, in
      tum, allows a prospective advertiser to place a
      value on the impression. Ex. 8,148; Ex. 169
      at251:4-252:16. But the advertisers bidding
      on an impression do not know any personally
      identifiable information about the internet user
      who is loading the webpage containing the
      impression; they instead may know that the
      user recently visited a sporting goods website
      or lives in Idaho. Ex. 169 at 150:15-21, 251 :4-
      252:16; Ex. 22, 15. Google made this
      information available to advertisers for free,
      not for a price; the winning advertiser paid a
      price for an ad, without regard to the amount
      or quality of the data shared. Ex. 6, 1174, 78
      (ad buying tools and ad exchanges earn
      revenue "as a fraction of payments made" by
      winning advertisers); Ex. 23, 11 4-7.




                                                   108
     Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24               Page 109 of 134 PageID
                                              #: 47377
                                      ** FILED UNDER SEAL **


 1     Google's Statement                                  Plaintiff States' Response 1

229    Google's Privacy Policy defines personal            Disputed as to Google's previous privacy
       information as "information that you provide        policies and the lack of relevant time period
       to us which personally identifies you, such as      for the statement, where this statement is not
       your name, email address, or billing                accurate for previous privacy policies. See Ex.
       information, or other data that can be              237, GOOG-AT-MDL-008929152.
       reasonably linked to such information by
       Google, such as information we associate with
       your Google Account." See Google Privacy
       Policy effective Dec. 19, 2019 (attached as
       Exhibit E to Google's 12(b)(6) Motion to
       Dismiss, ECF No. 224-1).
230    The Privacy Policy further disclosed the            Undisputed that the text appears in the
       following:                                          Google-filed document.
231    The Policy also provided a link for the users of    Disputed as to unspecified time. A link as
       Google's services to change their his/her           described was added in August of 2015 and
       settings to limit the sharing of information. Id.   was not present before. See Ex. 238
                                                           (https://policies.google.com/privacy/archive/2
                                                           0150630-20150819?hl=en).
232    Plaintiffs' antitrust claims relating to Reserve    Disputed as to RPO. See Ex. 17, GOOG-DOJ-
       Price Optimization (RPO) have been                  32321240 at - 241 ("The main sticking point is
       dismissed. 4 Judge Castel found that Plaintiffs     concern that we are launching another
       failed to plausibly allege competitive harm         mechanism (RPO) that squeezes money from
       deriving from RPO in the markets for                buyers and gives it to advertisers"); GOOG-
       publisher ad servers, ad buying tools for large     DOJ-32062262 ("There are also projects that
       and small advertisers, and ad exchanges. In re      are concerned with the redistribution of
       Google Digit. Advert. Antitrust Litig., 627 F.      wealth--dynamic RPO being a prime
       Supp. 3d 346, 391-93 (S.D.N.Y. 2022). RPO           example"); Davis Ex. 29, Expert Report of
       was a process that helped publishers set            John Chandler, p. 931360 ("RPO, DRSvl,
       optimal reserve prices by automating the            and Bernanke each represented a change to the
       selection of reserve prices on a dynamic, per-      auction rules ... made it impossible for auction
       impression basis, based on historical bid data.     participants and competing exchanges to
       Ex. 73 at -158; Ex. 61 at -915-16; Ex. 184 at       understand the rules that governed and applied
       31:11-16; Ex. 18 at 161:17-25. Plaintiffs'          to auctions run by Google, skewing decision-
       experts do not opine that RPO was                   making and outcomes."); Davis Ex. 29, Expert
       anticompetitive. Ex. 15 at 148:5-9, Ex. 11,         Report of John Chandler, p.961380
       Table 1.                                            ("RPO ... originated as [one of their] "yield
                                                           optimization experiments." .. .If the experiment
                                                           successfully increases Google's revenue in a
                                                           way that outweighs its perceived negative
                                                           impacts, then Google will "launch" the
                                                           algorithm so that it is applied to all auctions.").




                                                     109
     Case 4:20-cv-00957-SDJ       Document 738-1 Filed 12/30/24              Page 110 of 134 PageID
                                            #: 47378
                                    ** FILED UNDER SEAL **


 ~     Google's Statement                                Plaintiff States' Response 1

233    Plaintiffs' Section 1 claims relating to the      Disputed. See Davis Ex. 52, Gans Opening
       Network Bidding Agreement ("NBA") have            Rep. at 13 n.3 ("I also address additional
       already been dismissed. In re Google Digit.       conduct-Project Poirot and Google's
       Advert. Antitrust Litig., 627 F. Supp. 3d 346,    Facebook agreement-aimed at limiting the
       372-77 (S.D.N.Y. 2022). Plaintiffs' experts do    impact of Header Bidding. Collectively, the
       not opine that the NBA was anticompetitive.       conduct I have analyzed in this report
       Ex. 15 at 148:20-24; Ex. 11, Table 1.             constitute a pattern of anticompetitive
                                                         behavior on the part of Google."); id. at 291-
                                                         96 (analyzing the Facebook agreement as one
                                                         of Google's "additional actions aimed at
                                                         limiting the impact of Header Bidding that
                                                         reinforce my economic conclusion that the
                                                         conduct I have analyzed in detail in this report
                                                         constituted a pattern of anticompetitive
                                                         behavior on the part of Google."); ECF No.
                                                         327 at 2, 5 ("Nor did the court address whether
                                                         the NBA violated Section II of the Sherman
                                                         Act. ... Discovery relating to the NBA
                                                         agreement is relevant to those [DTPA] claims,
                                                         as well as the claim made under Section II of
                                                         the Sherman Act."); Ex. 239, GOOG-TEX-
                                                         00970722 at -733 (calling Facebook use ofHB
                                                         a "nightmare senario."); Ex. 240, GOOG-NE-
                                                         044 21287 (calling FAN and HB threat a # 1
                                                         priority); Ex. 241, GOOG-NE-06602063 (PPT
                                                         pm FAN deal discussion); Ex. 242, GOOG-
                                                         DOJ-27769247 at -256 (pros and cons of
                                                         Google partnering with FAN with respect to
                                                         Header Bidding).




                                                   110
  Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 111 of 134 PageID
                                           #: 47379
                                   ** FILED UNDER SEAL **

,     Google's Statement                                Plaintiff States' Response 1

234   Plaintiffs' antitrust claims relating to Open     Disputed. See Davis Ex. 52, Expert Report of
      Bidding, discussed supra,, 65-74, have            Joshua Gans at 208,604. ("Google
      already been dismissed. In re Google Digit.       introduced Exchange Bidding .. .in response to
      Advert. Antitrust Litig., 627 F. Supp. 3d at      the competitive threat from Header Bidding.
      393-95. Plaintiffs' experts do not opine that     When Google introduced Exchange Bidding, it
      Open Bidding was anticompetitive. Ex. 15 at       maintained its Last Look advantage ... This
      148:15-19; Ex. 11, Table 1.                       enables conduct such as DRS to continue in
                                                        real time as Google can dynamically adjust
                                                        AdX take rates to transact impressions it
                                                        would have otherwise lost. EDA harmed
                                                        competition in the ad exchange market and
                                                        reinforced Google's market power in the ad
                                                        serving market."); id. at 164, note 594 ("Open
                                                        Bidding and Exchange Bidding refer to the
                                                        same Google ad server product. I use these
                                                        two terms interchangeably throughout the
                                                        report."); Ex. 243, GOOG-TEX-00093279 at
                                                        -80 and -84. ("[Y]ou mention a critical word,
                                                        "unfair" -- what the pub considers fair may not
                                                        be what we consider fair, and may not even
                                                        lead to their maximum possible revenue.").
235   Project Bell changed Google Ads' bidding          Disputed. See Davis Ex. 29, Chandler
      behavior for multi-calling publishers. Ex. 24,    Opening Rep. at 9 (" ... Bell. .. jeopardized, and
      ,, 16-21; Ex. 150 at 373:16-374:7. Plaintiffs'    detrimentally affected, transparency and
      experts do not opine that Project Bell was        fairness of the auctions in which they were
      anticompetitive. Ex. 11, Table 1.                 employed.").
236   Project Elmo was an optimized form of budget      Disputed. See Ex. 244, GOOG-NE-09426318
      throttling or management in response to a         at -18 ("One additional point .. .is that [E]lmo
      multicaller. Ex. 8,, 195; Ex. 152 at 226:25-      is also protecting against header bidding.");
      227:7. Plaintiffs' experts do not opine that      Davis Ex. 52, Expert Report of Joshua Gans at
      Project Elmo was anticompetitive. Ex. 15 at       292 ,865 ("[Projects Poirot and Elmo] are
      149:5-9; Ex. 11, Table 1.                         examples of the actions that Google could take
                                                        to alter the flow of information into markets in
                                                        ways that were not motivated by the needs of
                                                        Google consumers (publishers/advertisers)
                                                        but ... made it more difficult for rival
                                                        exchanges and entrants to compete.").




                                                  111
    Case 4:20-cv-00957-SDJ       Document 738-1 Filed 12/30/24                          Page 112 of 134 PageID
                                           #: 47380
                                   ** FILED UNDER SEAL **


1     Google's Statement                                Plaintiff States' Response 1

237   Project Poirot was an algorithm designed to       Disputed. See Ex. 245, GOOG-AT-MDL-
      protect DV360 advertisers from overbidding        001396947 at 47 ("Below is the ... Poirot
      on exchanges that deviated from second-price      potential impact .. .a major contribution to our
      auctions. Ex. 24,126; Ex. 33 at-376-77; Ex.       profitability goals!"); Ex. 246, GOOG-AT-
      153 at 267:9-14. Plaintiffs' experts do not       MDL-012549335 ({CONFIDENTIAL INFORMATION REDACTED}
      opine that Project Poirot was anticompetitive.    {CONFIDENTIAL INFORMATION REDACTED}
                                                        {CONFIDENTIAL INFORMATION REDACTED}
      Ex. 15 at 148:25-149:4; Ex. 11, Table 1.                                                ."); Ex. 247, GOOG-NE-
                                                                                       {CONFIDENTIAL INFORMATION REDACTED}
                                                        11275306 at 306 ("


                                                                ) (Note: Tagged "Exclude, not for
                                                        trial."); Davis Ex. 52, Expert Report of Joshua
                                                        Gans at 2921 865 ("[Projects Poirot and Elmo]
                                                        are examples of the actions that Google could
                                                        take to alter the flow of information into
                                                        markets in ways that were not motivated by
                                                        the needs of Google consumers
                                                        (publishers/advertisers) but ... made it more
                                                        difficult for rival exchanges and entrants to
                                                        compete."); id. at at 13 n.3 ("I also address
                                                        additional conduct-Project Poirot and
                                                        Google's Facebook agreement-aimed at
                                                        limiting the impact of Header Bidding.
                                                        Collectively, the conduct I have analyzed in
                                                        this report constitute a pattern of
                                                        anticompetitive behavior on the part of
                                                        Google.").
238   In their depositions, however, representatives    Disputed. See infra Plaintiffs' Responses to
      of each State admitted that they could not        Paragraphs 239-255.
      identify any instances of in-state conduct or
      harm resulting from Google's conduct
      allegedly actionable under their respective
      deceptive trade practices statutes:
239   Alaska. Alaska's representative could not         Disputed as to the existence of in-state and
      identify any in-state publisher, advertiser, or   state-specific conduct or harm. See Ex. 248,
      ad tech competitor that was harmed by             Jeffrey Pickett Deposition at 21 :6-16 ("A. So
      Google's conduct, and admitted that Alaska        through the course of the information and
      did not attempt to locate any. Ex. 176 5/3/2024   evidence developed in the coalition's
      at 78 :11-22 ("[I]t's not something we looked     investigation, what became apparent was that
      for."), id. at 21 :7-11 ("[W]hat became           the Google conduct that we focused on in the
      apparent was that the Google conduct that we      Ad Tech matter was national in scope and,
      focused on in the Ad Tech matter was national     therefore, impacted Alaskans. I believe there's
      in scope and, therefore, impacted Alaskans."      likely to be expert testimony that sort of backs
      (emphasis added)), id. at 42:18-22 ("[T]he        that up. And so that was, you know -- that


                                                  112
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24                Page 113 of 134 PageID
                                            #: 47381
                                    ** FILED UNDER SEAL **


~     Google's Statement                                  Plaintiff States' Response 1

      State of Alaska has not talked to a specific        checked that box to answer, I think, the
      advertiser based in Alaska or specific              question that you've asked me."), id. at 41:9-
      publisher based in Alaska. As part of our           42:18 ("Q. Okay. So Alaska is relying on
      investigation, we have not done that."              Texas for the harm to Alaska's general welfare
      (emphasis added)). Alaska did not receive any       and economy. Is that right? A. Yes, in this
      consumer complaints regarding Google's              sense, in this sense. So Google's conduct, its
      display advertising products. Id. at 32:5-7.        technology is sort of universal, I would say, or
      Alaska's representative admitted there are no       that's my understanding, universal in the sense
      facts specific to Alaska that support its state-    that its products reach all 50 states, territories,
      law claims. Id. at 44:24-45 :3, 64:15-20.           you know, obviously around the world as well.
                                                          But, anyway, with respect to this lawsuit, what
                                                          concerns Alaska is the fact that tech reaches
                                                          into Alaska. I think Mr. Gordon testified as to
                                                          how that tech is harmful to publishers and
                                                          advertisers. So for the reasons he provided,
                                                          you know, that would be the factual basis for
                                                          Alaska's, you know, complaint as well or for
                                                          its allegation that our general economy has
                                                          been harmed. Q. So Alaska doesn't have any
                                                          Alaska-specific harm in addition to the
                                                          information that Alaska's relying on from
                                                          Texas' representative? MR. ENGELBECK:
                                                          Objection, form. A. Well, Alaska specific. I
                                                          mean, I think that what --you know, some of
                                                          that question I would have to answer by
                                                          pointing to expert sort of reports that will be
                                                          coming out. And then, in addition to what the
                                                          experts are going to talk about, will include, as
                                                          I understand it, Alaska based -- you know,
                                                          how Google's tech has intersected with or
                                                          been used in Alaska. In addition to that, Mr.
                                                          Gordon, I think, gave fulsome responses to the
                                                          common facts that we believe also exist -- that
                                                          also attend Google products in tech that is
                                                          used by Alaskan publishers and advertisers.").




                                                    113
     Case 4:20-cv-00957-SDJ       Document 738-1 Filed 12/30/24                Page 114 of 134 PageID
                                            #: 47382
                                    ** FILED UNDER SEAL **


 ~     Google's Statement                                   Plaintiff States' Response 1

240    Arkansas. Arkansas' representative admitted          Disputed as to the existence of in-state and
       that the state has no evidence of any state-         state-specific conduct or harm. See Ex. 249,
       specific harm caused by Google. Ex. 147 at           Chuck Harder Deposition, at 24:22-25:6 ("Q.
       30:6-10 ("[W]e don't have any evidence that          So -- so it's fair to say that the State of
       the harm to Arkansas citizens is any different       Arkansas joined this lawsuit not knowing one
       than the harm nationally."). Arkansas has also       way or the other whether what it's alleging
       not received any consumer complaints                 benefits Arkansas consumers or hurts
       regarding Google's Ad Tech products. Id. at          Arkansas consumers; is that right? A. No, we
       35:18-22.                                            joined the lawsuit -- we joined the lawsuit.
                                                            The harm -- the harm is a harm nationwide
                                                            that we believe to be substantial and
                                                            widespread and we believe that the harm to
                                                            Arkansans was -- we have no reason to believe
                                                            that the harm to Arkansans is any different
                                                            than the national harm to -- national harm."),
                                                            id at 30:6-19 ("Q. Do you have any evidence
                                                            about harm to Arkansas's citizens - A. I don't
                                                            have any -- I don't have any -- we don't have
                                                            any evidence that the harm to Arkansas
                                                            citizens is any different than the harm
                                                            nationally. Q. So -- so is it the State's
                                                            contention that widespread national harm is
                                                            the harm to Arkansas citizens? A. We -- no,
                                                            the -- we do not believe -- we have no reason
                                                            to believe that Arkansas was -- that the harm
                                                            to Arkansas was any less or any more than it
                                                            was nationally at this point. It will not know
                                                            until discovery is concluded and we have the
                                                            reports of our experts.").
241    Florida. Florida's designated representative         Disputed as to the existence of in-state and
       could not name one Florida-based advertiser          state-specific conduct or harm. See Ex. 250,
       or publisher who was harmed by Google's              Andrew Butler Deposition, at 47:20-50:1 ("Q
       alleged conduct. Ex. 134 at 54:21-55:2 ("I           What is the factual basis for Florida's
       don't have a specific one for you today.").          assertion that individual -- that 22 million
                                                            individuals in the State of Florida suffered
                                                            irreparable harm as a result of Google's
                                                            alleged conduct? A So the factual bases
                                                            underlying those effects on the nationwide
                                                            market and then those effects being
                                                            demonstrated inside of Florida, which could
                                                            be the subject of expert opinion. Experts
                                                            quantify and measure harm. Q You also
                                                            mentioned that there were certain businesses
                                                            within the State of Florida who you allege


                                                      114
    Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24         Page 115 of 134 PageID
                                       #: 47383
                               ** FILED UNDER SEAL **


~     Google's Statement                       Plaintiff States' Response 1

                                               experienced irreparable harm as a result of
                                               Google's alleged conduct; is that right? A
                                               That's correct. Q What businesses are you
                                               referencing? A So the Florida Department of
                                               State has three and a half million active
                                               registrations for businesses. Google's
                                               transactional data can demonstrate which of
                                               the affected businesses. Those might be in the
                                               State. And expert testimony and reports are
                                               ongoing. Q I'm trying to understand. With
                                               respect to those three and a half million
                                               businesses that are identified by the Florida
                                               Department of State, what are the facts
                                               underlying Florida's claim that those
                                               businesses have suffered irreparable harm
                                               because of Google's alleged conduct? A So
                                               the harm to the markets that they participate in
                                               is common to all of the Plaintiff States and so
                                               that harm, questions surrounding that, I'd refer
                                               to the other witness. But there are three and a
                                               half million businesses in the State of Florida.
                                               Advertising is important to all businesses. The
                                               internet is ubiquitous. And the specifics of the
                                               harm caused by Google's conduct could be a
                                               matter of expert discovery that is ongoing. Q
                                               So you can't point to any specific evidence
                                               that advertisers or publishers within the State
                                               of Florida were harmed by Google's alleged
                                               conduct? MR. PALMER: Objection to
                                               form. MR. ISTRAIL: Objection to form. A
                                               That's not what I said. That evidence, I believe
                                               is -- so you take the evidence demonstrating
                                               that there's harm in the nationwide market that
                                               all of these people are participating in. They're
                                               Florida businesses, they're small businesses,
                                               they're a peer in the State. They're
                                               participating in a market that's been
                                               monopolized. They 're experiencing the harms
                                               just like everyone else in the nationwide
                                               market. But those harms are specific to us in
                                               Florida because they' re our businesses.
                                               They' re doing business with our citizens. They
                                               are our citizens running it, and expert
                                               testimony will quantify where and to what


                                         115
     Case 4:20-cv-00957-SDJ      Document 738-1 Filed 12/30/24              Page 116 of 134 PageID
                                           #: 47384
                                   ** FILED UNDER SEAL **


 ~     Google's Statement                               Plaintiff States' Response 1

                                                        extent and how all of these harms occur."); see
                                                        id. at 75:20-76:6 (" Q So the only Florida-
                                                        specific fact you can identify supporting your
                                                        claim of irreparable harm under the DTPA is
                                                        that Floridians participated in the general
                                                        market; is that right? MR. PALMER:
                                                        Objection as to form. A I believe the facts
                                                        underlying the harm specific to Florida is that
                                                        we have 22 million people participating, with
                                                        ubiquitous use of internet, three and a half
                                                        million businesses participating. And I believe
                                                        that expert testimony can go a long way in
                                                        elucidating and quantifying this, rather than
                                                        me pontificating about it.").
242    Idaho. Idaho's representative could not          Disputed as to the existence of in-state and
       identify any Idaho-specific harm caused by       state-specific conduct or harm. See Ex. 251,
       Google's actions with respect to its ad tech     John Olson Deposition, at 68:1-24 ("Q. (BY
       products. Ex. 172 at 58:24-59:8, 63:13-25        MS. CURRAN) And the State ofldaho
       ("I'm not aware currently of any independent     doesn't have any evidence, as you sit here
       Idaho facts regarding the harm to Idaho          today, about the population of the citizens of
       individuals or citizens.").                      the state ofldaho affected by Google's alleged
                                                        conduct, correct? MS. SCHULTZ: Object to
                                                        form. THE WITNESS: I'm aware that there
                                                        are just shy of 2 million people in the state of
                                                        Idaho, and because of the ubiquitous nature of
                                                        the use of Internet and Internet advertising, a
                                                        large portion of that group -- of the people in
                                                        Idaho as well as publishers and advertisers
                                                        both suffered the harm. Beyond that, I can't
                                                        identify any unique or separate specific
                                                        evidence of the alleged harm in Idaho. Q. (BY
                                                        MS. CURRAN) But to be clear: Sitting here
                                                        today, the State of Idaho does not have any
                                                        specific evidence about the population of the
                                                        citizens of the state affected by Google's
                                                        alleged conduct, right? MS. SCHULTZ:
                                                        Object to form. THE WITNESS: Yes.
                                                        Although that, again, a finer point may be put
                                                        to that through expert reports and discovery.").




                                                  116
     Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 117 of 134 PageID
                                              #: 47385
                                      ** FILED UNDER SEAL **


 ~     Google's Statement                                  Plaintiff States' Response 1

243    Indiana. Indiana's representative admitted that     Disputed as to the existence of in-state and
       the state could not identify any Indiana-           state-specific conduct or harm. See Ex. 252,
       specific evidence of harm other than what has       Steven Taterka Deposition at 77:23-78:14 (" Q
       been alleged by the plaintiff states on a nation-   What is the factual basis for the allegations by
       wide basis. Ex. 189 at 113:9-13, 77:23-78:4         the State oflndiana that Google's alleged
       ("Q. What is the factual basis for the              conducted harmed publishers in the state of
       allegations by the State of Indiana that            Indiana? A We believe that the common set of
       Google's alleged conducted [sic] harmed             facts which Texas has testified to would apply
       publishers in the state oflndiana? A. We            to Indiana, the same as any other state. Q As
       believe that the common set of facts which          you sit here today, can the State oflndiana
       Texas has testified to would apply to Indiana,      name a single advertiser in the State of Indiana
       the same as any other state.").                     that uses Google ad tech products to sell
                                                           display advertising? A I can't name a specific
                                                           advertiser, but I would just reiterate that with
                                                           discovery still pending and with expert
                                                           testimony to come, there may be some specific
                                                           names. In a state of seven million people,
                                                           there's bound to be some publishers and
                                                           advertisers here."); see id. at 79:12-19 (" Q
                                                           What about end users? How many end users
                                                           are there that the State oflndiana contends
                                                           have been harmed? MR. WILKERSON:
                                                           Objection. Form. A I can't possibly come up
                                                           with a number beyond telling you that there's
                                                           seven million people in the state and a lot of
                                                           them have computers, myself included.").




                                                     117
     Case 4:20-cv-00957-SDJ       Document 738-1 Filed 12/30/24             Page 118 of 134 PageID
                                            #: 47386
                                    ** FILED UNDER SEAL **


 ~     Google's Statement                               Plaintiff States' Response 1

244    Kentucky. Kentucky's representative was          Disputed as to the existence of in-state and
       unable to identify any harm specific to          state-specific conduct or harm. See Ex. 116,
       Kentucky from Google's conduct as alleged in     Jonathan Farmer Deposition at 39: 16-42:25
       this case. Ex. 141 at 172:6-17 ("Q ... .I'm      ("Q. Okay. So let's move to the allegation that
       asking if you have seen documents from           Kentucky's general welfare or economy has
       entities in Kentucky showing that they were      been harmed. And we've described--you've
       harmed by Google's conduct. A. ... There are     described some of the categories of -- of
       documents produced in discovery that show        people or entities who have been injured. Do
       national harm, and national harm would           you remember that testimony? A. You're
       obviously include Kentucky."), id. at 173:9-25   referring to the publishers, advertisers and
       (referring question of Kentucky-specific harm    consumers? Q. Exactly, yes. How widespread
       to Mr. Gordon [Texas's representative]           is this impact in the State? A. It's ubiquitous.
       "because he testifies on behalf of all common    You know, it impacts a substantial portion of
       facts on behalf of Kentucky," but                the consumers in Kentucky as well as
       acknowledging that Mr. Gordon did not testify    probably a substantial portion of the
       regarding harm specifically to Kentucky          advertisers and publishers as well. "); see id. at
       residents). The representative also admitted     172:6-17 ("Q. I'm not asking you to speculate
       that none of the consumer complaints             about what documents show. I'm asking if you
       produced by Kentucky mentioned Google's          have seen documents from entities in
       Ad Tech or related products. Id. at 155:5-16.    Kentucky showing that they were harmed by
                                                        Google's conduct. A. Like I say, I've seen
                                                        national -- I've seen documents -- sorry. There
                                                        are documents produced in discovery that
                                                        show national harm, and national harm would
                                                        obviously include Kentucky. There is no
                                                        reason that Kentucky somehow wouldn't be
                                                        applicable to an ad program that Google runs
                                                        worldwide.").

245    Louisiana. Louisiana's representative was        Disputed as to the existence of in-state and
       unable to identify any Louisiana-specific harm   state-specific conduct or harm. See Ex. 253,
       from Google's alleged conduct, citing only the   Patrick Voelker Deposition, at 31 :8-3 2: 19 ("Q.
       nationwide harm "testified by Texas on           And in proceeding as parens patriae, on whose
       Louisiana's behalf' and unidentified expert      behalf is the State of Louisiana proceeding?
       reports. Ex. 192 at 37:17-38:3, 39:20-40:1,      A. Sure, the parens capacity is a constitutional
       64:5-65:15.                                      grant of authority by which the attorney
                                                        general, as the chief legal officer of the State
                                                        of Louisiana, is empowered to bing -- excuse
                                                        me, bring and vindicate claims on behalf of
                                                        Louisiana citizens. Q. So on whose behalf?
                                                        A. Would be the citizens of Louisiana. And I
                                                        think if a particular answer is needed,
                                                        publishers and advertisers along with the
                                                        citizens at large. Q. And have any of these


                                                  118
    Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24          Page 119 of 134 PageID
                                       #: 47387
                               ** FILED UNDER SEAL **


~     Google's Statement                       Plaintiff States' Response 1

                                               groups complained to Louisiana about
                                               Google's ad tech/display advertising business?
                                               MR. ELLIS: Objection; form. A. I think the
                                               investigation that Texas conducted revealed a
                                               series of conduct on the part of Google that,
                                               you know, is a national harm. And to the
                                               extent that that is -- you know, that that harm
                                               applies to Texas, it applies just as equally to
                                               the citizens of Louisiana. BY MS.
                                               BAYOUMI: Q. How so? A. Because the
                                               harm, you know, that was determined through
                                               the investigation was determined to be
                                               anticompetitive and affect negatively the
                                               citizens of this nation at whole, and therefore,
                                               it applies to Louisiana, as well, the harm. Q.
                                               Did Louisiana do any investigation into - into
                                               the alleged harm specific to Louisiana? A.
                                               Louisiana was not part of the multistate
                                               investigation. It was made aware of the results
                                               of that investigation and the harm that, you
                                               know, pervaded throughout the nation on
                                               behalf of its citizens. But if Louisiana did any
                                               investigation of its own -- it did not -- it was in
                                               reference to the investigation that was done by
                                               the multistate."); id. at 33:3-22 ("Q. Does
                                               Louisiana have any independent factual basis
                                               for the allegations it makes in the fourth
                                               amended complaint? A. Louisiana has the
                                               harm that was endowed upon its citizens as --
                                               you know, that was a result of the
                                               investigation that ensued, the witnesses that
                                               were interviewed, the documents gathered.
                                               Louisiana will have forthcoming expert
                                               reports that will perhaps more specifically
                                               quantify that. But yeah, as a result of that
                                               investigation, Louisiana has evidence of harm.
                                               Q. And when you refer to ""citizens,"" are you
                                               referring to individuals or businesses as well?
                                               A. Could be either.").




                                         119
     Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24               Page 120 of 134 PageID
                                              #: 47388
                                      ** FILED UNDER SEAL **


 ~     Google's Statement                                   Plaintiff States' Response 1

246    Mississippi. Mississippi's representative            Disputed as to the existence of in-state and
       testified that Mississippi "cannot identify one      state-specific conduct or harm. See Ex, 254,
       specific advertiser or publisher today" that has     Crystal Secoy Deposition, at 26:9-27:17 ("Q.
       been harmed by Google's conduct. Ex. 183 at          Okay. So before suit was filed then,
       26:22-27:7. Mississippi was also unable to           Mississippi determined that in-state advertisers
       identify any consumer complaints that related        and publishers had been harmed by Google's
       to Google's display advertising technology. Id.      conduct? MS. SCHULTZ: And I'm going to
       at 17:7-22.                                          say that - assert a work product privilege there.
                                                            If you may -- if you can answer without
                                                            disclosing work product, you may. A. It's our
                                                            position that advertisers and publishers in
                                                            Mississippi would have been impacted by the
                                                            conduct because it's our understanding that
                                                            this is a national issue and that it impacts our
                                                            entire state, consumers, advertisers, publishers,
                                                            businesses.").
247    Missouri. Missouri's representative could not        Disputed as to the existence of in-state and
       identify a single in-state advertiser, publisher,    state-specific conduct or harm. See Ex. 255,
       or consumer who used Google's Ad Tech                Michael Schwalbert Deposition at 26:20-27:14
       products or was affected by the conduct at           ("Q. Now, the alleged harm to Missouri's
       issue in this lawsuit. Ex. 182 at 33:10-17,          general welfare and economy, as it states here,
       35:19-36:11, 37:17-25.                               is based on publishers and advertisers
                                                            experiencing decreased revenue, lower quality
                                                            and higher prices, right? A. Yes. Q. How
                                                            widespread is this impact in the state? A. It
                                                            would be for all, would be for all publishers
                                                            and advertisers because its conduct on a
                                                            nationwide scale that affects all of them. Q.
                                                            And has the state of Missouri, the Attorney
                                                            General's Office, measured that impact in any
                                                            way? MR. LUCY: I'm going to object as to
                                                            work product. So my client can respond to that
                                                            in a way that would not divulge any protected
                                                            work product. A. Outside of expert, expert
                                                            discovery, which is forthcoming, I would not
                                                            be able to provide a, you know, a defined,
                                                            defined measure of that, that specific harm
                                                            either. That would be the subject of expert, the
                                                            expert discovery.").




                                                      120
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24             Page 121 of 134 PageID
                                             #: 47389
                                     ** FILED UNDER SEAL **


 ~     Google's Statement                                 Plaintiff States' Response 1

248    Montana. Montana's representative admitted      Disputed as to the existence of in-state and
       that Montana had no state-specific evidence to  state-specific conduct or harm. See Ex. 256,
       support the allegations against Google. Ex.     Anna Schneider Deposition at 30:18-32:3 ("Q
       181 at 31:2-8 ("Q. So you're not aware of any   Okay, but sitting here today, you are not aware
       Montana-specific evidence that would support    of any Montana-specific evidence that would
       the claims in this case? A. The evidence is the support the claims in this case? MR.
       same as all of the evidence that the other      BARNES: Object to the form. A As it was a
       plaintiffs are alleging that we designated Mr.  national scheme, it affected Montanans in the
       Gordon [Texas's representative] to testify      same way that it affected all other plaintiffs in
       about, as it was a national scheme.").          this litigation. And it did affect Montana
                                                       persons, and so that is a specific harm to the
                                                       State of Montana. Q So you're not aware of
                                                       any Montana-specific evidence that would
                                                       support the claims in this case? MR.
                                                       BARNES: Object to the form. A The evidence
                                                       is the same as all of the evidence that the other
                                                       plaintiffs are alleging that we designated Mr.
                                                       Gordon to testify about, as it was a national
                                                       scheme. Q So then that evidence is not
                                                       Montana-specific? A It is Montana-specific in
                                                       that it was a national scheme, and the nature of
                                                       the national scheme affects Montana and
                                                       Montanans. Q Are you aware of any facts that
                                                       are unique to Montana that support the claims
                                                       in the complaint? A At this time expert and
                                                       fact discovery is still ongoing and we will rely
                                                       on our experts' opinions. Q So at this time you
                                                       are not aware of any evidence unique to
                                                       Montana that support the claims in the
                                                       complaint? A At this time we are relying on
                                                       the national scheme, as I spoke to earlier, that
                                                       the harms done on the national scheme to all
                                                       plaintiffs were also done to Montana. If there
                                                       are unique harms to Montana that is beyond
                                                       that, I am going to await our expert and fact
                                                       discovery to close.").
249    Nevada. Nevada's designated representative      Disputed as to the existence of in-state and
       could also not articulate any state-specific    state-specific conduct or harm. See Ex. 257,
       harm that was suffered by its residents because Lucas Tucker Deposition at 51: 15-53: 17 ("Q.
       of Google's actions. Ex. 190 at 201:2-11 ("Q.   Is it fair to say for any civil penalties sought
       But sitting here now, you're not aware of any   by the State of Nevada in parens patriae
       Nevada-specific facts underlying the Fourth     capacity, the State of Nevada has to at least
       Amended Complaint in this case. Correct? A.     identify some residents of the State of Nevada
       You know, I'm going [sic] refer to, you know, was harmed by any of the alleged conduct in


                                                    121
    Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24                Page 122 of 134 PageID
                                             #: 47390
                                     ** FILED UNDER SEAL **


~     Google's Statement                                   Plaintiff States' Response 1

      the common facts as described by Mr. Gordon          this case? A. I don't believe that we needed to
      for the State of Texas, and again, it is a           identify specific people in order to assert a
      national market and we're not aware of               parens patriae claim. Q. How would the State
      anything that differentiates the harm in             of Nevada know its residents in general were
      Nevada from the harm across the nation.").           harmed by the conduct alleged in this case
      The state could not identify a single advertiser     when it seeks civil penalties in parens patriae
      or publisher who used Google's ad tech               capacity? MR. HENTHORN: Objection.
      products, either. Id. at 83:24-84:10, 84:20-85:6     Form. A. The multistate investigation, umm,
      ("I can't tell you specifically a Nevada-based       discovered harm across the nation to
      publisher"), id. at 91 :9-13 ("I cannot identify a   consumers, to advertisers, to publishers. I'm
      specific advertiser located in Nevada.").            not aware of any facts that somehow
                                                           distinguish Nevada consumers, advertisers,
                                                           and publishers from the general impact across
                                                           the nation, so I'm not aware of any facts that
                                                           would have shielded or protected Nevada
                                                           advertisers or publishers or consumers from
                                                           the general harm across the nation. Also,
                                                           Nevada has, as of the 2020 census, more than
                                                           3.1 million consumers living here. As oflast
                                                           week, we had more than 446,000 actively
                                                           registered businesses that had licenses issued
                                                           by the Secretary of State, and so we look at the
                                                           national harm, and I'm not aware of any facts
                                                           that the harm was different here. That would
                                                           be the basis for our parens patriae claim. And
                                                           I' 11 also note that it's a fact that various courts
                                                           have issued opinions about a government's
                                                           parens patriae authority. And many of those
                                                           courts have -- I'm sorry. Many of those
                                                           opinions have statements to the effect that the
                                                           raw number of individuals impacted by the
                                                           conduct is not determinative as to whether a
                                                           substantial segment of the population was
                                                           affected. Furthermore, I'm aware of at least
                                                           three different bankruptcy courts that have
                                                           found that a state or county has parens patriae
                                                           authority when fewer than 70 specific
                                                           individuals were identified as being harmed by
                                                           the conduct. In fact, even as low as 20
                                                           individuals. And so all of those things together
                                                           give us the basis to assert our parens patriae
                                                           claim.").




                                                     122
     Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24              Page 123 of 134 PageID
                                              #: 47391
                                      ** FILED UNDER SEAL **


 ~     Google's Statement                                   Plaintiff States' Response 1

250    North Dakota. North Dakota's representative     Disputed as to the existence of in-state and
       did not know how many North Dakotans use        state-specific conduct or harm. See Ex. 258,
       Google's Ad Tech products and therefore         Elin Alm Deposition at 30:19-31 :15 ("Q. Are
       could have been harmed by the challenged        you -- are you aware of any investigation that
       conduct. Ex. 129 at 29:14-22 ("Q. Does North    North Dakota conducted in determining how
       Dakota know how many users within the state     many North Dakota users use Google's ad
       ofNorth Dakota use Google's ad tech             tech products? A. Again, that's work product,
       products? A. No. Not at this time, no. I think  whether we conducted a separate investigation
       that's subject to expert discovery. Q. North    into that. And our investigation is into the
       Dakota, when it filed the lawsuit, did it know  entire market, which would include North
       how many citizens of the state of North         Dakota users. Q. So is North Dakota's claim in
       Dakota used Google's ad tech products? A.       this case that its citizens have been harmed
       No."). North Dakota has not received any        because there is a national market for
       consumer complaints regarding the Ad Tech       Google's ad tech products among other ad
       products at issue in this lawsuit. Id. at 48:9-15.
                                                       tech products? A. Yes, Google's legal -- or
                                                       unlawful conduct affected a national market.
                                                       Our players in that market are affected just
                                                       like anybody else in any other state. Q. Okay.
                                                       What -- what is the market that you're
                                                       referring to? A. Ad server, ad exchange, and
                                                       ad tools, advertising tools. Q. So the market is
                                                       ad tools, ad servers, and what else did you
                                                       mention? A. Ad exchange. Which, again, is
                                                       defined in our complaint.").
251    Puerto Rico. Puerto Rico's representative       Disputed as to the existence of in-state and
       could not identify how many Puerto Rican        state-specific conduct or harm. See Ex. 259,
       advertisers or publishers have been affected by Guarionex Diaz Martinez Deposition at 37:14-
       the challenged conduct. Ex. 138 at 47:14-48:6. 25 ("Q. So Puerto Rico is not relying on any
       It has received no consumer complaints          facts that are unique to Puerto Rico to support
       concerning Google's advertising technology      the claims in the fourth amended complaint; is
       and display advertising. Id. at 22:24-23:13.    that correct? A. I wouldn't say it like that
                                                       because there's harm, you know, and there
                                                       was an effect in the nationwide market,
                                                       including Puerto Rico. Q. Well, you testified
                                                       that you're relying on facts that are common to
                                                       all of the plaintiff states, including Texas; is
                                                       that right? A. Yes. Yes."); id. at 39:1-17 ("Q.
                                                       You testified that Puerto Rico is proceeding as
                                                       parens patriae on behalf of the general welfare
                                                       and the economy. A. Yeah. Q. Who do you
                                                       mean when you say "The general welfare and
                                                       the economy"? MR. BATES: Same objection.
                                                       THE WITNESS: Just that -- that we are --
                                                       what I mean is that we're alleging harm to the


                                                      123
    Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24         Page 124 of 134 PageID
                                       #: 47392
                               ** FILED UNDER SEAL **


~     Google's Statement                       Plaintiff States' Response 1

                                               general economy and general welfare, yeah.
                                               BY MS. BAYOUMI: Q. Are there any
                                               specific groups that you mean when you say
                                               "general welfare and general economy"? A.
                                               Users, consumers in Puerto Rico, advertisers,
                                               publishers in Puerto Rico."); id. at 45:12-47:21
                                               ("Q. The alleged harm to Puerto Rico's
                                               general welfare and economy is based on
                                               publishers and advertisers allegedly
                                               experiencing decreased revenue, lower quality,
                                               and higher prices; is that right? MR. BATES:
                                               Objection to form. THE WITNESS: I'm
                                               sorry, let me clarify the previous question. As
                                               long as whatever is the consumer user of the
                                               Internet and advertisers, right, the relief Puerto
                                               Rico is seeking is injunctive relief, civil
                                               penalties and attorney's fees and costs .... Q.
                                               Does Puerto Rico have a sense of how
                                               widespread this impact is in the state? A.
                                               Nationwide. Q. But it doesn't have -- but
                                               Puerto Rico doesn't have an idea of how
                                               widespread the impact alleged in the fourth
                                               amended complaint is in Puerto Rico? MR.
                                               BATES: Objection to form. THE WITNESS:
                                               I mean, besides knowing that the effect of
                                               those conducts were nationwide and Puerto
                                               Rico is a market within -- and that seeing how
                                               the Internet is ubiquitous, it is everywhere in
                                               Puerto Rico, we see users of the Internet and
                                               advertisers, publishers in that whole of Puerto
                                               Rico, yeah."); id. at 53:4-19 ("Q. So Puerto
                                               Rico doesn't have an understanding of the
                                               types of consumers within Puerto Rico that
                                               have been harmed by the alleged conduct; is
                                               that right? A. I mean, potentially, every user
                                               of the Internet has been harmed. Q. And how
                                               did you come to that understanding? A.
                                               Again, factual common basis of the
                                               investigation, Puerto Rico have designated the
                                               testimony of Texas for those purposes. Q.
                                               And so you testified that the types of in-state
                                               consumers that might be affected by the
                                               alleged conduct could be all Internet users; is
                                               that right? A. Yes.").


                                         124
     Case 4:20-cv-00957-SDJ         Document 738-1 Filed 12/30/24               Page 125 of 134 PageID
                                              #: 47393
                                      ** FILED UNDER SEAL **


 ~     Google's Statement                                   Plaintiff States' Response 1

252    South Carolina. South Carolina's                     Disputed as to the existence of in-state and
       representative could not identify a single in-       state-specific conduct or harm. See Ex. 260,
       state advertiser, publisher, or consumer who         Rebecca Hartner Deposition at 31 :19-32:21
       was harmed by Google's Ad Tech products.             ("Q. Does South Carolina contend that
       Ex. 148 at 40:9-41:5, 45:16-22, 58:8-16. The         publishers and advertisers make up a
       representative was also unable to point to any       substantial segment of its population? A. So
       studies or reports regarding instances of in-        we allege that the conduct is widespread and
       state harm. Id. at 40:25-41 :5, 46:6-12, 59:7-13 .   statewide. It's our understanding that it affects
                                                            a significant part of our state based on facts
                                                            and data produced in this case and ongoing
                                                            discovery."); id. at 55 :14-57:23 ("Q. Yes,
                                                            sure. So with respect to in-state consumers that
                                                            have been harmed, which of the following is
                                                            included: Google users, all internet users,
                                                            and/or all consumers of goods and services?
                                                            A. So our understanding is that the harm is
                                                            widespread, and all the documents and data in
                                                            this case would support it, and it would be the
                                                            subject of expert testimony in this case. It's
                                                            premature for me to answer today. Q. So if
                                                            it's premature, you don't have a view, sitting
                                                            here today, about which of those consumer
                                                            types are harmed? A. Sitting here today, I
                                                            know that the factual basis that we'll rely on
                                                            and the support for our -- our allegations and
                                                            understanding that it's widespread, and I'll
                                                            refer you to forthcoming expert testimony. Q.
                                                            So setting aside forthcoming expert discovery,
                                                            what I'm trying to understand, just sitting here
                                                            today, do you have a view about whether all
                                                            internet users are affected by the alleged
                                                            conduct here? A. It's our understanding that
                                                            the harm is widespread and that might be the
                                                            case, that the internet users are all affected. I
                                                            would just, again, refer -- we'll be relying on
                                                            documents and data produced in this case to
                                                            support our understanding of the harm, and it
                                                            will be the subject of expert testimony. ").

253    South Dakota. South Dakota' s representative         Disputed as to the existence of in-state and
       admitted that the state could not name any           state-specific conduct or harm. See Ex. 261 ,
       advertisers or publishers who were harmed by         Jonathan Van Patten Deposition at 31 :5-34:16
       Google's conduct, Ex. 191 at 53 :11-19 ("We          ("Q You agree that the alleged harm to South
       have not identified any specific ones in South       Dakota's general welfare and economy is


                                                      125
    Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24              Page 126 of 134 PageID
                                            #: 47394
                                    ** FILED UNDER SEAL **


~     Google's Statement                                 Plaintiff States' Response 1

      Dakota"), and that it had not received a single    based on publishers and advertisers
      consumer complaint regarding Google's              experiencing decreased revenue, lower quality,
      display advertising technology, id. at 67:5-9.     and higher prices, right? A Yes. Q And can
                                                         you describe: How widespread is that impact
                                                         to the State of South Dakota? A Well,
                                                         Google's presence is nationwide. Well, it's
                                                         worldwide, but it's -- the phenomenon is
                                                         certainly in this case nationwide and present in
                                                         South Dakota. So I could see that there were
                                                         display advertising in various publishers that I
                                                         looked at. Some had subscription requirements
                                                         so I didn't go any further, like the Argus
                                                         Leader. But, like, the TV stations are -- their
                                                         websites are full of display advertising that is,
                                                         I believe, through Google. ... Q Okay. Does
                                                         South Dakota contend that publishers and
                                                         advertisers make up a substantial segment of
                                                         the South Dakota population? A Define
                                                         "substantial" for me, please. Q What does
                                                         substantial mean to you? A I would say
                                                         significant. Q So does South Dakota contend
                                                         that publishers and advertisers make up a
                                                         significant portion of South Dakota's
                                                         population? A Yes. Q And why is that? A
                                                         Because -- well, now I gotta -- I don't like the
                                                         question here. Here's the problem: You started
                                                         with -- you started with publishers and
                                                         advertisers and then asked if they were part of
                                                         South Dakota's population. And I don't like
                                                         that because I think they're part of the injured
                                                         class whether they are part of South Dakota's
                                                         population. In other words, I think the state's
                                                         sovereignty and parens patriae power covers
                                                         actions within the state's boundaries. So I
                                                         wouldn't refer to South Dakota -- yes, you
                                                         could refer to a South Dakota advertiser, but
                                                         the advertiser doesn't have to be in South
                                                         Dakota; it has to advertise in South Dakota.
                                                         Same with the publishers. So I think to the
                                                         extent when you say the South Dakota
                                                         population, as I understand it, the economy
                                                         encompasses those who are acting in South
                                                         Dakota. And I think that publishers and




                                                   126
     Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24              Page 127 of 134 PageID
                                             #: 47395
                                     ** FILED UNDER SEAL **


 ~     Google's Statement                                  Plaintiff States' Response 1

                                                         advertisers are a significant part of that
                                                         economy.").
254    Texas. Mr. Gordon, the designated                 Disputed as to the existence of in-state and
       representative of Texas, admitted that he could state-specific conduct or harm. See Ex. 262,
       not name one in-state advertiser or publisher     Justin Gordon Deposition at 25:20-26:8 ("Q.
       that had been harmed by Google's Ad Tech          Okay. And that says -- the first sentence of
       products. Ex. 145 at 34:12-16 ("Q. And can        that bullet point says, "Google's unlawful
       you name any in-state advertisers who have        conduct has inflicted harm to businesses and
       been harmed by the alleged conduct in this        individuals in the plaintiff states, to the
       case? A. As I sit here today, I cannot name any respective economies of the plaintiff states,
       specific advertisers."), id. at 35:1-5 ("Q. And   and to the general welfare of the plaintiff
       can you name any in-state publishers who          states," right? A. Yes, that's the first sentence.
       were harmed by the alleged conduct in this        Q. And how widespread is this impact in the
       case? A. I know that our Interrogatory No. 5      State of Texas? A. What do you mean by
       identifies harm to publishers. But, as I sit here "widespread"? Q. How widespread is this --
       today, I cannot name any specific Texas           the harm that's alleged here? A. Well, it
       publishers.").                                    affects the entire state, so I would say
                                                         statewide."); id. at 39:7-41:19 ("Q. Okay. So if
                                                         you can walk me through your understanding,
                                                         then, of the consumers in the State of Texas
                                                         who are alleged to have been harmed by
                                                         Google's conduct. MR. COLLIER: Objection,
                                                         form. THE WITNESS: I have left the tab, and
                                                         now I'm reviewing the interrogatory
                                                         responses. So, for example, on Page 15 of our
                                                         interrogatory response to No. 5, we have
                                                         referenced that, "Google conduct has caused
                                                         and continues to cause harm to small and large
                                                         businesses in the plaintiff states with follow-
                                                         on effects to consumers, i.e., plaintiff state
                                                         citizens. The impacts to the plaintiff states by
                                                         the following conduct with Google are broad
                                                         and manifest." Then we describe the harm
                                                         arising from unlawful tying. THE
                                                         REPORTER: Unlawful? THE WITNESS:
                                                         Tying, T-Y-1-N-G. The harm from dynamic
                                                         allocation, the harm from enhanced dynamic
                                                         allocation, the harm from dynamic revenue
                                                         sharing, the harm from reserved price
                                                         optimization, the harm from Bemanke and its
                                                         multiple forms, the harm from header bidding
                                                         submission, the harm from uniform pricing
                                                         rules. There we conclude that, "Each form of
                                                         anticompetitive and deceptive conduct


                                                     127
    Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24         Page 128 of 134 PageID
                                       #: 47396
                               ** FILED UNDER SEAL **


~     Google's Statement                       Plaintiff States' Response 1

                                               discussed above caused harm to businesses in
                                               each plaintiff state, small, medium, and large,
                                               that rely on display advertising. Google's
                                               conduct has resulted in higher prices and
                                               lower quality products for participants in the
                                               ad tech markets and foreclose competition that
                                               would bring about non-Google product
                                               alternatives. "In tum, the plaintiff states'
                                               economies in general have not realized the
                                               benefits of competition and instead suffered
                                               from stifled innovation and investment in
                                               display advertising space." And this is where
                                               we get to the portion about consumers.
                                               "Furthermore, and as discussed above,
                                               Google's unlawful conduct also extracts harm
                                               from consumers, i.e., citizens, in the plaintiff
                                               states and negatively affected the general
                                               welfare. The use of
                                               the Internet in the United States and in the
                                               plaintiff states is pervasive and almost
                                               universally adopted. That means that anyone
                                               who uses the Internet, i.e., consumers in the
                                               plaintiff states, interacts with display
                                               advertising. "Consumers benefit from
                                               competent decision in the form of choice and
                                               innovation. The cost savings realized by
                                               advertisers and publishers could be passed on
                                               to consumers, such as lowering subscription
                                               fees and removing pay walls. "At the same
                                               time, small and large businesses would need to
                                               spend less on advertising to generate business.
                                               Those savings would benefit consumers
                                               because businesses could, in tum, lower the
                                               price of their goods and services. Increased
                                               commerce drives economic growth in the
                                               plaintiff states and improves the general
                                               welfare. Google's anticompetitive and
                                               deceptive conduct inhibits that progress,
                                               growth, and welfare promotion.").




                                         128
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 129 of 134 PageID
                                            #: 47397
                                    ** FILED UNDER SEAL **


255   Utah. Utah has done no state-specific              Disputed as to the existence of in-state and
      investigation to determine the harm to Utah        state-specific conduct or harm. See Ex. 263,
      residents and relies solely on the multistate      Marie Martin Deposition at 45:11-50:25 ("Q.
      investigation. Ex. 167 at 45:2-10, 45:20-46:1      So any investigation conducted by the State of
      ("The State of Utah has no reason to believe       Utah into the harms that the State has
      that it is in any way different from harms that    experienced was -- was done as part of the
      are nationwide that result from Google's           multistate investigation to Google that
      monopolization in these markets."). Utah has       occurred before this suit was filed? A. The
      not received consumer complaints from              State of Utah has been part of the multistate
      publishers regarding Google's Ad Tech              investigation, and thus -- and that is the basis
      products, and the only advertiser it named as      for any investigation that was conducted by
      having been harmed is a Utah state agency. Id.     Utah. Q. Did that investigation include an
      at 63:11-17, 66:5-17.                              investigation into the harms experienced by
                                                         the State of Utah specifically? A. The State of
                                                         Utah has no reason to believe that it is in any
                                                         way different from harms that are nationwide
                                                         that result from Google's monopolization in
                                                         these markets .... Q. And my question to you
                                                         is: What has the State of Utah done to confirm
                                                         that belief? A. The State of Utah confirms this
                                                         belief through being part of the multistate
                                                         investigation and litigation in this matter. Q....
                                                         So I wanted to just ask as whether part of the
                                                         investigation the State of Utah did anything to
                                                         confirm that -- what and to what extent it was
                                                         harmed by Google's alleged conduct? A. To
                                                         confirm that we are any different from other
                                                         states, I think -- or from nationwide conduct
                                                         would be trying to prove a negative. What
                                                         have we done? We've been part of the
                                                         multistate investigation. We have citizens who
                                                         we know were harmed by this conduct, and we
                                                         have no reason to believe that we're any
                                                         different from other -- that Utah consumers,
                                                         advertisers and publishers are any different
                                                         from other states or from nationwide conduct
                                                         in this matter. Q. Can you identify the citizens
                                                         you just referred to who you know were
                                                         harmed by this conduct?
                                                         A. I can identify at least some who were
                                                         consumers of Google advertising or Google --
                                                         I'm sorry, of Google's, who were harmed by
                                                         the conduct. Now, firstly, all consumers in the
                                                         state of Utah, all 3.3 million, or at least that
                                                         part of those who are Internet users, which is
                                                         greater than 90 percent, would be harmed by



                                                   129
Case 4:20-cv-00957-SDJ   Document 738-1 Filed 12/30/24         Page 130 of 134 PageID
                                   #: 47398
                           ** FILED UNDER SEAL **


                                           Google's conduct because that's harm which
                                           accrues to the general welfare and economy of
                                           the state. Next, as -- as to specific consumers
                                           of Google's products, the two consumers who
                                           you saw in the deposition previously, Melanie
                                           Hall's deposition, were indirect purchasers of
                                           Google -- Google's products. Another
                                           consumer of Google's products, like if you
                                           want to name certain persons, is DCP itself.
                                           As you know from looking at -- from watching
                                           -- I'm sorry, from deposing Ms. Hall
                                           extensively about DCP's purchases, they are
                                           also a consumer of Google's products, they are
                                           an advertiser. Other advertisers in the state of
                                           Utah that I can name are Penna Powers. You
                                           want me to talk about publishers? Q. I was
                                           actually focusing on individual citizens, so
                                           real persons. A. The two consumers that were
                                           discussed during Melanie Hall's deposition are
                                           two specific persons. Additionally, all persons
                                           in the state of Utah who have any exposure to
                                           the Internet have a harm that's associated with
                                           Google's conduct. Q. What have you done to
                                           determine that all users of the Internet in the
                                           state of Utah have been -- have had exposure
                                           to harm associated with Google's conduct? A.
                                           In order -- so all -- I may have misspoke. All
                                           consumers in the state of Utah are harmed by
                                           Google's conduct because they are part of the
                                           class of persons who are part of the -- they're
                                           affected by Google's harms to the general
                                           welfare and economy of the state. What have I
                                           done? I found information from the US
                                           Census Bureau which told us how many Utah
                                           consumers there are. They're a percentage that
                                           are exposed to the Internet as well as Utah
                                           being a part of the multistate investigation and
                                           litigation in this matter .... Q. How widespread
                                           is the harm to the State of Utah? A. It is
                                           ubiquitous throughout the state. Q. And to
                                           measure that harm, what have you done? A. I
                                           have determined the number of consumers in
                                           the state and the number of businesses in the
                                           state, as well as Utah being a part of the
                                           multistate investigation and litigation.").




                                     130
  Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24              Page 131 of 134 PageID
                                            #: 47399
                                    ** FILED UNDER SEAL **

,     Google's Statement                                  Plaintiff States' Response 1

256   Plaintiffs' experts have not attempted to           Disputed. See Davis Ex. 10 (Andrien Rebuttal
      quantify the harm, if any, that resulted from       Exhibit 4, "Monthly Count of Open Auctions
      Google's allegedly deceptive conduct. See,          Related to Plaintiff States for Bemanke,
      e.g., Ex. 18 at 92:4-18, 101 :15-102:6; Ex. 1, ,,   December 2013 to May 2024") (counting
      116, 118; Ex. 14 at 189:11-16, 189:25-190:8.        approximately                   auctions that
                                                          Google conducted in the States while
                                                          Bemanke (the longest-running misconduct)
                                                          was in effect.).
257   More than        advertisers, more than             Undisputed, except noting the imprecision of
      publishers, and more than      Authorized           the statement which should refer to
      Buyers each participated, respectively, in more            and represents approximate counts.
      than           worth of AdX transactions
      between 2013 and 2023. See Ex. 197
      (Advertisers Revenue Summary), Ex. 199
      (Publishers Revenue Summary), Ex. 198
      (Authorized Buyers Revenue Summary).




                                                    131
Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24             Page 132 of 134 PageID
                                          #: 47400
                                  ** FILED UNDER SEAL **


 Dated: December 9, 2024                       Respectfully submitted,



 Isl W Mark Lanier                                  Isl Kiran N Bhat
 W. Mark Lanier                                     Ashley Keller
 Mark.Lanier@LanierLawFirm.com                      ack@kellerpostman.com
 Alex J. Brown                                      Kiran N. Bhat
 Alex.Brown@LanierLawFirm.com                       kiran.bhat@kellerpostman.com
 Zeke DeRose III                                    2333 Ponce De Leon Boulevard
 Zeke.DeRose@LanierLawFirm.com                      Suite R-240
 Jonathan P. Wilkerson                              Coral Gables, Florida 33134
 Jonathan. Wilkerson@LanierLawFirm.com              (833) 633-0118
 10940 W. Sam Houston Pkwy N
 Suite 100                                             Zina Bash (Bar No. 24067505)
 Houston, TX 77064                                     zina.bash@kellerpostman.com
 (713) 659-5200                                        111 Congress Avenue, Suite 500
 THE LANIER LAW FIRM, PLLC                             Austin, TX 78701
                                                       (512) 690-0990

                                                    Isl Noah S. Heinz
                                                    Noah S. Heinz
                                                    noah.heinz@kellerpostman.com
                                                    1101 Connecticut Ave., N.W., Suite 1100
                                                    Washington, DC 20036
                                                    (202) 918-1123
                                                    KELLER POSTMAN LLC

 Attorneys for Texas, Idaho, Louisiana (The
 Lanier Law Firm only), Indiana, North Dakota,
 Mississippi, South Carolina, and South Dakota

 Submitted on behalf of all Plaintiff States


 NORTON ROSE FULBRIGHT US LLP
 Joseph M. Graham, Jr.
 joseph.graham@nortonrosefulbright.com
 Geraldine Young
 geraldine.young@nortonrosefulbright.com
 1550 Lamar Street, Suite 2000
 Houston, Texas 77010
 (713) 651-5151

 Marc B. Collier
 Marc. Collier@nortonrosefulbright.com



                                                 132
Case 4:20-cv-00957-SDJ        Document 738-1 Filed 12/30/24     Page 133 of 134 PageID
                                        #: 47401
                                ** FILED UNDER SEAL **


 98 San Jacinto Blvd., Suite 1100
 Austin, Texas 78701
 (512) 474-5201

 FOR PLAINTIFF STATE OF TEXAS:

 KEN PAXTON
 Attorney General

 Isl James R. Lloyd
 Brent Webster, First Assistant Attorney General of Texas
 Brent. Webster@oag. texas. gov
 James R. Lloyd, Deputy Attorney General for Civil Litigation
 James.Lloyd@oag.texas.gov

 STATE OF TEXAS, OFFICE OF THE ATTORNEY GENERAL
 P.O. Box 12548
 Austin, TX 78711-2548
 (512) 936-1674

Attorneys for Plaintiff State ofTexas




                                             133
Case 4:20-cv-00957-SDJ          Document 738-1 Filed 12/30/24               Page 134 of 134 PageID
                                          #: 47402
                                  ** FILED UNDER SEAL **


                                  CERTIFICATE OF SERVICE

       I certify that on December 9, 2024, this document was filed electronically in compliance with

Local Rule CV-5(a) and served via email on all counsel who have consented to electronic service,

per Local Rule CV-5(a)(3)(A).

                                                        Isl Kiran N Bhat
                                                         Kiran N. Bhat


                             CERTIFICATE OF MOTION TO SEAL

       I certify that contemporaneously with the filing of this statement, Plaintiff States filed a motion

to seal both this document and the attached exhibits.



                                                        Isl Kiran N Bhat
                                                         Kiran N. Bhat




                                                  134
